                 Case 12-12036-CSS           Doc 687     Filed 12/04/20      Page 1 of 114


                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE


       In re: HESS INDUSTRIES, INC.                                 §   Case No. 12-12036
              and Hess Engineering, Inc.                            §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Alfred T. Giuliano, Trustee (DE), chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $10,083,177.40                     Assets Exempt: N/A
 (without deducting any secured claims)
 Total Distribution to Claimants:$18,132,888.94      Claims Discharged
                                                     Without Payment: N/A

 Total Expenses of Administration:$5,623,808.33


         3) Total gross receipts of $ 23,756,697.27 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $23,756,697.27
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
                  Case 12-12036-CSS              Doc 687        Filed 12/04/20         Page 2 of 114



                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                      $18,648,829.61     $24,713,041.16     $16,770,434.64     $16,770,434.64

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00       5,657,700.84       5,623,808.33       5,623,808.33

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                 87,265.69      10,934,027.87         496,397.59        496,397.59
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  7,392,576.18      14,295,392.36      21,278,877.21        866,056.71

                                       $26,128,671.48     $55,600,162.23     $44,169,517.77     $23,756,697.27
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on July 10, 2012.
  The case was pending for 100 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 11/13/2020                 By: /s/Alfred T. Giuliano, Trustee (DE)
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




UST Form 101-7-TDR (10/1/2010)
                                  Case 12-12036-CSS                 Doc 687         Filed 12/04/20          Page 3 of 114




                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                           $ AMOUNT
              DESCRIPTION
                                                                                         TRAN. CODE 1                       RECEIVED
     Accounts Receivable, Trade                                                         1121-000                             600,812.44

     Petty Cash                                                                         1229-000                               1,668.43

     Unclaimed Property - State of Michigan                                             1229-000                               4,119.64

     Refunds - Insurance                                                                1229-000                              15,910.40

     Automobile(s) - Various                                                            1129-000                              19,000.00

     Bank Account - Comerica/General                                                    1129-000                               3,682.30

     Bank Account - Comerica/ZBA                                                        1129-000                              28,724.57

     Bank Account - Comerica/Collateral                                                 1129-000                                 918.24

     Bank Account - First Source/Payroll                                                1129-000                               1,727.93

     Interests in Insurance Policies (AON)                                              1129-000                                  75.00

     Business Interests, Hess India                                                     1129-000                             100,001.00

     Accounts Receivable - Unbilled FAURECIA                                            1121-000                              50,000.00

     CanAmMex Exhaust USA                                                               1129-000                              48,000.00

     Sale of Scrap                                                                      1129-000                               4,104.03

     Machinery, Hardware & Software                                                     1129-000                        19,276,800.00

     Refunds - Miscellaneous                                                            1229-000                               9,587.86

     Accounts Receivable                                                                1221-000                             937,264.59

     RG Steel Sparrows Point LLC Claim                                                  1229-000                                   0.84

     Preference(s)                                                                      1241-000                              56,300.00

     Monomoy Insider Preference Matter                                                  1241-000                            2,500,000.00

     Sub-Zero, Adversary No.: 15-51345                                                  1249-000                              78,000.00

     CanAmMex Adversary No.: 15-51344                                                   1249-000                              20,000.00


    TOTAL GROSS RECEIPTS                                                                                               $23,756,697.27

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS           Doc 687        Filed 12/04/20            Page 4 of 114


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                            UNIFORM                               $ AMOUNT
    PAYEE                             DESCRIPTION
                                                                           TRAN. CODE                                PAID
                                                    None

 TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                 $0.00
 PARTIES

EXHIBIT 3 SECURED CLAIMS


                                         UNIFORM       CLAIMS
   CLAIM                                              SCHEDULED               CLAIMS              CLAIMS              CLAIMS
    NO.           CLAIMANT                TRAN.        (from Form            ASSERTED            ALLOWED               PAID
                                          CODE             6D)
      CC    Carlton Creek Finco LLC      4210-000          N/A                 3,600,000.00          191,889.00        191,889.00

     27     Williams Lumber & Hardware   4220-000          N/A                                             0.00               0.00

     88     Wendt, LLP                   4220-000          N/A                         500.00              0.00               0.00

    112     Williams Lumber & Hardware   4220-000          N/A                     4,697.34                0.00               0.00

    219     Milton Township              4800-000          N/A                    20,044.85                0.00               0.00

    220     Milton Township              4800-000          N/A                     4,005.90                0.00               0.00

    221     Milton Township              4800-000          N/A                         228.62              0.00               0.00

    233     Stegner Controls, LLC        4210-000          N/A                   446,829.18           75,000.00          75,000.00

    235     Morrell, Incorporated        4220-000          N/A                    23,239.36                0.00               0.00

    252     Stegner Controls, LLC        4220-000          N/A                   446,829.18                0.00               0.00

    253     Morrell, Incorporated        4220-000          N/A                    23,239.36                0.00               0.00

    FANUC   FANUC Robotics America       4210-000          N/A                    99,353.66           99,353.66          99,353.66
            Corporation
 COMERICA   Comerica Bank                4210-000          N/A                20,044,073.71       16,404,191.98      16,404,191.98

 NOTFILED   BMO Harris Fin., Inc. & Bank 4110-000                   0.00         N/A                    N/A                   0.00
            of Montreal
 NOTFILED   Comerica Bank                4110-000          4,973,669.00          N/A                    N/A                   0.00

 NOTFILED   Comerica Bank                4110-000          4,249,510.89          N/A                    N/A                   0.00

 NOTFILED   Comerica Bank                4110-000          9,325,846.06          N/A                    N/A                   0.00

 NOTFILED   Fanuc Robotics America Corp. 4110-000            99,803.66           N/A                    N/A                   0.00

 NOTFILED   Toyota Motor Credit          4110-000                   0.00         N/A                    N/A                   0.00
            Corporation

 TOTAL SECURED CLAIMS                                  $18,648,829.61        $24,713,041.16      $16,770,434.64     $16,770,434.64




UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS     Doc 687     Filed 12/04/20    Page 5 of 114


EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM
    PAYEE                                          CLAIMS         CLAIMS           CLAIMS         CLAIMS
                                       TRAN.
                                                  SCHEDULED      ASSERTED         ALLOWED          PAID
                                       CODE
 Other - Blank Rome LLP                    3210-000       N/A         17,827.50      17,827.50      17,827.50

 Other - Blank Rome LLP                    3220-000       N/A            19.95           19.95          19.95

 Other - Cozen O'Connor                    3721-000       N/A          6,076.25       6,076.25       6,076.25

 Other - Cozen O'Connor                    3722-000       N/A            14.00           14.00          14.00

 Other - David A. Brodzinski               2690-000       N/A          6,418.30       6,418.30       6,418.30

 Other - Dennis M. Whitaker                2690-000       N/A         13,750.00      13,750.00      13,750.00

 Other - Earl Armentrout                   2690-000       N/A         11,691.90      11,691.90      11,691.90

 Other - Kevin E. Gearhart                 2690-000       N/A           800.00          800.00         800.00

 Other - Mikolajewski & Associates Inc.    2420-000       N/A         90,285.00      90,285.00      90,285.00

 Other - Michael J. Lira                   2420-000       N/A          1,327.75       1,327.75       1,327.75

 Other - Michael Walker                    3731-000       N/A        345,278.92     345,278.92     345,278.92

 Other - Michael Walker                    3732-000       N/A         20,305.74      20,305.74      20,305.74

 Other - Pacific Wheel                     2690-000       N/A          6,372.38       6,372.38       6,372.38

 Other - Rick Paridaen                     2690-000       N/A         19,643.77      19,643.77      19,643.77

 Other - Verizon Wireless                  2990-000       N/A           919.59          919.59         919.59

 Trustee Compensation - A. T. Giuliano,    2100-000       N/A        735,950.92     735,950.92     735,950.92
 P.C.
 Trustee Expenses - A. T. Giuliano, P.C.   2200-000       N/A          2,320.52       2,320.52       2,320.52

 Other - BDP International                 2420-000       N/A          9,582.55       9,582.55       9,582.55

 Other - BMC Group Inc.                    3991-000       N/A         14,977.77      14,977.77      14,977.77

 Other - BMC Group Inc.                    3992-000       N/A          1,126.76       1,126.76       1,126.76

 Other - D. L. Exports International LLC   3731-000       N/A         23,125.00      23,125.00      23,125.00

 Other - D. L. Exports International LLC   3732-000       N/A          4,339.60       4,339.60       4,339.60

 Other - Fox Rothschild LLP                3210-000       N/A      2,707,569.50    2,706,211.50   2,706,211.50

 Other - Fox Rothschild LLP                3220-000       N/A        121,947.23     121,876.81     121,876.81

 Other - Gibson Insurance Group            2420-000       N/A          3,773.00       3,773.00       3,773.00

 Other - Patricia L. Guy                   2690-000       N/A           112.93          112.93         112.93

 Other - Integra Certified Document        2420-000       N/A          3,299.49       3,299.49       3,299.49
 Destruction, LLC
 Other - Mowtown Lawn & Landscape          2690-000       N/A          1,835.00       1,835.00       1,835.00

 Other - Stout Risius Ross, Inc.           3410-000       N/A         77,810.00      77,810.00      77,810.00

 Other - Stout Risius Ross, Inc.           3420-000       N/A          2,672.35       2,672.35       2,672.35


UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS       Doc 687     Filed 12/04/20    Page 6 of 114

 Other - Canam PO, LP                        2410-000       N/A         27,764.61           0.00         0.00

 Other - Illinois Department of Revenue      2990-000       N/A           376.48            0.00         0.00

 Other - AFCO                                2420-000       N/A         91,049.36      91,049.36    91,049.36

 Other - Ray Baer                            2690-000       N/A          5,105.58       5,105.58     5,105.58

 Other - International Sureties   LTD.       2300-000       N/A         23,211.75      23,211.75    23,211.75

 Other - Bernard D. Bush                     2690-000       N/A         22,983.43      22,983.43    22,983.43

 Other - Days Corporation                    2420-000       N/A         16,279.50      16,279.50    16,279.50

 Other - Cecil K. Eastman                    2690-000       N/A          5,257.83       5,257.83     5,257.83

 Accountant for Trustee Fees (Trustee Firm) 3310-000        N/A        535,302.50     533,247.50   533,247.50
 - Giuliano, Miller & Co., LLC
 Accountant for Trustee Expenses (Trustee   3320-000        N/A         17,846.21      17,846.21    17,846.21
 Firm) - Giuliano, Miller & Co., LLC
 Other - Hess Enterprises India Private Ltd 2990-000        N/A          4,500.00       4,500.00     4,500.00

 Other - HILL ARCHIVE                        2420-000       N/A         16,486.25      16,486.25    16,486.25

 Other - HILL ARCHIVE                        2410-000       N/A         16,324.33      16,324.33    16,324.33

 Other - Michael Tierney                     2690-000       N/A          6,357.53       6,357.53     6,357.53

 Other - TransPerfect Document Management,   3991-000       N/A         59,873.36      57,605.36    57,605.36
 Inc.
 Other - TransPerfect Document Management,   3992-000       N/A         13,488.52      13,488.52    13,488.52
 Inc.
 Clerk of the Court Costs (includes          2700-000       N/A          1,465.00       1,465.00     1,465.00
 adversary and other filing fees) - United
 Other - Mark Wortham                        2690-000       N/A          2,296.00       2,296.00     2,296.00

 Other - Bank of Communications              2990-000       N/A            32.00          32.00        32.00

 Other - Canam PO, LP                        2410-000       N/A        243,228.55     243,228.55   243,228.55

 Other - SEMCO Energy                        2990-000       N/A          9,956.96       9,956.96     9,956.96

 Other - T-Link Management AG                2420-000       N/A         11,664.26      11,664.26    11,664.26

 Other - Midwest Energy                      2420-000       N/A         62,737.25      62,737.25    62,737.25

 Other - Toyota Motor Credit Corporation     2410-000       N/A         12,823.30      12,823.30    12,823.30

 Other - U.S. Bank National Association      2990-000       N/A          1,908.13       1,908.13     1,908.13

 Other - Rabobank, N.A.                      2600-000       N/A          2,589.04       2,589.04     2,589.04

 Other - Rabobank, N.A.                      2600-000       N/A          2,780.82       2,780.82     2,780.82

 Other - Rabobank, N.A.                      2600-000       N/A          3,068.49       3,068.49     3,068.49

 Other - Rabobank, N.A.                      2600-000       N/A          2,972.60       2,972.60     2,972.60

 Other - Rabobank, N.A.                      2600-000       N/A          2,684.93       2,684.93     2,684.93

 Other - Rabobank, N.A.                      2600-000       N/A          3,164.38       3,164.38     3,164.38

 Other - Rabobank, N.A.                      2600-000       N/A          2,876.71       2,876.71     2,876.71

 Other - Rabobank, N.A.                      2600-000       N/A          2,780.82       2,780.82     2,780.82

 Other - Rabobank, N.A.                      2600-000       N/A          3,164.38       3,164.38     3,164.38




UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS   Doc 687     Filed 12/04/20   Page 7 of 114

 Other - Rabobank, N.A.                 2600-000        N/A         2,684.93      2,684.93   2,684.93

 Other - Rabobank, N.A.                 2600-000        N/A         3,164.38      3,164.38   3,164.38

 Other - Rabobank, N.A.                 2600-000        N/A         2,972.60      2,972.60   2,972.60

 Other - Rabobank, N.A.                 2600-000        N/A         2,684.93      2,684.93   2,684.93

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,068.49      3,068.49   3,068.49

 Other - Rabobank, N.A.                 2600-000        N/A         2,876.71      2,876.71   2,876.71

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,164.38      3,164.38   3,164.38

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,068.49      3,068.49   3,068.49

 Other - Rabobank, N.A.                 2600-000        N/A         2,972.60      2,972.60   2,972.60

 Other - Rabobank, N.A.                 2600-000        N/A         2,589.04      2,589.04   2,589.04

 Other - Rabobank, N.A.                 2600-000        N/A         3,260.27      3,260.27   3,260.27

 Other - Rabobank, N.A.                 2600-000        N/A         2,876.71      2,876.71   2,876.71

 Other - Rabobank, N.A.                 2600-000        N/A         2,684.93      2,684.93   2,684.93

 Other - Rabobank, N.A.                 2600-000        N/A         3,068.49      3,068.49   3,068.49

 Other - Rabobank, N.A.                 2600-000        N/A         2,876.71      2,876.71   2,876.71

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,068.49      3,068.49   3,068.49

 Other - Rabobank, N.A.                 2600-000        N/A         2,972.60      2,972.60   2,972.60

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,068.49      3,068.49   3,068.49

 Other - Rabobank, N.A.                 2600-000        N/A         2,876.71      2,876.71   2,876.71

 Other - Rabobank, N.A.                 2600-000        N/A         2,780.82      2,780.82   2,780.82

 Other - Rabobank, N.A.                 2600-000        N/A         3,164.38      3,164.38   3,164.38

 Other - Rabobank, N.A.                 2600-000        N/A         2,773.48      2,773.48   2,773.48

 Other - Rabobank, N.A.                 2600-000        N/A         2,773.22      2,773.22   2,773.22

 Other - Rabobank, N.A.                 2600-000        N/A         2,789.09      2,789.09   2,789.09

 Other - Rabobank, N.A.                 2600-000        N/A         2,773.22      2,773.22   2,773.22

 Other - Rabobank, N.A.                 2600-000        N/A         2,773.22      2,773.22   2,773.22

 Other - Rabobank, N.A.                 2600-000        N/A         3,155.73      3,155.73   3,155.73

 Other - Rabobank, N.A.                 2600-000        N/A         2,773.22      2,773.22   2,773.22

 Other - Rabobank, N.A.                 2600-000        N/A         3,155.73      3,155.73   3,155.73




UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS    Doc 687       Filed 12/04/20        Page 8 of 114

 Other - Rabobank, N.A.                 2600-000           N/A          2,868.85            2,868.85        2,868.85

 Other - Rabobank, N.A.                 2600-000           N/A          2,773.22            2,773.22        2,773.22

 Other - Rabobank, N.A.                 2600-000           N/A          3,060.10            3,060.10        3,060.10

 Other - Rabobank, N.A.                 2600-000           N/A          2,868.85            2,868.85        2,868.85

 Other - Rabobank, N.A.                 2600-000           N/A          3,067.96            3,067.96        3,067.96

 Other - Rabobank, N.A.                 2600-000           N/A          2,684.93            2,684.93        2,684.93

 Other - Rabobank, N.A.                 2600-000           N/A          2,972.60            2,972.60        2,972.60

 Other - Rabobank, N.A.                 2600-000           N/A          2,684.93            2,684.93        2,684.93

 Other - Rabobank, N.A.                 2600-000           N/A          3,164.38            3,164.38        3,164.38

 Other - Rabobank, N.A.                 2600-000           N/A          2,876.71            2,876.71        2,876.71

 Other - Rabobank, N.A.                 2600-000           N/A          2,780.82            2,780.82        2,780.82

 Other - Rabobank, N.A.                 2600-000           N/A          3,164.38            3,164.38        3,164.38

 Other - Rabobank, N.A.                 2600-000           N/A          2,780.82            2,780.82        2,780.82

 Other - Rabobank, N.A.                 2600-000           N/A          3,068.49            3,068.49        3,068.49

 Other - Rabobank, N.A.                 2600-000           N/A          2,876.71            2,876.71        2,876.71

 Other - Rabobank, N.A.                 2600-000           N/A          2,780.82            2,780.82        2,780.82

 Other - Rabobank, N.A.                 2600-000           N/A          3,164.38            3,164.38        3,164.38

 Other - Rabobank, N.A.                 2600-000           N/A          2,684.93            2,684.93        2,684.93

 Other - Rabobank, N.A.                 2600-000           N/A          2,876.71            2,876.71        2,876.71

 Other - Rabobank, N.A.                 2600-000           N/A          2,780.82            2,780.82        2,780.82

 Other - Rabobank, N.A.                 2600-000           N/A          3,164.38            3,164.38        3,164.38

 Other - Rabobank, N.A.                 2600-000           N/A          2,780.82            2,780.82        2,780.82

 Other - Rabobank, N.A.                 2600-000           N/A          3,068.49            3,068.49        3,068.49

 Other - Rabobank, N.A.                 2600-000           N/A          2,972.60            2,972.60        2,972.60

 Other - Rabobank, N.A.                 2600-000           N/A          1,534.24            1,534.24        1,534.24

 Other - Rabobank, N.A.                 2600-000           N/A          1,808.21            1,808.21        1,808.21

 TOTAL CHAPTER 7 ADMIN. FEES                         N/A           $5,657,700.84       $5,623,808.33   $5,623,808.33
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                     UNIFORM
    PAYEE                                        CLAIMS            CLAIMS              CLAIMS           CLAIMS
                                      TRAN.
                                                SCHEDULED         ASSERTED            ALLOWED            PAID
                                      CODE
                                              None

 TOTAL PRIOR CHAPTER ADMIN.                          N/A                  $0.00               $0.00           $0.00
 FEES AND CHARGES


UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS          Doc 687       Filed 12/04/20           Page 9 of 114


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                        UNIFORM      CLAIMS               CLAIMS
   CLAIM                                            SCHEDULED            ASSERTED             CLAIMS        CLAIMS
    NO.          CLAIMANT                TRAN.      (from Form          (from Proofs of      ALLOWED         PAID
                                         CODE           6E)                  Claim)
      2    Joseph Allen Briggs          5300-000       N/A                       3,432.68        2,483.54     2,483.54

      4    MarkLines Co., Ltd           5200-000       N/A                       3,120.00           0.00         0.00

      6    Michael J. Lira              5300-000          1,151.50               1,151.50         833.11       833.11

      9    Nancy Dal Polo               5300-000       N/A                    N/A                   0.00         0.00

     10    The General Manager          5800-000       N/A                    N/A                   0.00         0.00

     12    Shanghai Megahoo             5200-000       N/A                       1,324.57           0.00         0.00
           International Trade Co.,
     14    John W. Clements, III        5300-000          8,077.44            N/A                 N/A            0.00

     23    Richard A. Solloway          5300-000          4,229.70               4,385.00        3,172.55     3,172.55

     34    Sterling Engineering, Inc.   5300-000       N/A                    N/A                   0.00         0.00

     36    Melissa J. Horvath           5200-000          1,183.68            N/A                 N/A            0.00

     36    Melissa J. Horvath           5300-000                 0.00            1,183.68         856.39       856.39

     37    Gary Zhang                   5300-000       N/A                    N/A                   0.00         0.00

     38    Skill Craft Co., Inc.        5200-000       N/A                       9,629.26           0.00         0.00

     44    Thomas Grayam                5300-000             964.44                 964.44        697.77       697.77

     48    Cecil K. Eastman             5300-000          4,250.00            N/A                 N/A            0.00

     63    David A. Brodzinski          5300-000          3,002.04            N/A                 N/A            0.00

     64    David A. Brodzinski          5300-000       N/A                    N/A                   0.00         0.00

     79    Ray Baer                     5300-000          2,595.80            N/A                 N/A            0.00

     80    Ray Baer                     5300-000       N/A                    N/A                   0.00         0.00

     96    Snowbusters, LLC             5300-000       N/A                    N/A                   0.00         0.00

    101    State of Michigan, Dept. of 5800-000        N/A                       5,040.05           0.00         0.00
           Atty General
    106    Nancy Dal Polo              5300-000        N/A                       1,050.00         759.67       759.67

    113    MG Metrology Services, Inc. 5100-000        N/A                       3,000.00           0.00         0.00

    120    David A. Brodzinski          5300-000       N/A                       1,937.60        1,401.85     1,401.85

    121    David A. Brodzinski          5300-000       N/A                       2,949.59        2,134.03     2,134.03

    124    Ray Baer                     5300-000       N/A                       1,106.56         800.59       800.59

    125    Ray Baer                     5300-000       N/A                       1,980.21        1,432.69     1,432.69

    127    Sterling Engineering, Inc.   5300-000       N/A                    N/A                   0.00         0.00

    127    Sterling Engineering, Inc.   5400-000       N/A                    217,545.50            0.00         0.00




UST Form 101-7-TDR (10/1/2010)
                      Case 12-12036-CSS            Doc 687   Filed 12/04/20     Page 10 of 114

    137    MarkLines Co., Ltd.          5200-000       N/A              3,120.00            0.00        0.00

    142    Internal Revenue Service     5800-000       N/A            107,395.88            0.00        0.00

    144    Voided Claim                 5800-000       N/A            N/A                   0.00        0.00

    144    Internal Revenue Service     5800-000       N/A            107,395.88            0.00        0.00

    160    The General Manager          5800-000       N/A           3,776,950.96           0.00        0.00

    168    Alan G. Weade                5300-000       N/A              3,288.46        2,379.21    2,379.21

    170    Internal Revenue Service     5800-000       N/A            107,395.88            0.00        0.00

    174    Praxair Distribution, Inc.   5200-000       N/A             19,500.00            0.00        0.00

    175    Internal Revenue Service     5800-000       N/A            107,395.88            0.00        0.00

    186    Cecil K. Eastman             5300-000       N/A              4,250.00        3,074.87    3,074.87

    190    Dennis M. Whitaker           5300-000         7,672.96       7,672.96        5,551.39    5,551.39

    193    The General Manager          5800-000       N/A           3,776,950.96           0.00        0.00

    196    Jerilyn Spahn                5300-000         2,570.07       2,718.79        1,967.05    1,967.05

    200    John W. Clements, III        5300-000       N/A              8,076.94        5,843.66    5,843.66

    202    U.S. Customs and Border      5800-000       N/A            N/A                   0.00        0.00
           Protection
    204    Rickey C. Paridaen           5300-000         4,025.00       5,950.00        4,304.82    4,304.82

    205    Michael Lee Weaver           5300-000         3,540.84       3,167.92        2,292.00    2,292.00

    206    Michael Lee Weaver           5300-000       N/A            N/A                   0.00        0.00

    209    Tennessee Department of      5800-000       N/A             21,244.24            0.00        0.00
           Revenue
    219    Milton Township              5800-000       N/A            N/A              20,044.85   20,044.85

    220    Milton Township              5800-000       N/A            N/A               4,005.90    4,005.90

    221    Milton Township              5800-000       N/A            N/A                228.62      228.62

    236    James J. Zielinski           5300-000       N/A              4,038.46        2,921.83    2,921.83

    237    Michael Walker               5300-000         3,081.88      11,725.00        8,483.04    8,483.04

    243    Rickey C. Paridaen           5300-000       N/A            N/A                   0.00        0.00

    244    Michael T. Johnson           5300-000         4,231.04       4,230.71        3,060.92    3,060.92

    248    Patricia L. Guy              5300-000         2,673.79       2,660.07        1,924.57    1,924.57

    254    James J. Zielinski           5300-000       N/A            N/A                   0.00        0.00

    255    Michael Walker               5300-000        11,725.00     N/A                N/A            0.00

    261    Internal Revenue Service     5800-000       N/A            N/A                   0.00        0.00

    263    Richard Campbell             5300-000       N/A              1,718.82        1,243.57    1,243.57

    263    Richard Campbell             5400-000       N/A              1,718.82            0.00        0.00

    264    Richard Campbell             5300-000       N/A            N/A                   0.00        0.00

    265    Nancy Dal Polo               5300-000       N/A            N/A                   0.00        0.00




UST Form 101-7-TDR (10/1/2010)
                      Case 12-12036-CSS         Doc 687   Filed 12/04/20      Page 11 of 114

    266    David A. Brodzinski       5300-000       N/A            N/A                   0.00       0.00

    267    Scott A. Izdepski         5300-000       N/A            N/A                   0.00       0.00

    268    James A. Talboom, Jr.     5300-000       N/A            N/A                   0.00       0.00

    269    Robert F. Roche           5300-000       N/A              5,064.96         3,664.50   3,664.50

    270    Larry D. Thomas           5300-000       N/A            N/A                   0.00       0.00

    271    Michael Endres            5300-000       N/A            N/A                   0.00       0.00

    272    Rafael Gallegos           5300-000         3,009.44     N/A                 N/A          0.00

    273    Michael Tierney           5300-000       N/A            N/A                   0.00       0.00

    275    Jeffrey S. Wagner         5300-000       N/A            N/A                   0.00       0.00

    276    Kevin E. Gearhart         5300-000       N/A            N/A                   0.00       0.00

    277    Timothy D. Clifford       5300-000       N/A            N/A                   0.00       0.00

    278    Ray Baer                  5300-000       N/A            N/A                   0.00       0.00

    280    Adam L. Swanson           5300-000       N/A            N/A                   0.00       0.00

    281    Randy L. Bicard           5300-000       N/A            N/A                   0.00       0.00

    282    Bernard D. Bush           5300-000       N/A            N/A                   0.00       0.00

    283    Bun Hiong Chua            5300-000       N/A            N/A                   0.00       0.00

    284    Stephen Louis Schroeder   5300-000       N/A            N/A                   0.00       0.00

    285    James M. Winters          5300-000       N/A            N/A                   0.00       0.00

    286    Guy A. Thomas, III        5300-000       N/A            N/A                   0.00       0.00

    287    Donald T. Moore           5300-000       N/A            N/A                   0.00       0.00

    288    Eric H. Berg              5300-000       N/A            N/A                   0.00       0.00

    289    Rickey C. Paridaen        5300-000       N/A            N/A                   0.00       0.00

    290    Walter A. Piaskowy, III   5300-000       N/A            N/A                   0.00       0.00

    292    Jerilyn Spahn             5300-000       N/A            N/A                   0.00       0.00

    293    James R. Keeley           5300-000       N/A            N/A                   0.00       0.00

    294    Fredrick A. Wasoski       5300-000       N/A            N/A                   0.00       0.00

    295    Marc M. Monroe            5300-000       N/A            N/A                   0.00       0.00

    296    Keith Henagan             5300-000       N/A            N/A                   0.00       0.00

    297    Leland A. Palmer          5300-000       N/A            N/A                   0.00       0.00

    298    Patricia L. Guy           5300-000       N/A            N/A                   0.00       0.00

    299    Alan G. Weade             5300-000       N/A            N/A                   0.00       0.00

    300    Mingliang Li              5300-000       N/A            N/A                   0.00       0.00

    301    Mingliang Li              5200-000       N/A                  445.64          0.00       0.00

    302    Jerry Ronald Wagner       5300-000       N/A            N/A                   0.00       0.00




UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS      Doc 687   Filed 12/04/20      Page 12 of 114

    303    Donald C. Hemler          5300-000       N/A            N/A                   0.00     0.00

    304    Patrick J. Brodzinski     5300-000       N/A                  760.00        549.86   549.86

    305    Floyd J. Warren           5300-000       N/A            N/A                   0.00     0.00

    306    Kenneth Lockamy           5300-000       N/A            N/A                   0.00     0.00

    307    Patrick J. Brodzinski     5300-000       N/A            N/A                   0.00     0.00

    308    Robert H. Ranft           5300-000       N/A            N/A                   0.00     0.00

    309    Joseph Allen Briggs       5300-000       N/A            N/A                   0.00     0.00

    310    Kevin E. Schlabaugh       5300-000       N/A            N/A                   0.00     0.00

    311    Thomas Budd               5300-000       N/A            N/A                   0.00     0.00

    312    Mark R. Thomas            5300-000       N/A            N/A                   0.00     0.00

    313    Richard A. Solloway       5300-000       N/A            N/A                   0.00     0.00

    314    Dennis M. Whitaker        5300-000       N/A            N/A                   0.00     0.00

    315    Howard W. Covyeon, Jr.    5300-000       N/A            N/A                   0.00     0.00

    316    Joseph E. Kiley           5300-000       N/A            N/A                   0.00     0.00

    317    William Edward Pajak      5300-000       N/A            N/A                   0.00     0.00

    318    Barry T Sigle             5300-000       N/A            N/A                   0.00     0.00

    319    Matthew Patrick Moore     5300-000       N/A            N/A                   0.00     0.00

    320    Derise M. Marden          5300-000       N/A            N/A                   0.00     0.00

    321    Derise M. Marden          5300-000       N/A            N/A                   0.00     0.00

    322    Thomas W. Clements        5300-000       N/A            N/A                   0.00     0.00

    323    John Kimmerly             5300-000       N/A            N/A                   0.00     0.00

    324    Mark A. Heyn              5300-000       N/A            N/A                   0.00     0.00

    325    Kenneth A. Maxwell        5300-000       N/A            N/A                   0.00     0.00

    326    Lawrence A. Peters        5300-000       N/A            N/A                   0.00     0.00

    327    Mark A. Varda             5300-000       N/A            N/A                   0.00     0.00

    328    James E. Zimmerman        5300-000       N/A            N/A                   0.00     0.00

    330    Bela Bank, Jr.            5300-000       N/A            N/A                   0.00     0.00

    331    David Siekman             5300-000       N/A            N/A                   0.00     0.00

    332    Ronald H. Patzer          5300-000       N/A            N/A                   0.00     0.00

    333    John W. Clements, III     5300-000       N/A            N/A                   0.00     0.00

    334    Timothy J. Lies           5300-000       N/A            N/A                   0.00     0.00

    335    William Blumka            5300-000         3,173.28     N/A                 N/A        0.00

    336    Kevin A. Fee              5300-000       N/A            N/A                   0.00     0.00

    337    Rollin D. Godette         5300-000       N/A            N/A                   0.00     0.00




UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS            Doc 687        Filed 12/04/20         Page 13 of 114

    338     Toni Mize                     5400-000        N/A                     4,390.00             0.00           0.00

    338     Toni Mize                     5300-000        N/A                  N/A                     0.00           0.00

    339     Steve Schroeder,              5300-000        N/A                  N/A                     0.00           0.00
            Representative
    339     Steve Schroeder,              5400-000        N/A                2,200,000.00              0.00           0.00
            Representative
    341     Illinois Department of        5800-000        N/A                  N/A                   376.48        376.48
            Revenue
    FITP    EFTPS                         5300-000        N/A                  N/A                17,092.86      17,092.86

    WARN    The Gardner Firm              5300-000        N/A                  375,000.00        375,000.00     375,000.00

    FUTAP   EFTPS                         5800-000        N/A                  N/A                 4,739.38       4,739.38

   MEDIEE   EFTPS                         5300-000        N/A                  N/A                 1,239.24       1,239.24

  FICAEEP   EFTPS                         5300-000        N/A                  N/A                 5,298.77       5,298.77

  FICAERP   EFTPS                         5800-000        N/A                  N/A                 5,298.77       5,298.77

  MEDIERP   EFTPS                         5800-000        N/A                  N/A                 1,239.24       1,239.24

 NOTFILED   Indiana State Central         5800-000              131.00         N/A                   N/A              0.00
            Collection Unit
 NOTFILED   Earl D. Armentrout            5300-000           2,536.91          N/A                   N/A              0.00

 NOTFILED   Department of Treasury        5800-000        unknown              N/A                   N/A              0.00
            Internal Revenue Service
 NOTFILED   Department of Treasury        5800-000           6,000.00          N/A                   N/A              0.00
            Internal Revenue Service
 NOTFILED   Illinois Department of        5800-000        unknown              N/A                   N/A              0.00
            Revenue
 NOTFILED   State of South Carolina,      5800-000           3,718.00          N/A                   N/A              0.00
            Dept. of Rev.
 NOTFILED   State of South Carolina,      5800-000           1,474.00          N/A                   N/A              0.00
            Dept. of Rev.
 NOTFILED   State of South Carolina,      5800-000           2,105.00          N/A                   N/A              0.00
            Dept. of Rev.
 NOTFILED   Tennesse Department of        5800-000        unknown              N/A                   N/A              0.00
            Revenue Andrew Jackson St.
 NOTFILED   Michigan State Disbursement   5800-000              142.88         N/A                   N/A              0.00
            Unit
 TOTAL PRIORITY UNSECURED                                  $87,265.69      $10,934,027.87       $496,397.59    $496,397.59
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                          UNIFORM      CLAIMS              CLAIMS
   CLAIM                                              SCHEDULED           ASSERTED              CLAIMS         CLAIMS
    NO.             CLAIMANT               TRAN.       (from Form        (from Proofs of       ALLOWED          PAID
                                           CODE            6F)                Claim)
      1     CDW                           7100-000        N/A                     1,158.81         1,158.81          47.54

      3     Con-way Freight               7100-000           6,667.94             6,798.07             0.00           0.00

      5     Central States Fabricating    7100-000         286,260.25          381,428.25              0.00           0.00
            Corporation
      7     Siemens Industry, Inc.        7100-000          48,698.68          115,297.88        115,297.88       4,728.85

      8     United States Bankruptcy    7100-001            48,454.56           58,570.56         58,570.56       2,402.23
            Court - Latitude Automation
      CC    Comerica Bank               7100-000          N/A                  N/A              3,408,111.00    139,780.72




UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS           Doc 687     Filed 12/04/20      Page 14 of 114

     11    Dieter Zimmermann             7100-000       N/A               13,570.00        13,570.00     556.56

     12    United States Bankruptcy      7100-001       N/A              N/A                1,324.57      54.33
           Court - Shanghai Megahoo
     13    United States Bankruptcy      7100-001         21,259.20       17,259.20        21,150.33     867.46
           Court - Ionix Oy
     14    John W. Clements, III         7100-000               0.00     N/A                  N/A           0.00

     15    United Parcel Service         7100-000          1,271.03        1,219.92         1,219.92      50.03

     16    Vaughn Clean-Rite, Inc.       7100-000          2,960.00      N/A                3,112.64     127.66

     17    MSC Industrial Supply         7100-000        107,628.76      108,148.10       108,148.10    4,435.60

     18    DSV Air & Sea, Inc.           7100-000          7,313.00        8,351.00         8,351.00     342.51

     19    Lachmann & Rink GmbH          7100-000          1,261.50        1,261.50         1,545.91      63.40

     20    United States Bankruptcy      7100-001       N/A               87,900.00        87,900.00    3,605.14
           Court - USM de Mexico S DE
     21    United Parcel Service         7100-000       N/A                1,196.67         1,196.67      49.08
           (Freight)
     22    Google, Inc.                  7100-000       N/A                1,693.55             0.00        0.00

     24    Wuxi Weifu Lida Catalytic     7100-000         24,087.00      240,000.00       240,000.00    9,843.39
           Converter Co., Ltd.
     25    Frost Brown Todd, LLC         7100-000             931.50           931.50        931.50       38.20

     26    Kelm Acubar Company           7100-000         15,000.00       15,000.00        15,000.00     615.21

     27    Williams Lumber & Hardware    7100-000       N/A              N/A                    0.00        0.00

     28    Great Lakes Pump              7100-000          5,848.20        5,848.20         5,848.20     239.86

     29    Pitney Bowes Global          7100-000              626.93       3,136.00         3,136.00     128.62
           Financial Services
     30    Bearing Headquarters Company 7100-000        N/A              338,775.16       338,775.16   13,894.57

     31    St. Louis Precision Casting 7100-000            3,521.00        3,521.00         3,521.00     144.41
           Company
     32    Orttech, Inc.               7100-000            5,878.18        5,878.18         5,878.18     241.09

     33    Ajacs Die Sales               7100-000          1,657.16        1,657.16         1,657.16      67.97

     35    Edwards Industrial Sales,     7100-000         74,873.34       43,576.10        43,576.10    1,787.24
           Inc.
     36    Melissa J. Horvath            7100-000       N/A                5,138.50         4,296.00     176.20

     37    Gary Zhang                    7100-000       N/A              N/A                5,801.05     237.93

     39    Ameropean Corporation         7100-000             128.00           128.00        128.00         5.25

     40    Dearborn Crane & Engineering 7100-000              374.00       3,341.49         3,341.49     137.05

     41    DeWald Fluid Power Company, 7100-000            7,248.10        6,397.65             0.00        0.00
           Inc.
     42    DeVitt Machinery Company    7100-000           17,561.25       17,913.05        17,913.05     734.69

     43    Fluidpower Assembly           7100-000       N/A                1,171.27         1,171.27      48.04
           Corporation
     45    Carlson Tool & Manfacturing   7100-000       N/A                1,467.00         1,467.00      60.17
           Corp.
     46    Carlson Tool & Manfacturing   7100-000          1,467.00        1,467.00             0.00        0.00
           Corp.
     47    MarkLines Co., Ltd.           7100-000       N/A                3,120.00             0.00        0.00

     49    Poch Staffing d/b/a Trillium 7100-000          19,744.42       22,731.46        22,624.88     927.94
           Staffing Incorporated



UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS         Doc 687     Filed 12/04/20      Page 15 of 114

     50    U.S. Bankruptcy Court -      7100-001       N/A                     45.00          45.00         1.85
           Gerotech, Inc.
     51    United States Bankruptcy     7100-001       N/A                1,300.00         1,300.00       53.32
           Court - B-D Industries
     52    Rotation Dynamics            7100-000       N/A               98,975.00             0.00         0.00
           Corporation
     53    RHM Fluid Power, Inc.        7100-000         23,825.97       23,825.97             0.00         0.00

     54    Tech Nickel, Inc.            7100-000          7,020.00        7,020.00             0.00         0.00

     55    Midwest Energy Cooperative   7100-000         19,185.49       27,314.31        27,314.31     1,120.27

     56    Ferguson Enterprises         7100-000          1,846.18        1,846.18         1,846.18       75.72

     57    VMC Technologies, Inc.       7100-000             820.09           860.20         860.20       35.28

     58    U. S. Machine Co., Inc.      7100-000             213.40           663.40         663.40       27.21

     59    U.S. Bankruptcy Court -     7100-001               68.33            68.33          68.33         2.80
           Northern Electric Company,
     60    Weldall Manufacturing, Inc. 7100-000          18,474.00       18,474.00        18,474.00      757.70

     61    Custom Honing, Inc.          7100-000             850.00           850.00         850.00       34.86

     62    Liberty Cast Products, Inc. 7100-000           5,985.00        5,985.00             0.00         0.00

     65    Hanson Mold                  7100-000          7,700.00        7,700.00             0.00         0.00

     66    United States Bankruptcy     7100-001          2,388.26        2,388.26         2,388.26       97.95
           Court - McJunkin Red Man
     67    Liberty Steel Fabricating,   7100-000         11,028.00       10,218.00        10,218.00      419.08
           Inc.
     68    Semco Energy                 7100-000              59.60           411.46           0.00         0.00

     69    United States Bankruptcy     7100-001       N/A                    500.00         500.00       20.51
           Court - Oak Steel Supply,
     70    Igus Bearings, Inc.          7100-000       N/A                1,252.35         1,252.35       51.36

     71    Michigan Mold, Inc.          7100-000         22,578.00       17,928.00             0.00         0.00

     72    Elizabeth Hohauser           7100-000       N/A              119,327.68       119,327.68     4,894.12

     73    Troax, Inc.                  7100-000       N/A              N/A                    0.00         0.00

     74    Stratosphere Quality, LLC    7100-000         27,190.26       27,190.26             0.00         0.00

     75    A & A Manufacturing Co.,     7100-000       N/A              N/A                    0.00         0.00
           Inc.
     76    Voided Claim                 7100-000       N/A              N/A                    0.00         0.00

     77    Voided Claim                 7100-000       N/A              N/A                    0.00         0.00

     78    Quadra Gear & Machining      7100-000       N/A               10,390.00             0.00         0.00

     81    Tectivity, Inc.              7100-000       N/A                2,453.34         2,453.34      100.62

     82    United States Bankruptcy     7100-001       N/A                2,323.38         2,323.38       95.29
           Court - Michigan Fluid Power
     83    SB Specialty Metals, LLC     7100-000       N/A               21,441.03        21,441.03      879.39

     84    MG Metrology Services, Inc. 7100-000           3,000.00        3,000.00             0.00         0.00

     85    H. H. Barnum Company         7100-000       N/A               39,370.55        39,370.55     1,614.75

     86    Comerica Bank                7100-000        121,448.50     1,059,446.77     1,059,446.77   43,452.29

     87    Kopplin Controls, Inc.       7100-000          1,201.66        1,201.66         1,201.66       49.29




UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS           Doc 687     Filed 12/04/20      Page 16 of 114

     88    Wendt, LLP                    7100-000         3,299.00         3,878.20         3,299.00    135.31

     89    Schrader Steel Fabricating    7100-000        22,090.00        42,390.00        42,390.00   1,738.59
           Services
     90    Dieter Zimmermann             7100-000       N/A               13,570.00             0.00      0.00

     91    United States Bankruptcy    7100-001         N/A               15,206.16        15,206.16    623.67
           Court - Priority Delivery
     92    Key Equipment Finance, Inc. 7100-000          13,951.77        22,671.64         9,591.85    393.40

     93    Schupan Aluminum & Plastic    7100-000         4,141.81         4,141.81         4,141.81    169.87
           Sales
     94    Norman L. Bleier              7100-000        20,278.00        24,888.00        24,888.00   1,020.76

     95    Motion Industries             7100-000        20,432.41        11,950.94        11,950.94    490.16

     96    Snowbusters, LLC              7100-000       N/A              N/A                2,430.00     99.66

     97    Ace Manufacturing, Inc.       7100-000         9,791.00         9,791.00         9,791.00    401.57

     98    Yaskawa America,             7100-000              189.50      10,073.53             0.00      0.00
           Inc./Motoman Robotics Div.
     99    MAE Maschinen-und            7100-000         82,607.00        41,156.56             0.00      0.00
           Apparatebau Gotzen GmbH
    100    Performance Industries, Inc. 7100-000          9,694.20         9,694.00         9,694.00    397.59

    102    State of Michigan, Dept. of 7100-000         N/A              N/A                    0.00      0.00
           Atty General
    103    Harbor Black Oxide, Inc.    7100-000               566.08           566.08        566.08      23.22

    104    Candy Manufacturing Co.,      7100-000         1,260.00         1,260.00         1,260.00     51.68
           Inc.
    105    Yaskawa America,              7100-000       N/A               10,073.53        10,073.53    413.16
           Inc./Motoman Robotics
    107    United States Bankruptcy      7100-001         2,641.58         2,641.58         2,641.58    108.34
           Court - Reid Supply Company
    108    DeWald Fluid Power Company,   7100-000       N/A                6,397.65         6,397.65    262.39
           Inc.
    109    United States Bankruptcy      7100-001         9,198.94        14,332.22        14,332.22    587.82
           Court - BFI Betriebstechnik
    110    Fluidpower Assembly           7100-000       N/A                1,171.27             0.00      0.00
           Corporation
    111    Skill-Craft Co., Inc.         7100-000         9,629.26         9,629.26         9,629.26    394.94

    112    United States Bankruptcy    7100-001         N/A                     82.20       4,779.54    196.03
           Court - Williams Lumber &
    113    MG Metrology Services, Inc. 7100-000         N/A              N/A                3,000.00    123.04

    114    Wuxi Weifu Lida Catalytic     7100-000         1,852.00       240,000.00             0.00      0.00
           Converter Co., Ltd.
    115    Semco Energy                  7100-000             327.97           411.46        411.46      16.88

    116    U.S. Bankruptcy Court -       7100-001       N/A                    120.76        120.76       4.95
           Cleary Developments, Inc.
    117    Melrose Mold and Machining    7100-000         4,000.00         4,000.00         4,000.00    164.06
           Company
    118    Michigan Mold, Inc.           7100-000       N/A               17,928.00        17,928.00    735.30

    119    Exair Corporation             7100-000             851.00           851.00        851.00      34.90

    122    Troyke Manufacturing Company 7100-000         42,628.00        42,628.00        42,628.00   1,748.35

    123    Dearborn Crane & Engineering 7100-000        N/A                3,341.49             0.00      0.00

    126    Global EDM Supplies, Inc.     7100-000       N/A                8,963.55             0.00      0.00

    127    Sterling Engineering, Inc.    7100-000       N/A              N/A              229,270.50   9,403.33




UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS         Doc 687     Filed 12/04/20      Page 17 of 114

    128    Siko Products, Inc.          7100-000          2,137.23        2,281.50         2,281.50     93.57

    129    DeWald Fluid Power Company, 7100-000        N/A               65,099.60        65,099.60   2,670.00
           Inc.
    130    Minland Machine, Inc.       7100-000           5,110.00      N/A                5,110.00    209.58

    131    WMH Fluidpower, inc.         7100-000         48,735.33       48,735.33        48,735.33   1,998.84

    132    Elite Automation Group       7100-000       N/A              N/A                    0.00      0.00

    133    DADCO, Inc.                  7100-000             525.88           525.88        525.88      21.57

    134    Hanson Mold                  7100-000       N/A                7,700.00         7,700.00    315.81

    135    Ringfeder Power Transmission 7100-000              78.72           157.44        157.44       6.46
           USA Corporation
    136    Ace Manufacturing, Inc.      7100-000       N/A                9,791.00             0.00      0.00

    137    MarkLines Co., Ltd.          7100-000       N/A              N/A                 780.00      31.99

    138    Tech Nickel, Inc.            7100-000       N/A                7,020.00         7,020.00    287.92

    139    RHM Fluid Power, Inc.        7100-000       N/A               23,825.97        23,825.97    977.20

    140    Con-way Freight              7100-000             130.13       6,798.07             0.00      0.00

    141    CDW                          7100-000          1,158.81        1,158.81             0.00      0.00

    142    Internal Revenue Service     7100-000       N/A               36,206.11             0.00      0.00

    142    Internal Revenue Service     7300-000       N/A                    420.62           0.00      0.00

    143    Monroe PMP                   7100-000             339.84           339.84        339.84      13.94

    144    Internal Revenue Service     7100-000       N/A              N/A                    0.00      0.00

    144    Internal Revenue Service     7300-000       N/A              N/A                    0.00      0.00

    145    United States Bankruptcy     7100-001         16,733.92       16,733.92        16,733.92    686.33
           Court - Bastian Solutions,
    146    United States Bankruptcy     7100-001          1,386.22        1,386.22         1,386.22     56.85
           Court - Unifrax 1, LLC
    147    Elan Financial Services      7100-000       N/A               20,674.20        20,674.20    847.93

    148    I.T. Equpment, Inc.          7100-000          2,931.80        2,931.80         2,931.80    120.25

    149    United States Bankruptcy     7100-001             382.19           848.32        848.32      34.79
           Court - TNCI
    150    Peerless Steel Company       7100-000        226,535.34      231,662.49       231,662.49   9,501.44

    151    Exlar Corporation            7100-000         42,500.00       42,500.00        42,500.00   1,743.10

    152    Clarion Safety Systems       7100-000             993.00           673.11        673.11      27.61

    153    Bearing Headquarters Company 7100-000        344,397.32      338,775.16             0.00      0.00

    154    Rotation Dynamics            7100-000       N/A               98,975.00        98,975.00   4,059.37
           Corporation
    155    Leech Tishman Fuscaldo &     7100-000          3,000.00        3,805.00         3,000.00    123.04
           Lampl, LLC
    156    Latitude Automation          7100-000       N/A               58,570.56             0.00      0.00
           (Chongqung) Ltd.
    157    U.S. Bankruptcy Court - Hull 7100-001              53.07            53.07         53.07       2.18
           Lift Truck, Inc.
    158    Troax, Inc.                  7100-000         25,207.00       25,207.50        25,207.50   1,033.86

    159    United States Bankruptcy     7100-001       N/A                5,985.00         5,985.00    245.47
           Court - Liberty Cast



UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS          Doc 687     Filed 12/04/20      Page 18 of 114

    160    United States Bankruptcy      7100-001       N/A              N/A             3,776,950.96   154,908.38
           Court - The General Manager
    161    United States Bankruptcy      7100-001       N/A                2,375.03         2,375.03        97.41
           Court - Srobo, LLC
    162    Engineering Technology        7100-000         3,100.00         3,100.00         3,100.00       127.14
           Associates, inc.
    163    Columbiana Foundry Company    7100-000         2,286.00         2,286.00         2,286.00        93.76

    164    United States Bankruptcy      7100-001       N/A               10,527.67        10,527.67       431.78
           Court - RLJ Lodging II Reit
    165    American Power Connection     7100-000         7,871.01         7,871.01         7,871.01       322.82
           Systems, Inc.
    166    United States Bankruptcy      7100-001        17,328.39        17,328.39        17,328.39       710.71
           Court - Cone Drive
    167    United States Bankruptcy      7100-001         1,438.91         2,037.57         2,037.57        83.57
           Court - Shaum Electric Co.,
    169    Stratosphere Quality, LLC     7100-000       N/A               27,190.26        27,190.26      1,115.18

    170    Internal Revenue Service      7100-000       N/A               36,206.11             0.00          0.00

    170    Internal Revenue Service      7300-000       N/A                    420.62           0.00          0.00

    171    B-D Industries Incorporated 7100-000           1,300.00         1,300.00             0.00          0.00

    172    Depatie Fluid Power           7100-000             216.79       2,868.04         2,868.04       117.63

    173    Aramark Uniform & Career      7100-000        16,889.78        16,889.09        16,889.09       692.69
           Apparel, LLC
    174    United States Bankruptcy      7100-001         4,111.68         5,353.61        24,853.61      1,019.35
           Court - Praxair
    175    Internal Revenue Service      7100-000       N/A               36,206.11             0.00          0.00

    175    Internal Revenue Service      7300-000       N/A                    420.62           0.00          0.00

    176    Uline Shipping Supplies       7100-000             227.73           227.73         227.73          9.34

    177    C. H. Robinson Worldwide,    7100-000          3,375.00         3,375.00         3,375.00       138.42
           Inc.
    178    United States Bankruptcy     7100-001          8,963.56         8,963.56         8,963.56       367.63
           Court - Global EDM Supplies,
    179    National Instruments         7100-000          4,278.00         4,406.82         4,406.82       180.74
           Corporation
    180    United States Bankruptcy     7100-001          1,259.19         1,259.19         1,259.19        51.64
           Court - Novotechnik U.S.,
    181    W. W. Grainger, Inc.         7100-000        N/A                1,822.79         1,822.79        74.76
           (MES17810528406)
    182    Joyce Dayton Corporation     7100-000          5,703.00         5,703.00         5,703.00       233.90

    183    Cad Cam Services, Inc.        7100-000        13,985.00        13,985.00        13,985.00       573.58

    184    Lincoln Electric Company      7100-000        19,956.95         4,918.23         4,918.23       201.72

    185    American Warehouse Systems, 7100-000           7,000.00         7,000.00         7,000.00       287.10
           LLC
    187    McInnes Rolled Rings        7100-000               511.00           511.00         511.00        20.96

    188    LKF Marketing, Inc.           7100-000         6,975.34         8,859.09         8,859.09       363.35

    189    Scibetta Distributors         7100-000             564.51           564.51         564.51        23.15

    191    Gudel, Inc.                   7100-000        17,000.00        16,296.00        16,296.00       668.37

    192    United States Bankruptcy      7100-001         1,672.32         2,072.32         2,072.32        84.99
           Court - IBC Coating
    194    West River Machine            7100-000         7,142.00         7,142.00         7,142.00       292.92

    195    Bay Cast, Inc.                7100-000        18,292.00        18,292.00        18,292.00       750.23




UST Form 101-7-TDR (10/1/2010)
                      Case 12-12036-CSS            Doc 687    Filed 12/04/20     Page 19 of 114

    197    Crowe Horwath, LLP           7100-000        105,243.00      90,243.00       90,243.00      3,701.24

    198    Bunting Magnetics Company    7100-000          1,046.85       1,046.85        1,046.85        42.94

    199    F & F Grinding Services      7100-000          3,265.27       3,265.27        3,265.27       133.92

    200    John W. Clements, III        7100-000       N/A              33,333.33       24,116.66       989.12

    201    Mah Machine Co., Inc.        7100-000          5,000.00       5,000.00        5,000.00       205.07

    203    H & H Machine Service        7100-000          2,500.00       2,612.50        2,612.50       107.15

    206    Michael Lee Weaver           7100-000       N/A              15,057.00       10,893.74       446.80

    207    Parker-Hannifin Corp. -      7100-000       N/A              52,117.17       52,117.17      2,137.54
           Cylinder Division
    208    Electric Equipment Company   7100-000       N/A              21,092.40       21,092.40       865.09

    209    Tennessee Department of      7300-000       N/A               2,578.75            0.00          0.00
           Revenue
    210    Central States Fabricating   7100-000       N/A             381,428.25      381,428.25     15,643.95
           Corporation
    211    CM Grinding, Inc.            7100-000          6,987.50      11,902.38       11,902.38       488.17

    212    Heraeus Precious Metals GmbH 7100-000         33,080.68      33,080.68       33,080.68      1,356.78
           & Co KG
    213    Jorgensen Conveyors, Inc.    7100-000          1,812.00       1,812.00        1,812.00        74.32

    214    Export-Import Bank of the   7100-000        N/A             N/A                   0.00          0.00
           United States
    215    United States Bankruptcy    7100-001           4,655.00    5,365,198.85    3,746,512.28   153,659.96
           Court - Steel Strips Wheels
    216    Voided Claim                7100-000        N/A             N/A                   0.00          0.00

    217    United States Bankruptcy     7100-001       N/A             104,544.00      104,544.00      4,287.78
           Court - MAE Maschinen-und
    218    Precise Craft Sourcing, Inc. 7100-000         16,777.00      16,777.00       16,777.00       688.09

    222    Faurecia Emissions Control 7100-000         N/A             N/A                   0.00          0.00
           Technologies (Shanghai) Co.,
    223    Faurecia Exhaust Mexicana SA 7100-000       N/A             N/A                   0.00          0.00
           de C.V.
    224    American Express Travel      7100-000         55,341.18      56,257.95       56,257.95      2,307.37
           Related Services Co., Inc.
    225    Matthew O'Sullivan           7100-000       N/A             120,000.00            0.00          0.00

    226    Stephen Presser              7100-000       N/A             N/A                   0.00          0.00

    227    Justin Hillenbrand           7100-000       N/A             N/A                   0.00          0.00

    228    Jamie McKenzie               7100-000       N/A             N/A                   0.00          0.00

    229    Michael Walker               7100-000       N/A             N/A                   0.00          0.00

    230    A & A Manufacturing Co.,     7100-000          1,737.40       1,737.40        1,737.40        71.26
           Inc.
    231    Voided Claim                 7100-000       N/A             N/A                   0.00          0.00

    232    Sub-Zero, Inc.               7100-000         23,295.00      72,380.00            0.00          0.00

    233    Stegner Controls, LLC        7100-000        295,670.21     N/A             371,829.18     15,250.25

    234    Voided Claim                 7100-000       N/A             N/A                   0.00          0.00

    235    Morrell, Incorporated        7100-000         23,239.36     N/A              23,239.36       953.14

    237    Michael Walker               7100-000              0.00       3,081.88        2,229.73        91.45




UST Form 101-7-TDR (10/1/2010)
                      Case 12-12036-CSS            Doc 687    Filed 12/04/20      Page 20 of 114

    238    Rackham Service Corporation 7100-000          11,211.71      15,931.71        15,931.71      653.43

    239    Voided Claim                 7100-000       N/A             N/A                    0.00         0.00

    240    Tigmaster Company            7100-000         48,320.58      51,746.58             0.00         0.00

    241    Trend Machinery, Inc.        7100-000         43,158.42      43,158.42        43,158.42     1,770.11

    242    Bluewater Thermal Solutions 7100-000        N/A              16,127.36        16,127.36      661.45

    245    Electric Equipment Company   7100-000         15,951.76      21,092.40             0.00         0.00

    246    Applied Industrial           7100-000         30,149.90      30,149.90        30,149.90     1,236.57
           Technologies, Inc.
    247    Phoenix International        7100-000         16,664.08      19,952.83        19,952.83      818.35
           Freight Services
    249    Barnes Industries, Inc.      7100-000         34,368.00      34,368.00        34,368.00     1,409.57

    250    American Express Travel      7100-000       N/A              56,257.95             0.00         0.00
           Related Services Co., Inc.
    251    Sub-Zero, Inc.               7100-000       N/A              72,380.00             0.00         0.00

    256    Rackham Service Corporation 7100-000        N/A              15,931.71             0.00         0.00

    257    Trend Machinery, Inc.        7100-000       N/A              43,158.42             0.00         0.00

    258    Bluewater Thermal Solutions 7100-000              38.35      16,127.36             0.00         0.00

    259    Barnes Industries, Inc.      7100-000       N/A              34,368.00             0.00         0.00

    260    Tigmaster Company            7100-000       N/A              51,746.58        51,746.58     2,122.34

    261    Internal Revenue Service     7100-000       N/A             N/A                    0.00         0.00

    261    Internal Revenue Service     7300-000       N/A             N/A                    0.00         0.00

    261 -2 Internal Revenue Service     7300-000       N/A                   420.62         420.62         0.00

    262    Canam PO, LP                 7100-000       N/A            2,198,611.33     2,198,611.33   90,174.14

    264    Richard Campbell             7100-000       N/A             N/A                    0.00         0.00

    274    Richard Woods                7100-000       N/A             N/A                    0.00         0.00

    277    Timothy D. Clifford          7100-000       N/A             N/A                    0.00         0.00

    279    Faegre Baker Daniels, LLP    7200-000        133,396.84     156,078.55       156,078.55         0.00

    282    Bernard D. Bush              7100-000       N/A             N/A                    0.00         0.00

    283    Bun Hiong Chua               7100-000       N/A             N/A                    0.00         0.00

    284    Stephen Louis Schroeder      7100-000       N/A             N/A                    0.00         0.00

    285    James M. Winters             7100-000       N/A             N/A                    0.00         0.00

    288    Eric H. Berg                 7100-000       N/A             N/A                    0.00         0.00

    289    Rickey C. Paridaen           7100-000       N/A             N/A                    0.00         0.00

    291    Michael J. Richards          7100-000       N/A             N/A                    0.00         0.00

    296    Keith Henagan                7100-000       N/A             N/A                    0.00         0.00

    299    Alan G. Weade                7100-000       N/A             N/A                    0.00         0.00

    300    Mingliang Li                 7100-000       N/A             N/A                    0.00         0.00




UST Form 101-7-TDR (10/1/2010)
                       Case 12-12036-CSS            Doc 687   Filed 12/04/20    Page 21 of 114

    301     Mingliang Li                 7100-000       N/A            N/A                445.64        18.28

    303     Donald C. Hemler             7100-000       N/A            N/A                  0.00          0.00

    306     Kenneth Lockamy              7100-000       N/A            N/A                  0.00          0.00

    309     Joseph Allen Briggs          7100-000       N/A            N/A                  0.00          0.00

    313     Richard A. Solloway          7100-000       N/A            N/A                  0.00          0.00

    314     Dennis M. Whitaker           7100-000       N/A            N/A                  0.00          0.00

    317     William Edward Pajak         7100-000       N/A            N/A                  0.00          0.00

    319     Matthew Patrick Moore        7100-000       N/A            N/A                  0.00          0.00

    320     Derise M. Marden             7100-000       N/A            N/A                  0.00          0.00

    322     Thomas W. Clements           7100-000       N/A            N/A                  0.00          0.00

    323     John Kimmerly                7100-000       N/A            N/A                  0.00          0.00

    326     Lawrence A. Peters           7100-000       N/A            N/A                  0.00          0.00

    327     Mark A. Varda                7100-000       N/A            N/A                  0.00          0.00

    329     Kenneth D. Overholser        7100-000       N/A            N/A                  0.00          0.00

    332     Ronald H. Patzer             7100-000       N/A            N/A                  0.00          0.00

    333     John W. Clements, III        7100-000       N/A            N/A                  0.00          0.00

    334     Timothy J. Lies              7100-000       N/A            N/A                  0.00          0.00

    335     William Blumka               7100-000       N/A            N/A                  0.00          0.00

    340     Sentinel Fluid Controls, LLC 7200-000         6,323.70       6,323.70       6,323.70          0.00

    342     Toyota Motor Credit          7100-000       N/A             33,414.88      33,414.88      1,370.48
            Corporation
    343     State of Michigan-CD         7100-000       N/A            N/A                  0.00          0.00

    344     Elite Automation Group       7100-000       N/A            N/A                  0.00          0.00

    345     State of Michigan-CD         7100-000       N/A             34,247.26      34,247.26      1,404.62

    FITU    EFTPS                        7100-000       N/A            N/A             10,294.45       422.22

    FUTAU   EFTPS                        7100-000       N/A            N/A                229.92          9.43

  FICAEEU   EFTPS                        7100-000       N/A            N/A              3,191.28       130.89

  FICAERU   EFTPS                        7100-000       N/A            N/A              3,191.28       130.89

  MEDIEEU   EFTPS                        7100-000       N/A            N/A                746.35        30.61

  MEDIERU   EFTPS                        7100-000       N/A            N/A                746.35        30.61

 COMERICA   Comerica Bank                7100-000       N/A            N/A           2,707,540.73   111,047.44

 NOTFILED   Department of Treasury       7100-000       unknown        N/A                N/A             0.00
            Internal Revenue Service
 NOTFILED   Illinois Department of       7100-000       unknown        N/A                N/A             0.00
            Revenue
 NOTFILED   Kentucky Department of       7100-000       unknown        N/A                N/A             0.00
            Revenue
 NOTFILED   Michigan Department of the   7100-000       unknown        N/A                N/A             0.00
            Treasury



UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS         Doc 687     Filed 12/04/20   Page 22 of 114

 NOTFILED   PA Department of Revenue     7100-000       unknown          N/A              N/A     0.00

 NOTFILED   Tennesse Department of       7100-000       unknown          N/A              N/A     0.00
            Revenue Andrew Jackson St.
 NOTFILED   ALL PHASE ELECTRIC SUPPLY CO 7100-000          2,227.95      N/A              N/A     0.00

 NOTFILED   ALL PHASE ELECTRIC SUPPLY CO 7100-000              74.02     N/A              N/A     0.00

 NOTFILED   ALPHAGRAPHICS                7100-000             656.92     N/A              N/A     0.00

 NOTFILED   ALRO PLASTICS                7100-000          2,410.34      N/A              N/A     0.00

 NOTFILED   ALRO STEEL CORPORATION       7100-000         13,418.61      N/A              N/A     0.00

 NOTFILED   AMT- CENTRO NORTEAMERICANO   7100-000         13,361.58      N/A              N/A     0.00
            DE TECNOLOGIA
 NOTFILED   AON RISK SERVICES CENTRAL    7100-000        119,435.00      N/A              N/A     0.00
            INC.
 NOTFILED   ARC INDIANA                  7100-000             353.15     N/A              N/A     0.00

 NOTFILED   ASSOCIATED SPRING RAYMOND    7100-000             491.65     N/A              N/A     0.00

 NOTFILED   ASSOCIATION FOR              7100-000          5,500.00      N/A              N/A     0.00
            MANUFACTURING TECHNOLOGY
 NOTFILED   AT&T                         7100-000             186.91     N/A              N/A     0.00

 NOTFILED   AT&T                         7100-000             288.83     N/A              N/A     0.00

 NOTFILED   AT&T                         7100-000          1,680.87      N/A              N/A     0.00

 NOTFILED   AT&T CAROL STREAM            7100-000             227.41     N/A              N/A     0.00

 NOTFILED   AT&T- ATLANTA                7100-000              57.31     N/A              N/A     0.00

 NOTFILED   ATLANTA DRIVE SYSTEMS INC.   7100-000             306.00     N/A              N/A     0.00

 NOTFILED   AUTOMATION DIRECT INC.       7100-000          1,875.43      N/A              N/A     0.00

 NOTFILED   AXIS SYSTEMS                 7100-000          5,127.72      N/A              N/A     0.00

 NOTFILED   BARNUM COMPANY               7100-000         34,348.03      N/A              N/A     0.00

 NOTFILED   ACORN METAL SERVICES         7100-000             500.00     N/A              N/A     0.00

 NOTFILED   ADVANCED IMAGING SOLUTIONS   7100-000          1,542.94      N/A              N/A     0.00

 NOTFILED   BEAVER RESEARCH CO.          7100-000             731.92     N/A              N/A     0.00

 NOTFILED   BELMONT EQUIPMENT COMPANY    7100-000             120.76     N/A              N/A     0.00

 NOTFILED   BETHEL COLLEGE               7100-000          4,400.00      N/A              N/A     0.00

 NOTFILED   BMC Group VDR LLC            7100-000          6,843.70      N/A              N/A     0.00

 NOTFILED   BOND FLUIDAIR INCORPORATED   7100-000             405.90     N/A              N/A     0.00

 NOTFILED   BOSCH REXROTH SCHWEIZ        7100-000         51,782.49      N/A              N/A     0.00
            CORPORATION ELECTR
 NOTFILED   BRISTOL TOOL & DIE           7100-000         18,533.33      N/A              N/A     0.00

 NOTFILED   BSF INCORPORATED             7100-000          3,689.06      N/A              N/A     0.00

 NOTFILED   BUEHLER'S                    7100-000          6,736.80      N/A              N/A     0.00

 NOTFILED   BUTZEL LONG                  7100-000          2,834.33      N/A              N/A     0.00

 NOTFILED   C & B OPTICAL                7100-000          1,400.00      N/A              N/A     0.00




UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS          Doc 687     Filed 12/04/20   Page 23 of 114

 NOTFILED   C3CONTROLS                   7100-000             311.44     N/A              N/A     0.00

 NOTFILED   CARBON & ALLOY STEEL         7100-000             920.28     N/A              N/A     0.00
            CORPORATION
 NOTFILED   CENTURY SPRING COMPANY       7100-000             385.92     N/A              N/A     0.00
            INCORPORATED
 NOTFILED   CENTURY SUN METAL TREATING   7100-000         12,845.86      N/A              N/A     0.00

 NOTFILED   CHICAGO FLAME HARDENING      7100-000          2,561.65      N/A              N/A     0.00

 NOTFILED   CINTAS FIRST AID & SAFETY    7100-000          1,059.92      N/A              N/A     0.00

 NOTFILED   CIT TECHNOLOGY FIN SERV INC. 7100-000          5,905.21      N/A              N/A     0.00

 NOTFILED   COMCAST CABLE                7100-000             393.94     N/A              N/A     0.00

 NOTFILED   COPPER & BRASS SALES         7100-000          2,979.56      N/A              N/A     0.00

 NOTFILED   CORPORATION SERVICE COMPANY 7100-000           2,849.08      N/A              N/A     0.00

 NOTFILED   COUNTRY INN & SUITES         7100-000             678.00     N/A              N/A     0.00
            MISHAWAKA
 NOTFILED   DAEWHA ALLOYTECH CO. LTD.    7100-000          6,114.00      N/A              N/A     0.00

 NOTFILED   DAYS CORPORATION             7100-000         27,690.50      N/A              N/A     0.00

 NOTFILED   DAYTON FREIGHT LINES         7100-000             110.93     N/A              N/A     0.00
            INCOPORATED
 NOTFILED   DEHRING MOLD & EDM           7100-000          2,725.00      N/A              N/A     0.00

 NOTFILED   DELWALD FLUID POWER          7100-000          1,378.50      N/A              N/A     0.00

 NOTFILED   E & E SPECIAL PRODUCTS LLC. 7100-000              390.46     N/A              N/A     0.00

 NOTFILED   EAGLE AUTOMATION SERVICES    7100-000        107,848.75      N/A              N/A     0.00
            LLC
 NOTFILED   EBERSPACHER NORTH AMERICA    7100-000          3,366.00      N/A              N/A     0.00

 NOTFILED   EBERSPACHER NORTH AMERICA    7100-000       unknown          N/A              N/A     0.00

 NOTFILED   ELECTRO-MATIC PRODUCTS       7100-000         15,149.03      N/A              N/A     0.00
            COMPANY
 NOTFILED   ELECTRODES INC.              7100-000             760.86     N/A              N/A     0.00

 NOTFILED   EPOCH ROBOTICS               7100-000          3,674.77      N/A              N/A     0.00

 NOTFILED   EXPRESS-1 INCORPORATED       7100-000             454.73     N/A              N/A     0.00

 NOTFILED   FANUC AMERICA REPAIR         7100-000          5,456.37      N/A              N/A     0.00

 NOTFILED   FAURECIA MEXICO MEXICANA SA 7100-000           1,257.00      N/A              N/A     0.00
            DE CV
 NOTFILED   FAURECIA MEXICO MEXICANA SA 7100-000           5,406.00      N/A              N/A     0.00
            DE CV
 NOTFILED   FCCI Insurance Company      7100-000              734.86     N/A              N/A     0.00

 NOTFILED   FEDEX CUSTOM CRITICAL        7100-000             214.64     N/A              N/A     0.00

 NOTFILED   FESTO CORPORATION            7100-000         41,479.49      N/A              N/A     0.00

 NOTFILED   FISCHER INTERNATIONAL        7100-000               0.00     N/A              N/A     0.00
            FORWARDERS INC.
 NOTFILED   GIBSON INSURANCE AGENCY      7100-000          8,900.00      N/A              N/A     0.00

 NOTFILED   GLOBAL WIN HK INTERNATIONAL 7100-000         185,662.80      N/A              N/A     0.00
            TRADING
 NOTFILED   GOVERNMENT OF INDIA ATT: A. 7100-000          37,313.00      N/A              N/A     0.00
            K. SETH CABINET



UST Form 101-7-TDR (10/1/2010)
                       Case 12-12036-CSS            Doc 687     Filed 12/04/20   Page 24 of 114

 NOTFILED   GRAINGER                     7100-000          1,822.79      N/A              N/A     0.00

 NOTFILED   GREAT LAKES AUTOMATION       7100-000         41,914.03      N/A              N/A     0.00
            SUPPLY
 NOTFILED   H&S MACHINE TOOL SERVICE     7100-000             137.50     N/A              N/A     0.00
            INC.
 NOTFILED   HAAS FACTORY OUTLET A        7100-000              45.00     N/A              N/A     0.00
            DIVISION OF GEROTECH INC.
 NOTFILED   HACKETT BRASS FOUNDRY        7100-000             712.00     N/A              N/A     0.00

 NOTFILED   HANSEN-BALK STEEL TREATING   7100-000          4,495.71      N/A              N/A     0.00

 NOTFILED   HANSON BEVERAGE SERVICE      7100-000          1,421.25      N/A              N/A     0.00

 NOTFILED   HARBOR METAL LLC/BLUEWATER   7100-000         12,240.76      N/A              N/A     0.00
            THERMAL SER.
 NOTFILED   Harbor Metal LLCDO NOT USE   7100-000          3,524.15      N/A              N/A     0.00

 NOTFILED   HAYES LEMMERZ BORLEM RODAS   7100-000         42,521.00      N/A              N/A     0.00
            DE ACO
 NOTFILED   HAYES LEMMERZ BORLEM RODAS   7100-000       unknown          N/A              N/A     0.00
            DE ACO
 NOTFILED   HEIDENHAIN CORPORATION       7100-000         11,441.20      N/A              N/A     0.00

 NOTFILED   HERTZ CORPORATION            7100-000          1,446.53      N/A              N/A     0.00

 NOTFILED   HEXAGON METROLOGY            7100-000          2,920.00      N/A              N/A     0.00

 NOTFILED   HYATT PLACE SOUTH BEND       7100-000          1,897.27      N/A              N/A     0.00
            MISHAWAKA
 NOTFILED   HYDROTECH INC.               7100-000         17,505.13      N/A              N/A     0.00

 NOTFILED   HYPOWER EQUIPMENT            7100-000          1,171.27      N/A              N/A     0.00

 NOTFILED   IC FLUID POWER INCORPORATED 7100-000           3,226.95      N/A              N/A     0.00

 NOTFILED   IFM EFECTOR INC              7100-000         12,718.74      N/A              N/A     0.00

 NOTFILED   IGUS INCORPORATED            7100-000          1,252.35      N/A              N/A     0.00

 NOTFILED   INDUSTRIAL CONTROL           7100-000              96.87     N/A              N/A     0.00

 NOTFILED   INDUSTRIAL VALVE & AUTO.     7100-000             762.84     N/A              N/A     0.00

 NOTFILED   INFOR GLOBAL SOLUTIONS INC   7100-000         30,555.56      N/A              N/A     0.00

 NOTFILED   INNOVATIVE ENGINEERING       7100-000             303.71     N/A              N/A     0.00

 NOTFILED   INSTITUTE FOR LEAN SYSTEMS   7100-000        106,477.04      N/A              N/A     0.00

 NOTFILED   INTEGRA CERTIFIED DOCUMENT   7100-000             405.28     N/A              N/A     0.00
            DESTRUCTION
 NOTFILED   ISAACS FLUID POWER           7100-000          3,203.80      N/A              N/A     0.00

 NOTFILED   J.D. WATERLOO WORKS          7100-000             145.00     N/A              N/A     0.00

 NOTFILED   J.H. BENNETT                 7100-000          1,494.08      N/A              N/A     0.00

 NOTFILED   JIU GONG TECHNOLOGIES        7100-000         16,338.22      N/A              N/A     0.00

 NOTFILED   JJ AUTOMACAO COMERCIO E      7100-000          6,977.50      N/A              N/A     0.00
            SERVICOS LTDA.
 NOTFILED   JMC SALES & ENG. INC.        7100-000             172.17     N/A              N/A     0.00

 NOTFILED   JMS PLASTICS INC.            7100-000              14.00     N/A              N/A     0.00

 NOTFILED   JOHN CROWLEY INC             7100-000         48,871.84      N/A              N/A     0.00




UST Form 101-7-TDR (10/1/2010)
                         Case 12-12036-CSS            Doc 687     Filed 12/04/20   Page 25 of 114

 NOTFILED   KABELIN COMMERCIAL SUPPLY      7100-000          2,008.55      N/A              N/A     0.00

 NOTFILED   KENDALL ELECTRIC               7100-000        227,437.67      N/A              N/A     0.00
            INCORPORATED
 NOTFILED   KEYBANK                        7100-000         18,876.42      N/A              N/A     0.00

 NOTFILED   KEYENCE CORP OF AMERICA        7100-000          6,489.00      N/A              N/A     0.00

 NOTFILED   KIMBALL MIDWEST                7100-000             346.19     N/A              N/A     0.00

 NOTFILED   KIRBY RISK ELECTRICAL SUPPLY 7100-000            7,227.14      N/A              N/A     0.00

 NOTFILED   KIRKLAND & ELLIS LLP           7100-000         10,865.96      N/A              N/A     0.00

 NOTFILED   KISTLER INSTRUMENTE A G        7100-000               0.00     N/A              N/A     0.00

 NOTFILED   KITAGAWA-NORTHTECH INC.        7100-000         12,221.00      N/A              N/A     0.00

 NOTFILED   KM INDUSTRIAL MACHINERY        7100-000          2,149.06      N/A              N/A     0.00
            COMPANY
 NOTFILED   KONIG INTERNATIONAL            7100-000             195.00     N/A              N/A     0.00
            LOGISTICS LLC
 NOTFILED   KOONTZ-WAGNER ELECTRIC         7100-000          5,011.42      N/A              N/A     0.00

 NOTFILED   KROOK CONTAINER COMPANY        7100-000              64.00     N/A              N/A     0.00

 NOTFILED   LAB SAFETY SUPPLY              7100-000              41.17     N/A              N/A     0.00

 NOTFILED   Laserplus Oy BIC HELSFIHH      7100-000               0.00     N/A              N/A     0.00
            BANK ALTIA PANKKI OYJ
 NOTFILED   LEE SPRING COMPANY             7100-000             136.06     N/A              N/A     0.00
            INCORPORATED
 NOTFILED   LOWELL CORPORATION             7100-000              97.98     N/A              N/A     0.00

 NOTFILED   MAE                            7100-000         21,937.00      N/A              N/A     0.00

 NOTFILED   MAXION   BORLEM RODAS DE ACO   7100-000          1,242.00      N/A              N/A     0.00
            BORLEM   S.A. EMPREDIMIENTOS
 NOTFILED   MAXION   BORLEM RODAS DE ACO   7100-000             267.00     N/A              N/A     0.00
            BORLEM   S.A. EMPREDIMIENTOS
 NOTFILED   MAXION   BORLEM RODAS DE ACO   7100-000       unknown          N/A              N/A     0.00
            BORLEM   S.A. EMPREDIMIENTOS
 NOTFILED   MAXION   WHEELS                7100-000         11,364.00      N/A              N/A     0.00

 NOTFILED   MAXION WHEELS                  7100-000          7,415.00      N/A              N/A     0.00

 NOTFILED   MCDONALD HOPKINS LLC           7100-000         66,795.73      N/A              N/A     0.00

 NOTFILED   MCMASTER-CARR SUPPLY COMPANY 7100-000            3,304.18      N/A              N/A     0.00

 NOTFILED   MEASUREMENT & MACHINE          7100-000          5,012.38      N/A              N/A     0.00
            TECHNOLOGY
 NOTFILED   MECANIZADOS FIGHIERA SA        7100-000         15,570.00      N/A              N/A     0.00

 NOTFILED   MEMORIAL HEALTH SYSTEM         7100-000             298.00     N/A              N/A     0.00

 NOTFILED   MERRILL TOOL & MACHINE INC. 7100-000             1,550.00      N/A              N/A     0.00

 NOTFILED   METAL IMPROVEMENT COMPANY      7100-000             673.00     N/A              N/A     0.00
            LLC.
 NOTFILED   MFP AUTOMATION ENGINEERING     7100-000          1,703.56      N/A              N/A     0.00

 NOTFILED   MICHIANA DELIVERY SERVICE      7100-000         15,206.16      N/A              N/A     0.00

 NOTFILED   MID-STATE BOLT & SCREW      7100-000             9,244.00      N/A              N/A     0.00
            COMPANY
 NOTFILED   MILLER CANFIELD PADDOCK AND 7100-000             7,814.50      N/A              N/A     0.00
            STONE PLC



UST Form 101-7-TDR (10/1/2010)
                       Case 12-12036-CSS            Doc 687     Filed 12/04/20   Page 26 of 114

 NOTFILED   MILLER CATALYZER CORPORATION 7100-000          2,016.00      N/A              N/A     0.00

 NOTFILED   MILTON TOWNSHIP              7100-000         52,467.41      N/A              N/A     0.00

 NOTFILED   MISUMI USA INC.              7100-000          4,672.16      N/A              N/A     0.00

 NOTFILED   MONOMOY CAPITAL MANAGEMENT   7100-000        967,628.95      N/A              N/A     0.00
            LLC
 NOTFILED   MOTOMAN CORPORATE            7100-000          9,884.03      N/A              N/A     0.00
            HEADQUARTERS
 NOTFILED   MULTIVIEW INC.               7100-000          5,900.00      N/A              N/A     0.00

 NOTFILED   NEFF ENGINEERING             7100-000         31,605.30      N/A              N/A     0.00
            INCORPORATED
 NOTFILED   NEPTECH INC.                 7100-000              27.98     N/A              N/A     0.00

 NOTFILED   NETWORK                      7100-000             972.20     N/A              N/A     0.00

 NOTFILED   NEWARK ELECTRONICS (IN ONE) 7100-000               70.19     N/A              N/A     0.00

 NOTFILED   NOVI LASER INC.              7100-000             662.50     N/A              N/A     0.00

 NOTFILED   O'SULLIVAN LLC               7100-000         55,000.00      N/A              N/A     0.00

 NOTFILED   OMEGA ENGINEERING           7100-000              123.48     N/A              N/A     0.00
            INCORPORATED
 NOTFILED   OMNI METALCRAFT CORPORATION 7100-000          17,096.00      N/A              N/A     0.00

 NOTFILED   PA AMERICA INC.              7100-000          1,417.16      N/A              N/A     0.00

 NOTFILED   Parker Hannifin Corporation 7100-000          52,117.00      N/A              N/A     0.00
            CYLINDER DIVISION
 NOTFILED   PARKER STEEL                7100-000              155.56     N/A              N/A     0.00

 NOTFILED   PECK ENGINEERING INC.        7100-000          5,037.73      N/A              N/A     0.00

 NOTFILED   PH1 3240325v1 08/20/12       7100-000               0.00     N/A              N/A     0.00

 NOTFILED   POSTMASTER MAIN OFFICE       7100-000              75.65     N/A              N/A     0.00
            WINDOWS
 NOTFILED   PRAXAIR DISTRIBUTION INC     7100-000             709.56     N/A              N/A     0.00

 NOTFILED   PRECISION ELECTRIC           7100-000             370.00     N/A              N/A     0.00
            INCORPORATED
 NOTFILED   PRESS AUTOMATION             7100-000         15,478.15      N/A              N/A     0.00
            INCORPORATED
 NOTFILED   PRO TOOL & ENGINEERING INC   7100-000          1,035.00      N/A              N/A     0.00

 NOTFILED   PROFIT RECOVERY PARTNERS LLC 7100-000          1,828.13      N/A              N/A     0.00

 NOTFILED   PYRAMID METALLIZING LLC      7100-000          1,075.00      N/A              N/A     0.00

 NOTFILED   QASS TECHNOLOGIES            7100-000          2,952.00      N/A              N/A     0.00

 NOTFILED   QMI-SAI GLOBAL               7100-000          3,682.51      N/A              N/A     0.00

 NOTFILED   QUALITY SYSTEM CONSULTING    7100-000             900.00     N/A              N/A     0.00

 NOTFILED   R + W AMERICA L.P.           7100-000             420.00     N/A              N/A     0.00

 NOTFILED   READY TECHNOLOGY INC.        7100-000          8,480.00      N/A              N/A     0.00

 NOTFILED   RELIABLE DISPOSAL            7100-000          7,537.10      N/A              N/A     0.00

 NOTFILED   REPKON SELAHATTIN PINAR ST. 7100-000           1,504.00      N/A              N/A     0.00

 NOTFILED   RIVER BEND HOSE SPECIALTY    7100-000         30,817.21      N/A              N/A     0.00




UST Form 101-7-TDR (10/1/2010)
                          Case 12-12036-CSS         Doc 687     Filed 12/04/20   Page 27 of 114

 NOTFILED   ROBERTS SERVICE PLUMBING     7100-000          1,062.00      N/A              N/A     0.00

 NOTFILED   ROCK INTERFACE               7100-000          1,510.94      N/A              N/A     0.00

 NOTFILED   ROCKFORD SYSTEMS             7100-000             254.19     N/A              N/A     0.00
            INCORPORATED
 NOTFILED   ROCKWELL AUTOMATION          7100-000        101,592.00      N/A              N/A     0.00

 NOTFILED   ROLLIE WILLIAMS PAINT SPOT   7100-000          4,943.32      N/A              N/A     0.00

 NOTFILED   ROSE PEST SOLUTIONS          7100-000             501.00     N/A              N/A     0.00

 NOTFILED   ROTADYNE-ROLL GROUP          7100-000         98,975.00      N/A              N/A     0.00

 NOTFILED   RUSSELL PRODUCTS INC.        7100-000             651.14     N/A              N/A     0.00

 NOTFILED   RX OPTICAL                   7100-000             836.00     N/A              N/A     0.00

 NOTFILED   SAFETY-KLEEN SYSTEMS INC.    7100-000          2,847.88      N/A              N/A     0.00

 NOTFILED   SAGINAW CONTROL              7100-000          9,898.04      N/A              N/A     0.00

 NOTFILED   SAWBROOK STEEL CASTINGS      7100-000             276.71     N/A              N/A     0.00
            COMPANY
 NOTFILED   SCOT INDUSTRIES INCORPORATED 7100-000             162.00     N/A              N/A     0.00

 NOTFILED   SETCO                        7100-000         60,968.04      N/A              N/A     0.00

 NOTFILED   SHALTZ AUTOMATION INC.       7100-000         19,826.12      N/A              N/A     0.00

 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          14,377.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          55,265.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          51,842.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000           7,625.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          12,011.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          15,901.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG SHENGTAI WHEELS CO 7100-000          18,435.00      N/A              N/A     0.00
            ECONOMIC TECH DEVELOPMENT
 NOTFILED   SHANDONG XINGMIN WHEEL CO    7100-000          6,798.00      N/A              N/A     0.00
            LTD LONGKOU DEVELOPMENT ZONE
 NOTFILED   SHANDONG XINGMIN WHEEL CO    7100-000         29,077.00      N/A              N/A     0.00
            LTD LONGKOU DEVELOPMENT ZONE
 NOTFILED   SHANDONG XINGMIN WHEEL CO    7100-000         37,428.00      N/A              N/A     0.00
            LTD LONGKOU DEVELOPMENT ZONE
 NOTFILED   SHANDONG XINGMIN WHEEL CO    7100-000         15,589.00      N/A              N/A     0.00
            LTD LONGKOU DEVELOPMENT ZONE
 NOTFILED   SHANGHAI MEGAHOO INTL TRADE 7100-000           1,294.57      N/A              N/A     0.00
            CO. LTD.
 NOTFILED   SHENGHAI BAOSTEEL METAL      7100-000         31,962.00      N/A              N/A     0.00
            TRADING CO. LTD
 NOTFILED   SHENGHAI BAOSTEEL METAL      7100-000         40,235.00      N/A              N/A     0.00
            TRADING CO. LTD
 NOTFILED   SHENGHAI BAOSTEEL METAL      7100-000         15,277.00      N/A              N/A     0.00
            TRADING CO. LTD
 NOTFILED   SHENGHAI BAOSTEEL METAL      7100-000         24,407.00      N/A              N/A     0.00
            TRADING CO. LTD
 NOTFILED   Sin INDUSTRIAL PRODUCTS INC. 7100-000          9,934.50      N/A              N/A     0.00

 NOTFILED   SNOWBUSTERS                  7100-000          2,505.00      N/A              N/A     0.00

 NOTFILED   SOUTH BEND TRIBUNE           7100-000             520.94     N/A              N/A     0.00




UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS           Doc 687     Filed 12/04/20   Page 28 of 114

 NOTFILED   SOUTHERN COPPER & SUPPLY     7100-000             587.52     N/A              N/A     0.00
            CO.INC.
 NOTFILED   SPADONE ALFA SLP LLC         7100-000             846.10     N/A              N/A     0.00

 NOTFILED   SPECIALTY METALS LLC         7100-000         21,441.03      N/A              N/A     0.00

 NOTFILED   SPRINGHILL SUITES MARRIOTT   7100-000         11,269.92      N/A              N/A     0.00

 NOTFILED   ST. JOSEPH PAPER & PACKAGING 7100-000             265.50     N/A              N/A     0.00
            INCORPORATE
 NOTFILED   STAPLES BUSINESS ADVANTAGE 7100-000               678.13     N/A              N/A     0.00

 NOTFILED   STAUBLI CORPORATION          7100-000             795.40     N/A              N/A     0.00

 NOTFILED   Stearns Stafford Inc.        7100-000          2,778.95      N/A              N/A     0.00

 NOTFILED   STEEL PARTS MANUFACTURING   7100-000           3,104.00      N/A              N/A     0.00
            INC.
 NOTFILED   STEEL PRODUCTS MFG. CO. INC 7100-000               54.25     N/A              N/A     0.00

 NOTFILED   STERLING ENGINEERING INC     7100-000        237,269.50      N/A              N/A     0.00

 NOTFILED   STERLING INSTRUMENT          7100-000             152.86     N/A              N/A     0.00

 NOTFILED   STEWART ENGINEERING & SALES 7100-000           1,036.91      N/A              N/A     0.00

 NOTFILED   SUNSOURCE FAUVER             7100-000             130.03     N/A              N/A     0.00

 NOTFILED   SUPERBOLT                    7100-000             480.00     N/A              N/A     0.00

 NOTFILED   Superior Industries          7100-000          2,451.00      N/A              N/A     0.00
            International Inc.
 NOTFILED   Superior industries          7100-000          6,009.00      N/A              N/A     0.00
            International Inc.
 NOTFILED   Superior Industries          7100-000       unknown          N/A              N/A     0.00
            International Inc.
 NOTFILED   SYNERGY RESOURCES LLC        7100-000          1,700.00      N/A              N/A     0.00

 NOTFILED   SYSTEM SEALS                 7100-000             387.04     N/A              N/A     0.00

 NOTFILED   SYSTEM SPECIALTIES           7100-000          1,269.69      N/A              N/A     0.00

 NOTFILED   T- MOBILE                    7100-000          2,429.44      N/A              N/A     0.00

 NOTFILED   T-YACHT INTERNATIONAL        7100-000         23,400.00      N/A              N/A     0.00
            HOLDINGS LTD
 NOTFILED   TATA TECHNOLOGIES            7100-000         68,864.10      N/A              N/A     0.00

 NOTFILED   TECH PRODUCTS CORPORATION    7100-000              93.75     N/A              N/A     0.00

 NOTFILED   TECTIVITY INC.               7100-000          4,883.34      N/A              N/A     0.00

 NOTFILED   TELEDYNE CASTING SERVICE     7100-000          1,506.45      N/A              N/A     0.00

 NOTFILED   THE PINNACLE GROUP OF        7100-000          7,138.93      N/A              N/A     0.00
            INDIANA
 NOTFILED   THOMAS L LARRY               7100-000             741.28     N/A              N/A     0.00

 NOTFILED   THYSSENKRUPP MATERIALS NA    7100-000          1,899.72      N/A              N/A     0.00

 NOTFILED   TITAN                        7100-000             489.00     N/A              N/A     0.00

 NOTFILED   TNT USA INC.                 7100-000             368.90     N/A              N/A     0.00

 NOTFILED   TOYOTA FINANCIAL SERVICES    7100-000          4,468.62      N/A              N/A     0.00

 NOTFILED   TPC WIRE & CABLE             7100-000          4,133.45      N/A              N/A     0.00




UST Form 101-7-TDR (10/1/2010)
                        Case 12-12036-CSS           Doc 687     Filed 12/04/20      Page 29 of 114

 NOTFILED   TRI-STATE COMPRESSED AIR    7100-000            1,178.16       N/A                  N/A             0.00

 NOTFILED   TW METALS                   7100-000            6,175.15       N/A                  N/A             0.00

 NOTFILED   U.S. BUSINESS SYSTEMS       7100-000            5,998.13       N/A                  N/A             0.00

 NOTFILED   UNITED INDUSTRIES           7100-000           23,241.08       N/A                  N/A             0.00

 NOTFILED   United Technologies CARRIER 7100-000              899.00       N/A                  N/A             0.00
            CORPORATION
 NOTFILED   United Technologies CARRIER 7100-000            1,105.00       N/A                  N/A             0.00
            CORPORATION
 NOTFILED   UPS SUPPLY CHAIN SOLUTIONS 7100-000             1,678.03       N/A                  N/A             0.00

 NOTFILED   USF HOLLAND INC.            7100-000              418.93       N/A                  N/A             0.00

 NOTFILED   VERIZON WIRELESS            7100-000           10,267.99       N/A                  N/A             0.00

 NOTFILED   WELD SEAM INC.              7100-000            6,906.00       N/A                  N/A             0.00

 NOTFILED   WILLIAMS HOME CENTER        7100-000            3,097.34       N/A                  N/A             0.00

 NOTFILED   WILUBE CHEMICAL INC.        7100-000               16.75       N/A                  N/A             0.00

 NOTFILED   WINFRED M. BERG INCORPORATED 7100-000              65.90       N/A                  N/A             0.00

 NOTFILED   WIPPERMAN OCCUPATIONAL      7100-000            1,697.75       N/A                  N/A             0.00
            HEALTH
 NOTFILED   WUHAN DONG FENG MOTOR       7100-000            9,379.00       N/A                  N/A             0.00
            INDUSTRY
 NOTFILED   WUHAN DONG FENG MOTOR       7100-000           18,366.00       N/A                  N/A             0.00
            INDUSTRY
 NOTFILED   Wuhu Japhl Powertrain       7100-000            1,953.00       N/A                  N/A             0.00
            Systems Co Ltd.
 NOTFILED   Wuhu Japhl Powertrain       7100-000               62.00       N/A                  N/A             0.00
            Systems Co Ltd.
 NOTFILED   XEROX CORPORATION           7100-000           11,022.40       N/A                  N/A             0.00

 NOTFILED   YOUNGBLOOD AIR SYSTEMS      7100-000           49,248.22       N/A                  N/A             0.00

 NOTFILED   Zhejiang Jingu Company      7100-000         159,780.00        N/A                  N/A             0.00
            Limited
 NOTFILED   Zhejiang Jingu Company      7100-000            1,017.00       N/A                  N/A             0.00
            Limited
 NOTFILED   Zhejiang Jingu Company      7100-000         unknown           N/A                  N/A             0.00
            Limited
 TOTAL GENERAL UNSECURED                               $7,392,576.18   $14,295,392.36   $21,278,877.21   $866,056.71
 CLAIMS




UST Form 101-7-TDR (10/1/2010)
                                       Case 12-12036-CSS                    Doc 687          Filed 12/04/20             Page 30 of 114

                                                                                                                                                                   Exhibit 8


                                                                             Form 1                                                                                Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 12-12036                                                                Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                              Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                         §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                              Claims Bar Date:             12/13/12

                                   1                                   2                        3                      4                  5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                             Remaining Assets

 1       Accounts Receivable, Trade                                7,326,733.71                 600,000.00                               600,812.44                    FA
           See Exhibit "A" for scheduled detail
         AAM Maqulladora Mexico S. de R. L. de C.V.
         AAM do Brasil Ltda a/k/a American Axle &
         Manufacturing Inc. (Settlement Amount = $51,574.43
         (Purchase Order $28,096.80, Unpaid payables
         $21,677.63 & labor & packaging $1,800.00)) 10/10/12
         Received $27,656.80; 10/17/12 Received $10,776.14;
         10/25/12 Received $1,736.52; 03/10/14 balance
         received by Debtor one week prior to the petition and
         should not have been included in the settlment
         amount, since it was previously paid.
         Accuride Corporation $8,029.45 Received $40,000.00


         Aleris Rolled Products, Inc. [Alsco] Received
         $5,442.02
         Allegheny Tool Received $304.00 (Wired to Comerica
         07/23/12 Transferred to Trustee)
         Autopartes Walker S.A. de C.V. Received $9,805.20
         (Comerica received post-petition and turned over)
         Dana Corporation Received $163,188.96
         Donaldson Co., Inc. Received $698.14 (Wired to
         Comerica 07/12/12 Transferred to Trustee)
         Eberspaecher North America, Inc. $3,306.42 (Wired to
         Comerica 07/20/12 Transferred to Trustee)
         Faurecia Emissions Control Technologies USA LLC
         Received from Faurecia $27,197.53
         Faurecia Exhaust Systems, Inc. $176,111.20 to
         complete contract less $84,495.16 reimbursed for
         completion damages (Initially Wired to Comerica on
         8/22/12 and Transferred to Trustee. Note:
         $100,000.00 was initially held in escrow in Asset No.:
         11 until payment of completion damages; balance
         applied to initial A/R)
         Faurecia Exhaust Systems, Inc. $89,905.84* (Wired to
         Comerica on 8/21/12 and Transferred to Trustee)
         Faurecia Exhaust Systems, Inc. Received $30,934.67*
         (Wired to Comerica on 08/21/12 Transferred to


                                                                                                                                    Printed: 11/13/2020 09:50 AM    V.20.24
                                     Case 12-12036-CSS                      Doc 687          Filed 12/04/20             Page 31 of 114

                                                                                                                                                                   Exhibit 8


                                                                             Form 1                                                                                Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 12-12036                                                                Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
Case Name:          HESS INDUSTRIES, INC.                                            Filed (f) or Converted (c): 07/10/12 (f)
                    and Hess Engineering, Inc.                                       §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                              Claims Bar Date:             12/13/12

                                1                                      2                        3                      4                  5                   6

                    Asset Description                               Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                             Remaining Assets

         Trustee)
         Faurecia Exhaust Systems, Inc. Received from
         Faurecia $5,270.00
         G E Aircraft Engines Received $10,064.00 (Wired to
         Comerica 07/11/12 Transferred to Trustee)
         GKN Armstrong Wheels Inc. Received $9,733.29
         Ilmor Marine Received $6,004.80
         Kohler Company $4,837.80; Received $4,837.80
         Nexteer Automotive Corporation Received $5,708.96
         & Received $2,920.58
         North American Stainless $50,160.00 11/14/12
         Received $49,106.00; 11/28/12 Received $1,054.00
         RG Steel - Sparrow Point, LLC ($174.79) See Asset
         #34 for Claim Filed
         Sub-Zero ($128,922.90) See Adversary No.: 15-51345
         Asset No.: 39 for Default Judgment Payment
         Sypris Technologies Received $1,324.83 (Wired to
         Comerica 07/24/12 Transferred to Trustee)
         Walerko Tool & Engineering Corp. Total Due
         $14,255.00*Note Walerko stated they paid Invoice
         Nos.: H37499 $7,200.00, H37523 $1,010.00 on
         6/29/12 Check 66760 & Invoice No.: H37567
         $3,825.00 was billed in error] Received $2,220.00
         [Invoice Nos.: H37568 $1,320.00 & H37569 $900.00]




 2       Comerica Bank/Carlton Creek - Fund Agreement (u)                  0.00                       0.00                                     0.00                    FA
          Comerica Bank $12,250.00 - Docket No.: 85 Repaid
         ($700,000.00)
         Comerica Bank $12,750.00 - Docket No.: 85 Repaid
         ($700,000.00)
         Comercia Bank $20,000.00 Repaid ($700,000.00)
         Carlton Creek an affiliate of Monomoy Capital Partners
         $150,000.00 Docket No.: 86; Forfeited Pursuant to
         Order and applied to Settlement [Docket No.: 33] (See
         Asset #36)



                                                                                                                                    Printed: 11/13/2020 09:50 AM    V.20.24
                                        Case 12-12036-CSS                        Doc 687          Filed 12/04/20             Page 32 of 114

                                                                                                                                                                        Exhibit 8


                                                                                  Form 1                                                                                Page: 3

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 12-12036                                                                     Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                                   Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                              §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                                   Claims Bar Date:             12/13/12

                                1                                         2                          3                      4                  5                   6

                    Asset Description                                  Petition/            Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                             Remaining Assets

         As of petition date, the bank accounts had an
         aggregate balance totaling $33,408.49 (petition date
         collateral proceeds)
         Stipulation - Docket No.: 161 - re: Comerica Bank - All
         petition date collateral and funds since the petition
         date will be turned over to the Trustee. Upon receipt
         by the Trustee, 100% of the petition date collateral
         proceeds will be returned promptly to senior lender
         pursuant to the senior lender stipulation, and the
         agreed collateral liquidation costs and the estate
         carve-out shall not apply to the petition date collateral
         proceeds.


         Senior Lender agrees that for purposes of the
         allocation of the cash portion of the Purchase Price
         contemplated in Section 10(r)(ii) of the Purchase
         Agreement, $100,000.00 (the "Allocation Carveout") of
         the cash portion of the Purchase Price is and shall be
         allocated to the Foreign IP as value of the Foreign IP,
         and that a portion of the cash proceeds of the Sale in
         the amount of the Allocation Carveout shall not
         constitute Collateral under the Senior Lender
         stipulation and shall be paid to the Debtors' estates
         from the proceeds of Sale free and clear of all liens,
         claims, interests and encumbrances. [Docket No.: 262]

 3       Petty Cash                                                       1,676.43                       1,676.43                               1,668.43                    FA
           Located in Niles, Michigan
         Petty cash was counted on July 17, 2012 and given to
         Michael Walker to obtain a cashier's check
         $1,676.43
         -8.00 Check Fee
         $1,668.43


 4       Unclaimed Property - State of Michigan (u)                           300.00                      300.00                                4,119.64                    FA
           Property No.: 19795736
         Property No.: 5372185
         Property No.: 20091792
         Received $4,119.64

                                                                                                                                         Printed: 11/13/2020 09:50 AM    V.20.24
                                     Case 12-12036-CSS                       Doc 687          Filed 12/04/20             Page 33 of 114

                                                                                                                                                                    Exhibit 8


                                                                              Form 1                                                                                Page: 4

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 12-12036                                                                 Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                               Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                          §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                               Claims Bar Date:             12/13/12

                                1                                       2                        3                      4                  5                   6

                    Asset Description                                Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                             Remaining Assets

 5       Refunds - Insurance (u)                                       14,645.00                  14,645.00                                15,910.40                    FA
          Gibson Insurance - Policy No.: 35389890 [Chubb
         Group of Insurance Companies] 08/01/11 - 08/01/12
         $2.43
         Gibson Insurance - Policy No.: CA00115034 08/01/12
         - 12/10/12 $1,265.00
         FCCI Insurance Company Policy No.: 2012070302
         $26.00
         Infinisource re: Blue Cross Blue Shield of MI $2,775.87
         Infinisource Plan Refund/Adjustment $11,841.10


 6       Voided - Entered in Error (u)                                      0.00                       0.00                                     0.00                    FA


 7       Automobile(s) - Various                                        Unknown                   27,600.00                                19,000.00                    FA
          1996 Haulmark Trailer Vin No.:
         16HGB1626TH035503 (Part of Sale to Pacific Wheel
         Docket No.: 203)
         2004 Chevrolet Impala Vin No.:
         2G1WH55K849306409 - Received $700.00
         Non-Estate Funds Turned over to Pacific Wheel
         2004 Chrysler Concorde VIN No.:
         2C3HD56G54H694974 $1,000.00
         2004 Dodge Intrepid - VIN No.:
         2B3HD46R64H600352 $1,200.00
         2005 Chevrolet Impala Vin No.:
         2G1WH52K659147900 - Received $700.00
         Non-Estate Funds Turned over to Pacific Wheel
         2005 Pontiac Bonneville Vin No.:
         1G2HY54K45U106749 - Received $1,000.00
         Non-Estate Funds Turned over to Pacific Wheel
         2008 Ford DRW Super Duty Stake Vin No.:
         1FDWF365X8EE23028 (Part of Sale to Pacific Wheel
         Docket No.: 203)
         2008 Ford LGT Convtnl F Pick-up Vin No.:
         1FTRF12218KE94007 - Received $2,500.00 -
         Non-Estate Funds Turned over to Pacific Wheel
         2008 Ford LGT Convtnl F Pick-up Vin No.:
         1FTRF12288KF03950 - Received $5,800.00

                                                                                                                                     Printed: 11/13/2020 09:50 AM    V.20.24
                                       Case 12-12036-CSS                 Doc 687          Filed 12/04/20             Page 34 of 114

                                                                                                                                                                Exhibit 8


                                                                          Form 1                                                                                Page: 5

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-12036                                                             Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                           Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                      §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                           Claims Bar Date:             12/13/12

                                1                                   2                        3                      4                  5                    6

                    Asset Description                            Petition/          Estimated Net Value         Property          Sale/Funds           Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,   Abandoned          Received by       Administered (FA)/
                                                                  Values          Less Liens, Exemptions,      OA=§554(a)          the Estate        Gross Value of
Ref. #                                                                                and Other Costs)                                              Remaining Assets

         2008 Ford LGT Convtnl F Pick-up Vin No.:
         1FTRF122X8KE94443 - Received $3,000.00
         2008 Ford SRW Super Duty Pick-up Vin No.:
         1FTNF20548EE59221 - Received $1,500.00 -
         Non-Estate Funds Turned over to Pacific Wheel
         2009 Hyundai Sonata - VIN No.:
         5NTEU46F29H552659 Received $8,000.00
         2009 Hyundai Sonata Vin No.: 5NPEU46F49H562318
         - Received $1,000.00 Non-Estate Funds Turned over
         to Pacific Wheel
         2009 Hyundai Sonata Vin No.: 5NPEU46F79H526736
         - Received $1,000.00 Non-Estate Funds Turned over
         to Pacific Wheel




 8       Bank Account - Comerica/General                            3,682.30                     3,682.30                               3,682.30                    FA
          Account Ending 4454 General Account

 9       Bank Account - Comerica/ZBA                               28,724.57                  28,724.57                                28,724.57                    FA
          Account Ending 7326

10       Bank Account - Comerica/Collateral                         1,001.62                  47,550.30                                    918.24                   FA
          Account Ending 6757

11       Bank Account - Comerica/Collateral FBO Account                 0.00                 275,822.14                                      0.00                   FA
          Account Ending 7083
         Received $275,822.14 as follows:
         Received $89,905.84 (Faurecia Mexico A/R)
         $100,000.00 (Escrow per Settlement Agreement re:
         Faurecia Mexico) $9,805.20 (A/R-Autoparties Walker)
         $76,111.10 (Faurecia Mexico A/R)
         Escrow $100,000.00 less $84,495.16 (Reimburse MTI
         refurbishments, freight/shipping & installation =
         Balance from escrow to (Asset #1) Accounts
         Receivable $15,504.84

12       Bank Account - First Source/Payroll                        1,807.93                     1,600.00                               1,727.93                    FA
          Account Ending 6330
         Account No.: 1316330 Balance as of 2/26/12
         $2,009.25 Received $1,724.93 & $3.00


                                                                                                                                 Printed: 11/13/2020 09:50 AM    V.20.24
                                       Case 12-12036-CSS                        Doc 687          Filed 12/04/20             Page 35 of 114

                                                                                                                                                                       Exhibit 8


                                                                                 Form 1                                                                                Page: 6

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 12-12036                                                                    Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                                  Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                             §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                                  Claims Bar Date:             12/13/12

                                 1                                       2                          3                      4                  5                   6

                    Asset Description                                 Petition/            Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                       Values            Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                             Remaining Assets

13       Security Deposit/Rent                                         375,000.00                   375,000.00                                     0.00                    FA
           191 Fir Road, Niles, MI
         30257 Redfield Street, Niles, MI
         (Lease Rejected 0/16/13 Docket No.: 274)
         Offset against rejection damage claim.

14       Interests in Insurance Policies (AON)                               895.83                     1,265.00                                  75.00                    FA
           AON - Prepaid Premiums K&R (10 Months)
         Aon Risk Services, Inc. Refund Pre-Petition
         overpayment on policy $75.00


15       Business Interests, Hess Engineering AG                        80,128.00                           0.00                                   0.00                    FA
           Investment in wholly-owned subsidiary Hess
         Engineering AG
         This entity has no assets and no value.




16       Business Interests, Hess India                                  2,500.00                   101,000.00                               100,001.00                    FA
           Investment in wholly-owned subsidiary Hess India
         *Sold Pursuant to Asset Purchase Agreement
         Bhupinder S. Vilkhu - Received $1.00 for Investment in
         wholly-owned subsidiary Hess India stock pursuant to
         Asset Purchase Agreement along with returning (1)
         two-axis Horizontal Spinner, all electronic and physical
         copies of the intellectual property, all electronic and
         physical copies of drawings in Inventor, Autocad or
         other computer programs related to the intellectual
         property and/or equipment manufactured by the
         Debtors, and computer server, firewall and related
         peripherals supplied by Debtors. Upon satisfaction,
         Hess shall be deemed to have expressly waived any
         and all amounts standing to the Debtors' names in the
         aggregate amount of $125,261.40 USD. It is deemed
         forgiven and no further amount shall be due and owing
         with respect thereto [Docket No.: 380]


         Maumee Assembly & Stamping, LLC - Received
         $100,000.00 [Docket No.: 409] for (1) two-axis


                                                                                                                                        Printed: 11/13/2020 09:50 AM    V.20.24
                                       Case 12-12036-CSS                     Doc 687          Filed 12/04/20             Page 36 of 114

                                                                                                                                                                    Exhibit 8


                                                                              Form 1                                                                                Page: 7

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-12036                                                                 Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
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                  and Hess Engineering, Inc.                                          §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                               Claims Bar Date:             12/13/12

                                  1                                     2                        3                      4                  5                   6

                    Asset Description                                Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                      Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                             Remaining Assets

         Horizontal Spinner most recently located at Hess
         Enterprises India Private Limited, and presently en
         route to 30257 Redfield Street, Niles, MI 49120 [Notice
         of Asset - Docket No.: 409]

17       Business Interests, Hess Engineering, Inc.                     Unknown                        0.00                                     0.00                    FA
          100% Stock and Interest in wholly-owned subsidiary
         Hess Engineering, Inc.
         The only asset of Hess Engineering, Inc. is the IP -
         The value & sale of this asset is included in asset #29




18       Business Interests, Capitol Technologies, Inc.                 Unknown                        0.00                                     0.00                    FA
          No assets in this entity and therefore no value.
         100% Stock and Interest in wholly-owned subsidiary
         Capitol Technologies, Inc.




19       Business Interests, Hess Fabricating, Inc.                     Unknown                        0.00                                     0.00                    FA
          100% Stock and Interest in wholly-owned subsidiary
         Hess Fabricating, Inc.
         No assets in this entity and thereore no value




20       Business Interests, Hess Enterprises, LLC                      Unknown                        0.00                                     0.00                    FA
          100% Stock and Interest in wholly-owned subsidiary
         Hess Enterprises, LLC
         No assets in this entity and therefore no value.

21       Accounts Receivable - Unbilled FAURECIA                       64,662.00                 125,115.91                                50,000.00                    FA
          Invoice No.: H39999


         Pursuant to Docket No. 99 - Faurecia Mexico shall
         promptly pay the following amounts to the Trustee: (i)
         $153,308.01 (the A/R Amount) (ii) $176,111.10. Of
         the $176,111.10 the trustee shall hold in escrow
         $100,000.00 (Escrow Amount). To the extent that


                                                                                                                                     Printed: 11/13/2020 09:50 AM    V.20.24
                                     Case 12-12036-CSS                     Doc 687          Filed 12/04/20             Page 37 of 114

                                                                                                                                                                  Exhibit 8


                                                                            Form 1                                                                                Page: 8

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 12-12036                                                               Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                             Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                        §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                             Claims Bar Date:             12/13/12

                               1                                      2                        3                      4                  5                   6

                    Asset Description                              Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                    Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                             Remaining Assets

         Faurecia Mexico incurs completion damages, it will be
         entitled to return of Escrow Amount


         Pursuant to Docket No.: 351 - Faurecia paid
         $50,000.00 pursuant to the Receivable Settlement
         Agreement

22       CanAmMex Exhaust USA                                        72,000.00                  72,000.00                                48,000.00                    FA
          CanAmMex Exhaust USA Corporation Received
         $48,000.00
         Note: Debtor Scheduled as "Other Liquidated Debts"
         not "Receivable"
         Adversary No.: 15-51344 filed for Breach of
         Equipment Agreement (Receivable).
         Refer to Asset No.: 40 for settlement of $20k [Docket
         No.: 14 Adversary]

23       Sale of Scrap                                                Unknown                      2,549.60                               4,104.03                    FA
          Louis Padnos Iron & Metal Company $1,865.31
         Louis Padnos Iron & Metal Company $1,854.43
         Louis Padnos Iron & Metal Company $384.29


24       Hess Engineering AG                                        850,625.00                         0.00                                   0.00                    FA
          See asset #15 above

25       Hess India                                                 125,261.40                         0.00                                   0.00                    FA
          See asset #16 above

26       Tax Refunds 2011 - 2012                                      Unknown                          0.00                                   0.00                    FA
          No refunds are due

27       Tradesnames,Drawings,Detailed Product Technology             Unknown                          0.00                                   0.00                    FA
          See Exhibit "B" for scheduled detail
         Sold to Jingu as part of asset #29


28       Office Equipment, Furniture & Fixtures                   1,500,000.00                     1,676.00                                   0.00                    FA
          Sold as part of Asset #29 to Jingu.
         Per Schedule "B" - Furniture and Fixtures Combined
         Value with Machinery, Hardware & Software
         $3,000,000.00



                                                                                                                                   Printed: 11/13/2020 09:50 AM    V.20.24
                                     Case 12-12036-CSS                   Doc 687          Filed 12/04/20             Page 38 of 114

                                                                                                                                                                Exhibit 8


                                                                          Form 1                                                                                Page: 9

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-12036                                                             Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
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                  and Hess Engineering, Inc.                                      §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                           Claims Bar Date:             12/13/12

                              1                                     2                        3                      4                  5                   6

                    Asset Description                            Petition/          Estimated Net Value         Property          Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled     (Value Determined By Trustee,   Abandoned          Received by      Administered (FA)/
                                                                  Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                and Other Costs)                                             Remaining Assets

         Steven E. Reed (8) Racks $200.00 Non-Estate Funds
         Turned over to Pacific Wheel
         Trio Management Partners LLC Portable Welder
         $300.00 Non-Estate Funds Turned over to Pacific
         Wheel [Docket No.: 332]
         Trio Management Partners LLC Folding Tables (5)
         $25.00 Non-Estate Funds Turned over to Pacific
         Wheel [Docket No.: 332]
         Trio Management Partners LLC Paper Shredder,
         Laminator & (3) Ladders $50.00 Non-Estate Funds
         Turned over to Pacific Wheel [Docket No.: 332]
         Trio Management Partners LLC Homemade Pipe
         Bender $100.00 Non-Estate Funds Turned over to
         Pacific Wheel [Docket No.: 332]
         Pacific Wheel, Inc. Gages $500.00 Non-Estate Funds
         Turned over to Pacific Wheel [Docket No.: 332]
         Pacific Wheel, Inc. Laptop Computer $350.00
         Non-Estate Funds Turned over to Pacific Wheel
         [Docket No.: 332]
         Brandon S. Glassman Pop Machine & Aerator
         $150.00 Non-Estate Funds Turned over to Pacific
         Wheel [Docket No.: 332]
         Leased Lanier Copiers Model Nos.: 445CSPF &
         910-043098 - Abandonment Filed 11/06/13 [Docket
         No.: 408]
         Leased Xerox Printer Nos: 951005956, 951105964 &
         Scanner 951106046 - Abandonment Filed 11/06/13
         [Docket No.: 408]




29       Machinery, Hardware & Software                         1,500,000.00              19,250,000.00                            19,276,800.00                    FA
          Sale Includes Asset #28 to Zhejiang Jingu Company
         Limited (Jingu.)
         Per Schedule "B" - Machinery, Hardware and Software
         Combined Value with Furniture & Fixtures
         $3,000,000.00



                                                                                                                                 Printed: 11/13/2020 09:50 AM    V.20.24
                                       Case 12-12036-CSS                    Doc 687         Filed 12/04/20             Page 39 of 114

                                                                                                                                                                   Exhibit 8


                                                                             Form 1                                                                               Page: 10

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 12-12036                                                               Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                             Filed (f) or Converted (c): 07/10/12 (f)
                  and Hess Engineering, Inc.                                        §341(a) Meeting Date:        08/09/12
Period Ending: 11/13/20                                                             Claims Bar Date:             12/13/12

                                1                                       2                      3                      4                  5                   6

                    Asset Description                                Petition/        Estimated Net Value         Property          Sale/Funds          Asset Fully
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                                                                      Values        Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                             Remaining Assets

         Sale Price = $14,192,235.57 plus deposit
         $5,000,000.00 [plus $57,764.43 Additional for claims
         settlements] [Docket No.: 203]


         NOTE: Sale Order is for purchase price of
         $7,224,577.30 (Tooling/Truck Line) with additional
         consideration of $57,764.43 for the Settlement
         Releases and the additional agreements set forth in
         Section 3 of the Purchase Agreement [Docket No.:
         203 Order; Docket No.: 178 Exhibit A, 2 of 6 page 25]
         without set-off, recoupment, or deductions, a
         lump-sum amount of $57,764.43.


         $6,823,000.00 for the Truck Line Assets and
         $101,955.20 for the Tooling Assets in cash
         consideration, and additional consideration consisting
         of the payment of $77,000.00 to Repkon for amounts
         owed by the Debtor under the Repkon Subcontracts
         and Jingu's elimination and release of any claims that
         Jingu may have with respect to the Jingu Payment,
         which is $7,224,577.30, on account of the Truck Line
         and Tooling.


         Senior Lender agrees that for purposes of the
         allocation of the cash portion of the Purchase Price
         contemplated in Section 10(r)(ii) of the Purchase
         Agreement, $100,000 (the "Allocation Carveout") of
         the cash portion of the Purchase Price is and shall be
         allocated to the Foreign IP as value of the Foreign IP,
         and that a portion of the cash proceeds of the Sale in
         the amount of the Allocation Carveout shall not
         constitute Collateral under the Senior Lender
         stipulation and shall be paid to the Debtors' estates
         from the proceeds of Sale free and clear of all liens,
         claims, interests and encumbrances. [Docket No.: 262]


         Eberspaecher North America, Inc. Received
         $25,000.00 (Notice of Sale Docket No.: 145)


                                                                                                                                   Printed: 11/13/2020 09:50 AM     V.20.24
                                       Case 12-12036-CSS                  Doc 687          Filed 12/04/20             Page 40 of 114

                                                                                                                                                                  Exhibit 8


                                                                           Form 1                                                                                Page: 11

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 12-12036                                                              Trustee:        (500670)     Alfred T. Giuliano, Trustee (DE)
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                              1                                      2                         3                     4                  5                   6

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                                                                   Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                 and Other Costs)                                             Remaining Assets

         Machinery International Corporation Received
         $1,800.00 (Notice of Sale Docket No.: 332)

30       Inventory - Raw Materials                               1,339,536.00                         0.00                                   0.00                     FA
          Sold as part of asset #29.

31       Inventory - WIP                                         3,900,627.00                         0.00                                   0.00                     FA
          Sold as part of asset #29.

32       Refunds - Miscellaneous (u)                                17,592.93                   17,592.93                                9,587.86                     FA
          McDonald Hopkins LLC Turnover of Balance of
         Retainer Received $5,432.04
         George Gusses Co., L.P.A. $6.00 to complete form re:
         Joseph A. Mitchell Received $6.00
         SecoEnergy Gas Company Account No.: 161149503
         Received Refund $237.27
         SecoEnergy Gas Company Account No.: 161147502
         Received Refund $76.52
         Global Surety, LLC - Refund re: Chapter 11 Bond No.:
         016052119 Received $1,232.00
         United States Postal Service Received Refund $8.03
         Mettler - Toledo, LLC Unclaimed DE VDA (Fontijne
         Formitt) Received $2,596.00

33       Accounts Receivable (u)                                 1,084,027.64                 1,084,027.64                             937,264.59                     FA
          554: Cummins, Inc. $4,505.07
         AAM do Brasil Ltda a/k/a American Axle &
         Manufacturing Inc. Received $2,100.00
         Akron Brass Company $6,891.51
         Allegheny Valve & Coupling Inc. $18,905.28
         Calsonic Kansel $5,000.00
         Exhaust Productions, Inc $2,254.20
         Exhaust Productions, Inc. $1,845.35
         Exhaust Productions, Inc. $2,424.54
         Exhaust Productions, Inc. $2,552.55
         Exhaust Productions, Inc. $2,677.12
         Exhaust Productions, Inc. $2,699.43
         Exhaust Productions, Inc. $2,774.40
         Exhaust Productions, Inc. $2,774.40
         Exhaust Productions, Inc. $2,784.60
         Exhaust Productions, Inc. $2,784.60

                                                                                                                                  Printed: 11/13/2020 09:50 AM     V.20.24
                                     Case 12-12036-CSS               Doc 687         Filed 12/04/20             Page 41 of 114

                                                                                                                                                            Exhibit 8


                                                                      Form 1                                                                               Page: 12

                                          Individual Estate Property Record and Report
                                                           Asset Cases
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Case Name:       HESS INDUSTRIES, INC.                                       Filed (f) or Converted (c): 07/10/12 (f)
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Period Ending: 11/13/20                                                      Claims Bar Date:             12/13/12

                               1                                 2                      3                      4                  5                   6

                    Asset Description                         Petition/        Estimated Net Value         Property          Sale/Funds          Asset Fully
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                                                               Values        Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                           and Other Costs)                                             Remaining Assets

         Exhaust Productions, Inc. $2,784.60
         Exhaust Productions, Inc. $3,384.00
         Exhaust Productions, Inc. $3,384.00
         Exhaust Productions, Inc. $3,384.00
         Faurecia Emissions Control Technologies USA LLC
         $3,920.00
         Faurecia Emissions Control Technologies USA LLC
         $4,800.00
         HLI Operating Company, Inc. $1,280.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $16,555.39 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $19,735.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $30,000.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $300,000.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $333,000.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $5,000.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $6,300.00 Maxon
         Wheels f/k/a Hayes Lemmerz International, Inc.
         HLI Operating Company, Inc. $700.00 Maxon Wheels
         f/k/a Hayes Lemmerz International, Inc.
         Ilmor Marine $16,513.20
         Kohler Company $4,107.00
         Kohler Company $14,819.13
         Kohler Company $15,653.25
         Kohler Company $21,837.25
         Kohler Company $21,972.45
         Markland Industries, Inc. $15,737.26
         Markland Industries, Inc. $3,040.00
         Markland Industries, Inc. $8,992.32
         Marson International, LLC $1,453.76
         Marson International, LLC $2,336.29
         Marson International, LLC $338.80


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                                       Case 12-12036-CSS                   Doc 687          Filed 12/04/20             Page 42 of 114

                                                                                                                                                                   Exhibit 8


                                                                            Form 1                                                                                Page: 13

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 12-12036                                                               Trustee:       (500670)      Alfred T. Giuliano, Trustee (DE)
Case Name:        HESS INDUSTRIES, INC.                                             Filed (f) or Converted (c): 07/10/12 (f)
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                              1                                     2                          3                      4                  5                   6

                    Asset Description                            Petition/            Estimated Net Value         Property          Sale/Funds          Asset Fully
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                                                                  Values            Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                  and Other Costs)                                             Remaining Assets

         Shandong Xingmin Wheel Co., Ltd. $3,000.00
         Tenneco $10,263.84




34       RG Steel Sparrows Point LLC Claim (u)                          174.49                     174.49                                     0.84                     FA
          Claim No.: 716 in the RG Steel Sparrows Point, LLC
         Bankruptcy Case No.: 12-11668


         Debtor - Received $ .84
         RG Steel Sparrows Point, LLC
         1430 Sparrows Point Blvd.
         Sparrows Point, MD 21219
         Baltimore County (Not City)-MD
         Tax ID / EIN: XX-XXXXXXX
         aka Severstal Sparrows Point, LLC
         aka ISG Sparrows Point LLC
         aka ISG Sparrows Point Inc.
         Jointly Administered [Lead Case No.: 12-11661]


         Debtor
         WP Steel Venture LLC
         POB 1847
         Bel Air, MD 21014
         BALTIMORE-MD
         Tax ID / EIN: XX-XXXXXXX
         aka WP Steel Venture Corporation


35       Preference(s) (u)                                        106,300.00                   106,300.00                                56,300.00                     FA
          Gibson Insurance Agency, Inc. [Demand Letter]
         Received $8,000.00
         American Express Travel Related Servicees
         Company, Inc. [Demand] Received $12,300.00
         Midwest Energy Cooperative [Demand] Received
         $23,500.00
         Delta Dental Plan of Michigan, Inc. [Demand]
         Received $5,000.00
         Elite Automation Group, Inc. d/b/a Eagle Automation
         Services, Inc. [Demand] Received $1,500.00

                                                                                                                                   Printed: 11/13/2020 09:50 AM     V.20.24
                                      Case 12-12036-CSS                      Doc 687          Filed 12/04/20             Page 43 of 114

                                                                                                                                                                     Exhibit 8


                                                                              Form 1                                                                                Page: 14

                                           Individual Estate Property Record and Report
                                                            Asset Cases
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                                1                                       2                         3                     4                  5                   6

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                                                                      Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                    and Other Costs)                                             Remaining Assets

         Cellco Partnership d/b/a Verizon Wireless Adversary
         No.: 14-50074 Received $5,000.00
         Siemens Industry Inc. Adversary No.: 14-50075
         Received $1,000.00
         O'Sullivan LLC et al Adversary No.: 14-50076
         [$70,000.00 Retainer & $92,5210.91 Preference] (Se
         e Asset No.: 36)


36       Monomoy Insider Preference Matter (u)                      3,000,000.00                 3,000,000.00                           2,500,000.00                     FA
          Trustee filed suit on insider preference. Trustee had
         a mediation on 10/15/15. The trustee reached a global
         agreement with defendants and insurance carriers on
         the insider preference as well as the D&O causes of
         action for $2.5 million [Docket No.: 555]
         Adversary No.: 14-50434-KJC Justin Hillenbrand,
         Stephen Presser, John Stewart, Jaime McKenzie,
         Matthew O'Sullivan, Roxanne Lauer, Robert Bentley,
         John Clements, David Zenger and Kenneth Davis*
         O'Sullivan LLC and Matthew T. O'Sullivan Adversary
         No.: 14-50076
         Monomoy Capital Partners, L.P. and MCP
         Supplemental fund L.P. Adversary No.: 14-50402
         03/25/16 Received $2,025,000.00, $300,000.00 &
         $25,000.00 plus $150,000.00 from Carlton Creek
         deposited by Monomoy that deposit forfeited pursuant
         to global agreement [Docket No.: 446]
         Reference Notes only:
         Combined Specialty Insurance (Westchester Fire
         Insurance Company) Policy G25042463001 6/26/12 -
         6/23/13 $50,300.00
         Executive Risk - Primary (U.S. Specialty Insurance Co)
         Policy No.: U71285520 6/26/12 - 6/26/13 $1,075.00
         Directors & Officers - Excess (U.S. Specialty Insurance
         Co) Policy 14MGU12A27083 6/26/12 - 6/26/13
         $5,560.00

37       D & O Lawsuit (u)                                          1,500,000.00                 1,500,000.00                                   0.00                     FA
          Trustee filed a lawsuit against certain D&O's for
         breach of fiduciary duty*

                                                                                                                                     Printed: 11/13/2020 09:50 AM     V.20.24
                                        Case 12-12036-CSS                      Doc 687          Filed 12/04/20             Page 44 of 114

                                                                                                                                                                       Exhibit 8


                                                                                Form 1                                                                                Page: 15

                                             Individual Estate Property Record and Report
                                                              Asset Cases
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                                                                        Values          Less Liens, Exemptions,      OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                             Remaining Assets

         Adversary No.: 14-50434-KJC Justin Hillenbrand,
         Stephen Presser, John Stewart, Jaime McKenzie,
         Matthew O'Sullivan, Roxanne Lauer, Robert Bentley,
         John Clements, David Zenger and Kenneth Davis*


         Adversary No.: 14-50076-KJC O'Sullivan LLC,
         Matthew T. O'Sullivan [$70,000.00 Retainer &
         $92,510.91 Preference].


         See notes to asset 36 referencing global settlement.

38       OFAJ Foreign Receivable (u)                                    412,000.00                 412,000.00                                     0.00                     FA
          total due               $646,000
         less- M&T             ( $100,000)
         Podor -                  (34,000)
         escrow for warranty (100,000)
         See prior memo below. Unfortunately, the collection of
         this matter will not materialize since the customer is
         not responding to the trustee's attempts to resolve
         product quality issues experienced with the purchase
         of the equipment.


         6/30/15 - The resolution of this matter is in doubt. This
         is a job that the debtor was contracted for with the
         Military branch of the India Government. The OFAJ
         took possession of the job despite the fact that it was
         not complete. The trustee had made arrangement to
         have the job completed in exchange for payment of
         the balance of the contract. The trustee was working
         through a broker and was close to have a resolution.
         However, OFAJ has stopped replying to the broker. If
         dialogue cannot be restarted, the collection of the
         balance of the unfinished job will not materialize.

39       Sub-Zero, Adversary No.: 15-51345 (u)                           78,000.00                  78,000.00                                78,000.00                     FA
          Sub-Zero, Inc. (See Scheduled Exhibit "A" Listing in
         Prior Asset No.: 1)
         Default Judgment vacated and settlement reached
         (Docket No.: 14)



                                                                                                                                       Printed: 11/13/2020 09:50 AM     V.20.24
                                      Case 12-12036-CSS                           Doc 687          Filed 12/04/20                Page 45 of 114

                                                                                                                                                                              Exhibit 8


                                                                                   Form 1                                                                                    Page: 16

                                          Individual Estate Property Record and Report
                                                           Asset Cases
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                                1                                           2                         3                       4                    5                     6

                     Asset Description                               Petition/               Estimated Net Value         Property             Sale/Funds          Asset Fully
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                                                                      Values               Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                Remaining Assets

40        CanAmMex Adversary No.: 15-51344 (u)                              20,000.00                  20,000.00                                   20,000.00                      FA
           CanAmMex Exhaust USA - Adversary No.: 15-51344
          Received $20,000.00 (Related Asset No.: 22); Default
          Judgment $40k plus $350.00 Court Fees. Default
          Judgment vacated and settlement of $20,000.00
          received.

 40      Assets       Totals (Excluding unknown values)             $23,407,901.85                $27,148,302.31                             $23,756,697.27                    $0.00



      Major Activities Affecting Case Closing:

                  A hearing is scheduled to pay Unclaimed Funds to Court on 7/15/2020 at 10:00 AM. Objections due by 7/6/2020.

      Initial Projected Date Of Final Report (TFR):       August 30, 2016                    Current Projected Date Of Final Report (TFR):       June 6, 2019 (Actual)




                                                                                                                                             Printed: 11/13/2020 09:50 AM      V.20.24
                                         Case 12-12036-CSS                       Doc 687              Filed 12/04/20                Page 46 of 114

                                                                                                                                                                                    Exhibit 9


                                                                                     Form 2                                                                                          Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                             Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                        Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                            3                                         4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From                    Description of Transaction               T-Code              $                    $       Account Balance
07/19/12       {1}        Nexteer Automotive Corporation      Accounts Receivable                                 1121-000              5,708.96                                    5,708.96
07/19/12       {2}        Comerica Bank                       Loan Advance Pursuant to Stipulation [Docket        1290-000             12,250.00                                17,958.96
                                                              No.: 85]
07/19/12       {2}        Comerica Bank                       Loan Advance Pursuant to Stipulation [Docket        1290-000             12,750.00                                30,708.96
                                                              No.: 85]
07/23/12                  Hess Industries                     Settlement of Cash on Hand as of July 17,                                 1,668.43                                32,377.39
                                                              2012
               {3}           Hess Industries                     Petty Cash                       1,676.43        1229-000                                                      32,377.39
               {3}           Hess Industries                     Less: Money Order Fee                 -8.00      1229-000                                                      32,377.39
07/23/12      101         Mikolajewski & Associates Inc.      Invoice No.: 28671 & 28672 Security Services        2420-000                                    4,368.00          28,009.39
                                                              for Period of 7/15/12 - 7/21/12 Invoice No.:
                                                              28671 $2,184.00 Invoice No.: 28672
                                                              S2,184.00
07/23/12      102         T-Link Management AG                Invoice No.: 54627 Transportation Cost re:          2420-000                                   11,664.26          16,345.13
                                                              Drawing & Filing Cabinets and Folders
07/25/12       {1}        Ilmor Marine LLC                    Account Receivable/Invoice No.: ID H37598           1221-000              6,004.80                                22,349.93
07/25/12       {1}        Kohler                              Accounts Receivable                                 1221-000              4,837.80                                27,187.73
07/31/12      {33}        Markland Industries, Inc.           Accounts Receivable                                 1221-000             15,737.26                                42,924.99
07/31/12       {2}        Comerica Bank                       Loan Advance Pursuant to Stipulation [Docket        1290-000             20,000.00                                62,924.99
                                                              No.: 85]
07/31/12      103         AFCO                                Account No.: 30-10-110363-7 July Installment        2420-000                                   11,876.00          51,048.99
07/31/12      104         Gibson Insurance Group              Commercial Auto Insurance Quote                     2420-000                                    1,973.00          49,075.99
                                                              QAU0103963
08/01/12       {5}        Gibson Insurance                    Policy No.: 35389890 8/01/11 - 8/01/12 Refund 1229-000                          2.43                              49,078.42
                                                              Credit
08/01/12       {5}        FCCI Insurance Company              Refund Premium Reference No.: 2012070302            1229-000                 26.00                                49,104.42
08/01/12      {23}        Louis Padnos Iron & Metal Company Sale of Scrap Metal [Docket No.: 211]                 1129-000              1,865.31                                50,969.73
08/01/12      105         Mikolajewski & Associates Inc.      Invoice No.: 28689 & 28690 Security Services        2420-000                                    4,368.00          46,601.73
                                                              for Period of 7/22/12 - 7/28/12 Invoice No.:
                                                              28689 $2,184.00 Invoice No.: 28690
                                                              $2,184.00
08/01/12      106         Armentrout, Earl                    Services Rendered for (3) hours at $19.80 per       2990-000                                       59.40          46,542.33
                                                              Hour
08/03/12       {2}        Monomoy Capital Partners L.P.       Loan Advance Pursuant to Order [Docket No.:         1290-000            150,000.00                            196,542.33
                                                              86]
08/06/12       {1}        Nexteer Automotive Corp             Accounts Receivable                                 1221-000              2,920.58                            199,462.91
08/06/12      107         FCCI Insurance Company              Void - Workers' Compensation Insurance              2420-004                                    1,812.00      197,650.91
                                                              Policy No.: QWC0007667 5 for Period of


                                                                                                        Subtotals :                 $233,771.57             $36,120.66
{} Asset reference(s)                                                                                                                            Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                    Doc 687            Filed 12/04/20                Page 47 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                         Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                    Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                           3                                      4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                Description of Transaction               T-Code              $                   $       Account Balance
                                                           8/01/12 - 8/01/13
                                                           Voided on 08/06/12
08/06/12      107         FCCI Insurance Company           Void - Workers' Compensation Insurance             2420-004                                   -1,812.00     199,462.91
                                                           Policy No.: QWC0007667 5 for Period of
                                                           8/01/12 - 8/01/13
                                                           Voided: check issued on 08/06/12
08/06/12      108         Gibson Insurance Group           Workers' Compensation Insurance Policy No.:        2420-000                                    1,812.00     197,650.91
                                                           QWC0007667 5 for Period of 8/01/12 - 8/01/13
08/07/12       {5}        Infinisource                     Blue Cross Blue Shield of MI for Premium           1229-000              2,775.87                           200,426.78
                                                           Period of 6/01/12 - 6/30/12
08/08/12                  Transfer to Acct # xxxxxx9262    Transfer of Funds                                  9999-000                                  150,000.00         50,426.78
08/08/12                  Transfer to Acct # xxxxxx9270    Transfer of Funds                                  9999-000                                    1,668.43         48,758.35
08/08/12      109         Michael Walker                   Pursuant to Order Services Provided for Period 3731-000                                       16,152.00         32,606.35
                                                           of July 10, 2012 - August 10, 2012
                                                           $175,000.00 / 52 = $3,365.00 per Week / 5 =
                                                           $673.00 per day for 24 days
08/08/12      110         Cecil Eastman                    Services rendered for Period of July 30, 2012 -    2690-000                                    1,156.25         31,450.10
                                                           August 3, 2012
08/09/12      {33}        HLI Operating Company, Inc.      Accounts Receivable                                1221-000              1,280.00                               32,730.10
08/10/12      111         Mikolajewski & Associates Inc.   Invoice No.: 28707 & 28708 Security Services       2420-000                                    4,368.00         28,362.10
                                                           for Period of 7/29/12 - 8/04/12 Invoice No.:
                                                           28707 $2,184.00 Invoice No.: 28708
                                                           $2,184.00
08/10/12      112         Mikolajewski & Associates Inc.   Invoice No.: 28727 & 28728 Security Services       2420-000                                    4,368.00         23,994.10
                                                           for Period of 8/05/12 - 8/11/12 Invoice No.:
                                                           28727 $2,184.00 Invoice No.: 28728
                                                           $2,184.00
08/13/12      113         Midwest Energy                   Deposit on Electric Service Deposits for the       2420-000                                   21,465.00             2,529.10
                                                           following accounts: Account No.: 1548001
                                                           $15,000.00 Account No.: 77406 $465.00
                                                           Account No.: 2757400 $6,000.00
08/14/12      {33}        Faurecia Exhaust Systems, Inc    Accounts Receivable - Payment Stopped              1221-000              1,350.00                                   3,879.10
                                                           08/22/12
08/15/12      {33}        Exhaust Productions, Inc.        Accounts Receivable Invoice No.: PL35481           1221-000              2,254.20                                   6,133.30
                                                           8/13/12
08/15/12      114         Cecil Eastman                    Services rendered for Period of August 6, 2012 2690-000                                        1,046.88             5,086.42
                                                           - August 10, 2012 33.50 hours @ $31.25 per
                                                           hour
08/15/12      115         Eark Armentrout                  Services rendered for Period of August 6, 2012 2990-000                                           792.00            4,294.42

                                                                                                    Subtotals :                    $7,660.07        $201,016.56
{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                     Doc 687             Filed 12/04/20                   Page 48 of 114

                                                                                                                                                                                    Exhibit 9


                                                                                     Form 2                                                                                          Page: 3

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                              Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                         Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                 Separate Bond: N/A

   1            2                            3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                   T-Code              $                   $       Account Balance
                                                              - August 10, 2012 40 Hours @ $19.80 per
                                                              hour
08/15/12      116         Dennis Whitaker                     Services rendered for Period of August 6, 2012 2690-000                                          2,000.00             2,294.42
                                                              - August 10, 2012 40 Hours @ $50.00 per
                                                              hour
08/20/12      {33}        Exhaust Productions, Inc.           Accounts Receivable - Invoice No.: PL35483           1221-000              1,845.35                                   4,139.77
08/20/12      {33}        Kohler                              Accounts Receivable - Invoice No.: 81912             1221-000             15,653.25                               19,793.02
08/21/12       {7}        Sharon Delucenay Revocable Trust    Proceeds from Sale of 2009 Hyundai Sonata            1229-000              8,000.00                               27,793.02
                                                              Vin No.: 5NTEU46F29H552659 [Docket No.:
                                                              211]
08/21/12       {7}        Andres Uribe                        Proceeds from Sale of 2004 Dodge Intrepid            1229-000              1,200.00                               28,993.02
                                                              VIN No.: 2B3HD46R64H600352 [Docket No.:
                                                              211]
08/21/12      {23}        Louis Padnos Iron & Metal Company Sale of Scrap Metal [Docket No.: 211]                  1129-000                 384.29                              29,377.31
08/21/12       {7}        Jim Zielinski                       Proceeds from Sale of 2004 ChryslerConcorde          1229-000              1,000.00                               30,377.31
                                                              VIN No.: 2C3HD56G54H694974 [Docket No.:
                                                              211]
08/21/12      {33}        Ilmor Marine                        Accounts Receivable - Invoice No.: 81612             1221-000             16,513.20                               46,890.51
08/21/12       {1}        Faurecia Emissions Control          Accounts Receivable - Pursuant to Settlement         1121-000             27,197.53                               74,088.04
                          Technolo                            Agreement [Docket No.: 99]
08/21/12       {1}        Faurecia Exhaust Systems, Inc.      Accounts Receivable - Pursuant to Settlement         1121-000              5,270.00                               79,358.04
                                                              Agreement [Docket No.: 99]
08/21/12      117         Dennis Whitaker                     Services rendered for Period of August 13,           2690-000                                    2,000.00         77,358.04
                                                              2012 - August 17, 2012 40 Hours @ $50.00
                                                              per hour
08/21/12      118         Earl Armentrout                     Services rendered for Period of August 13,           2690-000                                       554.40        76,803.64
                                                              2012 - August 17, 2012 28 Hours @ $19.80
                                                              per hour
08/21/12      119         Eastman, Cecil                      Services rendered for Period of August 13,           2690-000                                    1,046.88         75,756.76
                                                              2012 - August 17, 2012 33.50 Hours @
                                                              $31.25 per hour
08/21/12      120         Guy, Patricia L.                    Services rendered for Period of August 14,           2690-000                                       112.93        75,643.83
                                                              2012 6.75 Hours @ $16.73 per hour
08/21/12      121         Midwest Energy                      Electric Service for Period of June 22, 2012 -       2420-000                                    6,986.09         68,657.74
                                                              July 24, 2012 Service for the following
                                                              accounts: Account No.: 1548001 $3,022.82
                                                              Account No.: 77406 $166.02 Account No.:
                                                              2757400 $3,797.25
08/21/12      122         AFCO                                Account No.: 30-10-110363-7 August                   2420-000                                   11,310.48         57,347.26

                                                                                                        Subtotals :                    $77,063.62            $24,010.78
{} Asset reference(s)                                                                                                                            Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                   Doc 687          Filed 12/04/20                 Page 49 of 114

                                                                                                                                                                             Exhibit 9


                                                                                Form 2                                                                                       Page: 4

                                                   Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                       Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                  Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                          Separate Bond: N/A

   1            2                           3                                      4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From             Description of Transaction                T-Code              $                   $       Account Balance
                                                          Installment
08/22/12      123         Michael Walker                  Services rendered for Period of August 20,        3731-000                                    3,365.00         53,982.26
                                                          2012 - August 24, 2012
08/22/12      124         Michael Walker                  Services rendered for Period of August 6, 2012 3731-000                                       3,365.00         50,617.26
                                                          - August 10, 2012
08/22/12      {33}        Faurecia Exhaust Systems, Inc   Accounts Receivable - Payment Stopped -           1221-000             -1,350.00                               49,267.26
                                                          (See Deposit No.: 9-1 on 08/14/12)
08/27/12      {33}        Kohler                          Accounts Receivable - Invoice No.: 82712          1221-000             21,837.25                               71,104.51
08/27/12                  Accuride Corporation            Good Faith Deposit Pursuant to Motion on                              797,000.00                           868,104.51
                                                          Sale of Assets [Docket No.: 94]
              {29}                                           Good Faith Deposit             757,000.00      1129-000                                                 868,104.51
                                                             Pursuant to Motion on
                                                             Sale of Assets [Docket
                                                             No.: 94]
               {1}                                           Accounts Receivable             40,000.00      1121-000                                                 868,104.51
08/28/12       {5}        Infinisource                    Premiums Deposited 07/01/12 - 07/31/12            1229-000             11,841.10                           879,945.61
08/28/12       {1}        Faurecia Exhaust Systems, Inc   Accounts Receivable - Payment Stopped             1121-000              5,270.00                           885,215.61
                                                          09/06/12
08/28/12       {7}        Rick Paridaen                   Proceeds from Sale of 2008 Ford LGT Convtnl       1129-000              5,800.00                           891,015.61
                                                          F Pick-up Vin No.: 1FTRF12288KF03950
                                                          [Docket No.: 211]
08/28/12      {33}        HLI Operating Company, Inc.     Accounts Receivable                               1221-000              5,000.00                           896,015.61
08/28/12      125         AFCO                            Account No.: 30-10-110363-7 September             2420-004                                   11,876.00     884,139.61
                                                          Installment - Check Voided
                                                          Voided on 08/29/12
08/28/12      126         Cecil Eastman                   Services rendered for Period of August 20,        2690-000                                       992.19    883,147.42
                                                          2012 - August 24, 2012 31.75 Hours @
                                                          $31.25 per hour
08/28/12      127         Dennis Whitaker                 Services rendered for Period of August 20,        2690-000                                    2,100.00     881,047.42
                                                          2012 - August 24, 2012 42 Hours @ $50.00
                                                          per hour
08/28/12      128         Earl Armentrout                 Services rendered for Period of August 13,        2690-000                                       455.40    880,592.02
                                                          2012 - August 17, 2012 23 Hours @ $19.80
                                                          per hour
08/28/12      129         Rick Paridaen                   Services rendered for Period of August 20,        2690-000                                    2,450.00     878,142.02
                                                          2012 - August 24, 2012
08/28/12      130         Michael Walker                  Services rendered for Period of August 27,        3731-000                                    3,365.00     874,777.02
                                                          2012 - August 31, 2012
08/29/12      125         AFCO                            Account No.: 30-10-110363-7 September             2420-004                                  -11,876.00     886,653.02

                                                                                                  Subtotals :                 $845,398.35             $16,092.59
{} Asset reference(s)                                                                                                                     Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                     Doc 687           Filed 12/04/20                     Page 50 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                   Form 2                                                                                          Page: 5

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                             Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                        Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                           3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From              Description of Transaction                     T-Code              $                   $       Account Balance
                                                           Installment - Check Voided
                                                           Voided: check issued on 08/28/12
08/29/12      131         AFCO                             Account No.: 30-10-110363-7 September                  2420-000                                   11,310.48     875,342.54
                                                           Installment
08/30/12      {33}        HLI Operating Company, Inc.      Accounts Receivable                                    1221-000                 700.00                          876,042.54
08/30/12      {33}        Akron Brass Company              Accounts Receivable - Invoice No.: 82412               1221-000              6,891.51                           882,934.05
08/30/12      132         Walker, Michael                  Incentive Payment Pursuant to Retention                3731-000                                   43,750.00     839,184.05
                                                           Order [Docket No.: 119]
08/31/12      {33}        HLI Operating Company, Inc.      Accounts Receivable                                    1221-000              6,300.00                           845,484.05
09/04/12      {33}        Exhaust Productions, Inc.        Accounts Receivable - Invoice No.: PL35488             1221-000              3,384.00                           848,868.05
09/04/12      133         Mikolajewski & Associates Inc.   Security Services for Period of 8/12/12 -                                                         13,104.00     835,764.05
                                                           9/01/12 Invoice No.: 28745 $2,184.00 Invoice
                                                           No.: 28746 $2,184.00 Invoice No.: 28761
                                                           $2,184.00 Invoice No.: 28762 $2,184.00
                                                           Invoice No.: 28781 $2,184.00 Invoice No.:
                                                           28782 $2,184.00
                                                              Invoice No.: 28745                2,184.00          2420-000                                                 835,764.05
                                                              Invoice No.: 28746                2,184.00          2420-000                                                 835,764.05
                                                              Invoice No.: 28761                2,184.00          2420-000                                                 835,764.05
                                                              Invoice No.: 28762                2,184.00          2420-000                                                 835,764.05
                                                              Invoice No.: 28781                2,184.00          2420-000                                                 835,764.05
                                                              Invoice No.: 28782                2,184.00          2420-000                                                 835,764.05
09/05/12                  Comerica Bank                    Close Account No.: 1852367083 ($9,805.20                                   275,822.14                         1,111,586.19
                                                           A/R $89,905.84 & $176,111.10 Turnover of
                                                           Funds Pursuant to Agreement (Docket No.:
                                                           99))
               {1}                                            Turnover of Funds re:            89,905.84          1121-000                                               1,111,586.19
                                                              Faurecia Mexico
                                                              Pursuant to Agreement
                                                              (Docket No.: 99)
               {1}                                            Turnover of Post-Petition         9,805.20          1121-000                                               1,111,586.19
                                                              Receivable: Autopartes
                                                              Walker S.A. de C.V.
               {1}                                            Turnover of $176,111.10          76,111.10          1121-000                                               1,111,586.19
                                                              to complete PO re:
                                                              Faurecia Exhaust
                                                              Systems, Inc. Pursuant
                                                              to Agreement (Docket
                                                              No.: 99) Note:

                                                                                                       Subtotals :                  $293,097.65             $68,164.48
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                        Doc 687           Filed 12/04/20                 Page 51 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                      Form 2                                                                                      Page: 6

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                            Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                       Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                           3                                         4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
                                                                 $100,000.00 to be held
                                                                 in Escrow in Asset No.:
                                                                 11 less $84,495.16
                                                                 Damages
              {11}                                               Turnover of $100,000.00         100,000.00      1129-000                                               1,111,586.19
                                                                 to complete PO Pursuant
                                                                 to Agreement (Docket
                                                                 No.: 99) Note:
                                                                 $100,000.00 to be held
                                                                 in Escrow in Asset No.:
                                                                 11
09/05/12                  Comerica Bank                       Close Account No.: 1852256757 $16,615.63 &                              47,550.30                         1,159,136.49
                                                              Turnover of Fnds Pursuant to Agreement
                                                              $30,934.67 (Docket No.: 99)
               {1}                                               Turnover of Funds re:            30,934.67      1121-000                                               1,159,136.49
                                                                 Faurecia Mexico
                                                                 Pursuant to Agreement
                                                                 (Docket No.: 99)
              {10}                                               Close Account No.:                1,001.62      1129-000                                               1,159,136.49
                                                                 1852256757
               {1}                                               Turnover of A/R Funds            10,064.00      1121-000                                               1,159,136.49
                                                                 re: G E Aircraft Engines
               {1}                                               Turnover of A/R Funds              698.14       1121-000                                               1,159,136.49
                                                                 re: Donaldson Co., Inc.
               {1}                                               Turnover of A/R Funds             3,306.42      1121-000                                               1,159,136.49
                                                                 re: Eberspacher North
                                                                 America
               {1}                                               Turnover of A/R Funds              304.00       1121-000                                               1,159,136.49
                                                                 re: Alleghney Tool
               {1}                                               Turnover of A/R Funds             1,324.83      1121-000                                               1,159,136.49
                                                                 re: Sypris Technologies
              {10}                                               Less: BAMS 08/03/12                 -83.38      1129-000                                               1,159,136.49
09/05/12       {8}        Coamerica Bank                      Close Account No.: 1852184454                      1129-000              3,682.30                         1,162,818.79
09/06/12       {9}        Comerica Bank                       Close Account No.: 1852097326                      1129-000             28,724.57                         1,191,543.36
09/06/12      {32}        McDonald Hopkins LLC                Turnover of Balance of Retainer                    1229-000              5,432.04                         1,196,975.40
09/06/12      {33}        Exhaust Productions, Inc.           Accounts Receivable - Invoice No.: PL35489         1221-000              3,384.00                         1,200,359.40
09/06/12                  Jhejiang Jingu Company Limited      Good Faith Deposit re: Sale of Truck Line &                          4,999,985.00                         6,200,344.40
                                                              Tooling Assets [Docket No.: 203]
              {29}           Jhejiang Jingu Company Limited      Good Faith Deposit re:      5,000,000.00        1129-000                                               6,200,344.40

                                                                                                       Subtotals :               $5,088,758.21                 $0.00
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                     Doc 687             Filed 12/04/20                 Page 52 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                    Form 2                                                                                        Page: 7

                                                    Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                            Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                       Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                            3                                          4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                   $       Account Balance
                                                                 Sale of Truck Line &
                                                                 Tooling Assets [Docket
                                                                 No.: 203]
                             Jhejiang Jingu Company Limited      Bank Fee                           -15.00       2990-000                                                6,200,344.40
09/06/12      134         Mikolajewski & Associates Inc.      Invoice Nos.: 28799 & 28800 Security Services 2420-000                                         4,560.00    6,195,784.40
                                                              for Period of 9/02/12 - 9/08/12 Invoice No.:
                                                              28800 $2,280.00 Invoice No.: 28799
                                                              $2,280.00
09/06/12      135         Bernard T. Bush                     Services rendered for Period of August 27,         2690-000                                    1,148.35    6,194,636.05
                                                              2012 - August 30, 2012 35 Hours @ $32.81
                                                              per hour
09/06/12      136         Tierney, Mike                       Services rendered for Period of August 27,         2690-000                                       772.56   6,193,863.49
                                                              2012 - August 30, 2012 24 Hours @ $32.19
                                                              per hour
09/06/12      137         Rick Paridaen                       Services rendered for Period of August 27,         2690-000                                    1,684.38    6,192,179.11
                                                              2012 - August 31, 2012
09/06/12      138         Earl Armentrout                     Services rendered for Period of August 27,         2690-000                                       277.20   6,191,901.91
                                                              2012 - August 30, 2012
09/06/12      139         Whitaker, Dennis                    Services rendered for Period of August 27,         2690-000                                    1,550.00    6,190,351.91
                                                              2012 - August 31, 2012 31 Hours @ $50.00
                                                              per Hour
09/06/12      140         Ray Baer                            Services rendered for Period of August 27,         2690-000                                       886.00   6,189,465.91
                                                              2012 - August 31, 2012 40 Hours @ $22.15
                                                              per Hour
09/06/12      141         Dave A. Brodzinski                  Services rendered for Period of August 27,         2690-000                                       968.80   6,188,497.11
                                                              2012 - August 31, 2012 40 Hours @ $24.22
                                                              per Hour
09/06/12      142         Cecil Eastman                       Services rendered for Period of August 27,         2690-000                                       468.75   6,188,028.36
                                                              2012 - August 28, 2012 15 Hours @ $31.25
                                                              per Hour
09/06/12      143         Michael Walker                      Reimbursement of Expenses for Period of            3732-000                                       585.59   6,187,442.77
                                                              07/20/12 - 08/23/12
09/06/12       {1}        Faurecia Exhaust Systems, Inc       Accounts Receivable - Payment Stopped -            1121-000             -5,270.00                          6,182,172.77
                                                              (See Deposit No.: 16-1 on 08/28/12)
09/10/12      144         Mikolajewski & Associates Inc.      Invoice Nos.: 28819 & 28820 Security Services 2420-000                                         4,368.00    6,177,804.77
                                                              for Period of 9/09/12 - 9/15/12 Invoice No.:
                                                              28819 $2,184.00 Invoice No.: 28820
                                                              $2,184.00
09/10/12      145         Michael Walker                      Services Provided for Period Ending 9/07/12        3731-000                                    3,365.00    6,174,439.77

                                                                                                       Subtotals :                   $-5,270.00            $20,634.63
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                  Doc 687            Filed 12/04/20                 Page 53 of 114

                                                                                                                                                                             Exhibit 9


                                                                                Form 2                                                                                       Page: 8

                                                     Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                     Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                        Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                   Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                          Separate Bond: N/A

   1            2                           3                                    4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                T-Code              $                   $       Account Balance
09/10/12      146        Eastman, Cecil                   Services rendered for Period of September 04,     2690-000                                       546.88   6,173,892.89
                                                          2012 - September 05, 2012 17.50 Hours @
                                                          $31.25 per Hour
09/10/12      147        Rick Paridaen                    Services rendered for Period of September 04,     2690-000                                    1,531.25    6,172,361.64
                                                          2012 - September 07, 2012 35 Hours @
                                                          $43.75 per Hour
09/10/12      148        Brodzinski, Dave A.              Services rendered for Period of September 04,     2690-000                                       871.92   6,171,489.72
                                                          2012 - September 07, 2012 36 Hours @
                                                          $24.22 per Hour
09/10/12      149        Bernard T. Bush                  Services rendered for Period of September 05,     2690-000                                       885.87   6,170,603.85
                                                          2012 - September 07, 2012 27 Hours @
                                                          $32.81 per Hour
09/10/12      150        Ray Baer                         Services rendered for Period of September 04,     2690-000                                       797.40   6,169,806.45
                                                          2012 - September 07, 2012 36 Hours @
                                                          $22.15 per Hour
09/10/12      151        Earl Armentrout                  Services rendered for Period of September 04,     2690-000                                       297.00   6,169,509.45
                                                          2012 - September 07, 2012 15 Hours @
                                                          $19.80 per Hour
09/10/12      152        Mike Tierney                     Services rendered for Period of September 04,     2690-000                                       740.37   6,168,769.08
                                                          2012 - September 06, 2012 23 Hours @
                                                          $32.19 per Hour
09/10/12      153        Dennis Whitaker                  Services rendered for Period of September 04,     2690-000                                    1,825.00    6,166,944.08
                                                          2012 - September 07, 2012 36.50 Hours @
                                                          $50.00 per Hour
09/12/12      154        Michael Walker                   Voided - Check Not Printed                        3732-004                                    2,622.20    6,164,321.88
                                                          Voided on 09/13/12
09/13/12      154        Michael Walker                   Voided - Check Not Printed                        3732-004                                   -2,622.20    6,166,944.08
                                                          Voided: check issued on 09/12/12
09/13/12      155        Michael Walker                   Reimbursement of Expenses for 9/12/12             3732-000                                    2,969.60    6,163,974.48
                                                          Rekey (8) Locks $247.40 Storage Charges
                                                          $2,550.00 Duty, Consumption Entry, Bonds
                                                          $172.20
09/13/12      156        Verizon Wireless                 Account No.: 380462895-00002 for Period of        2990-000                                       919.59   6,163,054.89
                                                          July 19, 2012 - August 9, 2012
09/14/12      {33}       Faurecia Emissions Control       Accounts Receivable - Invoice No.: PL35490        1221-000              4,800.00                          6,167,854.89
                         Technolo
09/17/12      {33}       Exhaust Productions, Inc.        Accounts Receivable - Invoice No.: PL35491        1221-000              3,384.00                          6,171,238.89
09/17/12      157        Mikolajewski & Associates Inc.   Invoice Nos.: 28838 & 28837 Security Services 2420-000                                        4,368.00    6,166,870.89
                                                          for Period of 09/16/12 - 09/22/12 Invoice No.:

                                                                                                  Subtotals :                    $8,184.00            $15,752.88
{} Asset reference(s)                                                                                                                     Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                      Doc 687          Filed 12/04/20                   Page 54 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                   Form 2                                                                                         Page: 9

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                            Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                       Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                             3                                     4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                Description of Transaction                  T-Code              $                   $       Account Balance
                                                             28838 $2,184.00 Invoice No.: 28837
                                                             $2,184.00
09/18/12       {7}        Michael A. Walker                  Sale of 2008 Ford LGT Pick-up Vin No.:              1129-000              3,000.00                          6,169,870.89
                                                             1FTRF122X8KE94443 [Docket No.: 211]
09/18/12      158         Canam PO LP                        Rent for Period of August & September 2012 /        2410-000                                  109,861.87    6,060,009.02
                                                             Summer Property Taxes for 2012 Rent for
                                                             Period of August $45,992.00 Rent for Period
                                                             of September 2012 $45,992.00 Summer
                                                             Property Taxes for 2012 $17,877.87
09/19/12      159         Michael Walker                     Services Provided for Period Ending 9/14/12         3731-000                                    3,365.00    6,056,644.02
09/19/12      160         David A. Brodzinski                Services Rendered for Period of September           2690-000                                    1,089.90    6,055,554.12
                                                             10, 2012 - September 14, 2012 45 Hours @
                                                             $24.22 per Hour
09/19/12      161         Ray Baer                           Services Rendered for Period of September           2690-000                                       996.75   6,054,557.37
                                                             10, 2012 - September 14, 2012 45 Hours @
                                                             $22.15 per Hour
09/19/12      162         Earl Armentrout                    Services Rendered for Period of September           2690-000                                       445.50   6,054,111.87
                                                             10, 2012 - September 14, 2012 22.50 Hours
                                                             @ $19.80 per Hour
09/19/12      163         Mike Tierney                       Services Rendered for Period of September           2690-000                                       836.94   6,053,274.93
                                                             10, 2012 - September 14, 2012 26 Hours @
                                                             $32.19 per Hour
09/19/12      164         Dennis Whitaker                    Services Rendered for Period of September           2690-000                                       475.00   6,052,799.93
                                                             10, 2012 - September 14, 2012 9.50 Hours @
                                                             $50.00 per Hour
09/19/12      165         Bernard T. Bush                    Services Rendered for Period of September           2690-000                                    1,476.45    6,051,323.48
                                                             10, 2012 - September 14, 2012 45 Hours @
                                                             $32.81 per Hour
09/19/12      166         Rick Paridaen                      Services rendered for Period of September 04,       2690-000                                    1,968.75    6,049,354.73
                                                             2012 - September 07, 2012 45 Hours @
                                                             $43.75 per Hour
09/20/12      167         Michael Walker                     Reimbursement of Expenses for Period of             3732-000                                    1,517.26    6,047,837.47
                                                             8/22/12 - 9/19/12
09/21/12      {33}        HLI Operating Company, Inc.        Accounts Receivable                                 1221-000             30,000.00                          6,077,837.47
09/24/12      {33}        Exhaust Productions, Inc.          Accounts Receivable - Invoice No.: PL35495          1221-000              2,677.12                          6,080,514.59
09/25/12      {29}        Eberspaecher North America, Inc.   Sale of In Process Equipment (De Minimis            1129-000             25,000.00                          6,105,514.59
                                                             Asset) [Docket No.: 145]
09/26/12      168         Michael Walker                     Services Provided for Period Ending 09/21/12        3731-000                                    3,365.00    6,102,149.59
09/26/12      169         Dave A. Brodzinski                 Services rendered for Period of September 17,       2690-004                                       871.92   6,101,277.67

                                                                                                      Subtotals :                    $60,677.12        $126,270.34
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                  Doc 687             Filed 12/04/20                  Page 55 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 10

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                          Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                     Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                          3                                      4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                  T-Code              $                   $       Account Balance
                                                          2012 - September 21, 2012 Reversal Check
                                                          Voided - Not Printed
                                                          Voided on 09/26/12
09/26/12      169        Dave A. Brodzinski               Services rendered for Period of September 17,       2690-004                                       -871.92   6,102,149.59
                                                          2012 - September 21, 2012 Reversal Check
                                                          Voided - Not Printed
                                                          Voided: check issued on 09/26/12
09/26/12      170        Ray Baer                         Services rendered for Period of September 17,       2690-000                                       952.45    6,101,197.14
                                                          2012 - September 21, 2012 43 Hours @
                                                          $22.15 per Hour
09/26/12      171        David A. Brodzinski              Services rendered for Period of September 17,       2690-000                                    1,089.90     6,100,107.24
                                                          2012 - September 21, 2012 45 Hours @
                                                          $24.22 per Hour
09/26/12      172        Earl Armentrout                  Services rendered for Period of September 17,       2690-000                                       445.50    6,099,661.74
                                                          2012 - September 21, 2012 22.50 Hours @
                                                          $19.80 per Hour
09/26/12      173        Dennis Whitaker                  Services rendered for Period of September 17,       2690-000                                    1,975.00     6,097,686.74
                                                          2012 - September 21, 2012 39.50 Hours @
                                                          $50.00 per Hour
09/26/12      174        Mike Tierney                     Services Rendered for Period of September           2690-000                                    1,351.98     6,096,334.76
                                                          17, 2012 - September 21, 2012 42 Hours @
                                                          $32.19 per Hour
09/26/12      175        Bernard T. Bush                  Services rendered for Period of September 17,       2690-000                                    1,476.45     6,094,858.31
                                                          2012 - September 21, 2012 45 Hours @
                                                          $32.81 per Hour
09/26/12      176        Rick Paridaen                    Services rendered for Period of September 17,       2690-000                                    1,903.13     6,092,955.18
                                                          2012 - September 21, 2012 43.50 Hours @
                                                          $43.75 per Hour
09/28/12      {33}       Faurecia Emissions Control       Accounts Receivable - Invoice No.: PL35493 &        1221-000              3,920.00                           6,096,875.18
                         Technolo                         PL35494
10/01/12      {33}       Kohler Power Systems             Accounts Receivable - Invoice No.: 9276101          1221-000             14,819.13                           6,111,694.31
10/02/12      {14}       Aon Risk Services Inc            Return Overpayment on Pre-Petition Insurance 1129-000                        75.00                           6,111,769.31
                                                          Remittance
10/02/12      177        Mikolajewski & Associates Inc.   Invoice Nos.: 28860 & 28861 Security Services 2420-000                                          4,368.00     6,107,401.31
                                                          for Period of 9/23/12 - 9/29/12 Invoice No.:
                                                          28860 $2,184.00 Invoice No.: 28861
                                                          $2,184.00
10/02/12      178        Mikolajewski & Associates Inc.   Invoice Nos.: 28879 & 28880 Security Services 2420-000                                          4,368.00     6,103,033.31
                                                          for Period of 9/30/12 - 10/06/12 Invoice No.:


                                                                                                    Subtotals :                   $18,814.13            $17,058.49
{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS               Doc 687            Filed 12/04/20                    Page 56 of 114

                                                                                                                                                                              Exhibit 9


                                                                              Form 2                                                                                          Page: 11

                                                   Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                     Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                        Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                   Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                            3                                  4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                   T-Code              $                   $       Account Balance
                                                        28879 $2,184.00 Invoice No.: 28880 $2,184.00
10/04/12      {33}        Allegheny Coupling Company    Accounts Receivable - Invoice No.: 9276103           1221-000             18,905.28                          6,121,938.59
10/04/12      179         Michael Walker                Reimbursement of Expense re: Menards                 3732-000                                       465.02   6,121,473.57
                                                        Lumber 10/03/12
10/04/12      180         Rick Paridaen                 Services rendered for Period of September 24,        2690-000                                    2,034.38    6,119,439.19
                                                        2012 - September 28, 2012 46.50 Hours @
                                                        $43.75 per Hour
10/04/12      181         Bernard T. Bush               Services rendered for Period of September 24,        2690-000                                    1,476.45    6,117,962.74
                                                        2012 - September 28, 2012 45 Hours @
                                                        $32.81 per Hour
10/04/12      182         David A. Brodzinski           Services rendered for Period of September 24,        2690-000                                    1,089.90    6,116,872.84
                                                        2012 - September 28, 2012 45 Hours @
                                                        $24.22 per Hour
10/04/12      183         Ray Baer                      Services rendered for Period of September 24,        2690-000                                       974.60   6,115,898.24
                                                        2012 - September 28, 2012 44 Hours @
                                                        $22.15 per Hour
10/04/12      184         Dennis Whitaker               Services rendered for Period of September 24,        2690-000                                    1,825.00    6,114,073.24
                                                        2012 - September 28, 2012 36.50 Hours @
                                                        $50.00 per Hour
10/04/12      185         Earl Armentrout               Services rendered for Period of September 24,        2690-000                                       485.10   6,113,588.14
                                                        2012 - September 28, 2012 24.50 Hours @
                                                        $19.80 per Hour
10/04/12      186         Mike Tierney                  Services rendered for Period of September 24,        2690-000                                       386.28   6,113,201.86
                                                        2012 - September 28, 2012 12 Hours @
                                                        $32.19 per Hour
10/04/12      187         Michael Walker                Services rendered for Period of September 24,        3731-000                                    3,365.00    6,109,836.86
                                                        2012 - September 28, 2012
10/04/12      188         Michael Walker                Reimbursement of Expenses re: True's                 3732-000                                       270.00   6,109,566.86
                                                        Welding & Fabrication for Cumins
10/05/12       {1}        Land Services USA Inc.        Void - Accounts Receivable - Entered in Error -      1280-000             97,659.61                          6,207,226.47
                                                        See Bionol Clearfield LLC
10/05/12      189         Days Corporation              Invoice No.: JC7310P Return Machinery from           2420-004                                    9,529.50    6,197,696.97
                                                        Elkhart to Niles, MI - Stop Payment Placed
                                                        Check No.: 201 Re-issued
                                                        Voided on 10/16/12
10/05/12       {1}        Land Services USA Inc.        Void - Accounts Receivable - Entered in              1280-000            -97,659.61                          6,100,037.36
                                                        Error/See Bionol Clearfield
10/09/12      190         Canam PO LP                   Rent for Period of October 2012 / Escrow             2410-000                                   52,380.73    6,047,656.63
                                                        Property Tax for September/October 2012

                                                                                                  Subtotals :                    $18,905.28            $74,281.96
{} Asset reference(s)                                                                                                                      Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                      Doc 687             Filed 12/04/20                  Page 57 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                      Form 2                                                                                       Page: 12

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                             Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                        Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                           3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                 T-Code              $                   $       Account Balance
                                                              Rent for Period of October $45,992.00
                                                              Property Tax Escrow Balance for September
                                                              2012 $322.08 Property Tax Escrow for
                                                              October 2012 $6,066.65
10/10/12      {33}        Markland Industries, Inc.           Accounts Receivable - Invoice No.: 147432           1221-000              3,040.00                          6,050,696.63
10/10/12      {33}        Exhaust Productions, Inc.           Accounts Receivable - Invoice No.:                  1221-000              2,784.60                          6,053,481.23
                                                              1010201201
10/10/12       {1}        AAM do Brasil Ltda a/k/a American   Partial Payment Pursuant to Settlement              1121-000             27,656.80                          6,081,138.03
                          A                                   Agreement Settlement Amount = $51,574.43
                                                              (Purchase Order $28,096.80, Unpaid payables
                                                              $21,677.63 & labor & packaging $1,800.00)
10/10/12      191         Michael Walker                      Services rendered for Period of October 1,          3731-000                                    3,365.00    6,077,773.03
                                                              2012 - October 5, 2012
10/10/12      192         Earl Armentrout                     Services rendered for Period of October 1,          2690-000                                       752.40   6,077,020.63
                                                              2012 - October 5, 2012 38 Hours @ $19.80
                                                              per Hour
10/10/12      193         Mike Tierney                        Services rendered for Period of October 1,          2690-000                                    1,078.37    6,075,942.26
                                                              2012 - October 5, 2012 33.50 Hours @ $32.19
                                                              per Hour
10/10/12      194         David A. Brodzinski                 Services rendered for Period of October 1,          2690-000                                    1,089.90    6,074,852.36
                                                              2012 - October 5, 2012 45 Hours @ $24.22
                                                              per Hour
10/10/12      195         Ray Baer                            Services rendered for Period of October 1,          2690-000                                       299.03   6,074,553.33
                                                              2012 - October 5, 2012 13.5 Hours @ $22.15
                                                              per Hour
10/10/12      196         Bernard T. Bush                     Services rendered for Period of October 1,          2690-000                                    1,476.45    6,073,076.88
                                                              2012 - October 5, 2012 45 Hours @ $32.81
                                                              per Hour
10/10/12      197         Mikolajewski & Associates Inc.      Invoice Nos.: 28896 & 28897 Security Services                                                   4,368.00    6,068,708.88
                                                              for Period of 10/07/12 - 10/13/12
                                                                 Invoice No.: 28896                2,184.00       2420-000                                                6,068,708.88
                                                                 Invoice No.: 28897                2,184.00       2420-000                                                6,068,708.88
10/10/12      198         AFCO                                Account No.: 30-10-110363-7 October                 2420-000                                   11,310.48    6,057,398.40
                                                              Installment
10/12/12      199         International Sureties LTD.         Bond No.: 016052119 for Period 09/06/12 -           2300-000                                   14,000.00    6,043,398.40
                                                              09/06/13
10/12/12      200         BMC Group Inc.                      Invoice No.: 307-20121009 SmartRoom                 3991-000                                    8,500.00    6,034,898.40
                                                              Services and Claims Management Database
                                                              Set-Up

                                                                                                       Subtotals :                    $33,481.40            $46,239.63
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                     Doc 687             Filed 12/04/20                  Page 58 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                        Page: 13

                                                        Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                             Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                        Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                            3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
10/15/12      {33}        HLI Operating Company Inc.          Accounts Receivable                                 1221-000             19,735.00                          6,054,633.40
10/16/12      {33}        Markland Manufacturing              Accounts Receivable - Invoice No.:                  1221-000              8,992.32                          6,063,625.72
                                                              MM-1016201201
10/16/12      189         Days Corporation                    Invoice No.: JC7310P Return Machinery from          2420-004                                   -9,529.50    6,073,155.22
                                                              Elkhart to Niles, MI - Stop Payment Placed
                                                              Check No.: 201 Re-issued
                                                              Voided: check issued on 10/05/12
10/16/12      201         Days Corporation                    Invoice No.: JC7310P Return Machinery from          2420-000                                    9,529.50    6,063,625.72
                                                              Elkhart to Niles, MI - Stop Payment Placed
                                                              Reversal Check No.: 201 Re-issued
10/17/12      {33}        Exhaust Productions, Inc.           Accounts Receivable - Invoice No.:                  1221-000              2,784.60                          6,066,410.32
                                                              EPI-1016201201
10/17/12       {1}        AAM do Brasil Ltda a/k/a American   Partial Payment Pursuant to Settlement              1121-000             10,776.14                          6,077,186.46
                          A                                   Agreement Settlement Amount = $51,574.43
                                                              (Purchase Order $28,096.80, Unpaid payables
                                                              $21,677.63 & labor & packaging $1,800.00)
10/18/12       {1}        Aleris Rolled Products, Inc         Accounts Receivable - Invoice No.: H37437           1121-000              5,442.02                          6,082,628.48
                                                              [Demand Letter]
10/18/12       {1}        AAM do Brasil Ltda a/k/a American   Partial Payment Pursuant to Settlement              1121-000              1,736.52                          6,084,365.00
                          A                                   Agreement Settlement Amount = $51,574.43
                                                              (Purchase Order $28,096.80, Unpaid payables
                                                              $21,677.63 & labor & packaging $1,800.00)
10/18/12      202         Rick Paridaen                       Services rendered for Period of October 1,          2690-000                                    2,100.00    6,082,265.00
                                                              2012 - October 5, 2012 48.00 Hours @ $43.75
                                                              per Hour
10/18/12      203         Midwest Energy Cooperative          Electric Service for Period of August 22, 2012 -    2420-000                                   10,325.54    6,071,939.46
                                                              September 24, 2012 Service for the following
                                                              accounts: Account No.: 1548001 $5,719.13
                                                              Account No.: 77406 $158.94 Account No.:
                                                              2757400 $4,447.47
10/19/12      204         Earl Armentrout                     Services rendered for Period of October 08,         2690-000                                       584.10   6,071,355.36
                                                              2012 - October 12, 2012 29.5 Hours @ $19.80
                                                              per Hour
10/19/12      205         Bernard T. Bush                     Services rendered for Period of October 08,         2690-000                                    1,033.52    6,070,321.84
                                                              2012 - October 12, 2012 31.5 Hours @ $32.81
                                                              per Hour
10/19/12      206         Mike Tierney                        Services Rendered for Period of October 08,         2690-000                                    1,191.03    6,069,130.81
                                                              2012 - October 12, 2012 37 Hours @ $32.19
                                                              per Hour


                                                                                                        Subtotals :                   $49,466.60            $15,234.19
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS               Doc 687            Filed 12/04/20                  Page 59 of 114

                                                                                                                                                                           Exhibit 9


                                                                             Form 2                                                                                        Page: 14

                                                 Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                   Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                      Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                 Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                      Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                        Separate Bond: N/A

   1            2                          3                                  4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From           Description of Transaction                 T-Code              $                   $       Account Balance
10/19/12      207        Ray Baer                      Services rendered for Period of October 08,        2690-000                                       199.35   6,068,931.46
                                                       2012 - October 12, 2012 9 Hours @ $22.15
                                                       per Hour
10/19/12      208        David A. Brodzinski           Services rendered for Period of October 08,        2690-000                                       217.98   6,068,713.48
                                                       2012 - October 12, 2012 9 Hours @ $24.22
                                                       per Hour
10/19/12      209        Rick Paridaen                 Services rendered for Period of October 08,        2690-000                                    1,903.13    6,066,810.35
                                                       2012 - October 12, 2012 43.50 Hours @
                                                       $43.75 per Hour
10/19/12      210        Michael Walker                Services rendered for Period of October 8,         3731-000                                    3,365.00    6,063,445.35
                                                       2012 - October 12, 2012
10/22/12      211        SEMCO Energy                  Payment as of July 1, 2012 & adequate              2990-004                                    6,159.35    6,057,286.00
                                                       insurance deposit - Check Voided - Not Printed
                                                       Account No.: 161147501 past due amount as
                                                       of 07/01/12 $47.22 adequate insurance
                                                       $180.00 Account No.: 161149502 past due
                                                       amount as of 07/01 $109.95 adequate
                                                       insurance $
                                                       Voided on 10/23/12
10/23/12      211        SEMCO Energy                  Payment as of July 1, 2012 & adequate              2990-004                                   -6,159.35    6,063,445.35
                                                       insurance deposit - Check Voided - Not Printed
                                                       Account No.: 161147501 past due amount as
                                                       of 07/01/12 $47.22 adequate insurance
                                                       $180.00 Account No.: 161149502 past due
                                                       amount as of 07/01 $109.95 adequate
                                                       insurance $
                                                       Voided: check issued on 10/22/12
10/23/12      212        Rick Paridaen                 Services rendered for Period of October 15,        2690-000                                    2,012.50    6,061,432.85
                                                       2012 - October 19, 2012 46.00 Hours @
                                                       $43.75 per Hour
10/23/12      213        Earl Armentrout               Services rendered for Period of October 15,        2690-000                                       747.45   6,060,685.40
                                                       2012 - October 19, 2012 37.75 Hours @
                                                       $19.80 per Hour
10/23/12      214        Bernard T. Bush               Services rendered for Period of October 15,        2690-000                                    1,476.45    6,059,208.95
                                                       2012 - October 19, 2012 45 Hours @ $32.81
                                                       per Hour
10/23/12      215        Mark Wortham                  Services rendered for Period of October 15,        2690-000                                       820.00   6,058,388.95
                                                       2012 - October 19, 2012 20 Hours @ $41.00
                                                       per Hour
10/23/12      216        Michael Walker                Services rendered for Period of October 15,        3731-000                                    3,365.00    6,055,023.95

                                                                                               Subtotals :                         $0.00            $14,106.86
{} Asset reference(s)                                                                                                                   Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                    Doc 687             Filed 12/04/20                 Page 60 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                  Form 2                                                                                         Page: 15

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                          Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                     Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                             3                                    4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                           Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From               Description of Transaction                 T-Code              $                    $       Account Balance
                                                            2012 - October 19, 2012
10/23/12      217         Mikolajewski & Associates Inc.    Invoice Nos.: 28941 & 28942 Security Services 2420-000                                         3,224.00    6,051,799.95
                                                            for Period of 10/21/12 - 10/27/12 Invoice No.:
                                                            28941 $2,184.00 Invoice No.: 28942
                                                            $1,040.00
10/23/12      218         SEMCO Energy                      Payment as of July 1, 2012 & Adequate              2990-000                                    6,014.35    6,045,785.60
                                                            Insurance Deposit Account No.: 161147501
                                                            past due amount as of 07/01/12 $47.22
                                                            adequate insurance $180.00 Account No.:
                                                            161149502 past due amount as of 07/01
                                                            $109.95 adequate insurance $3,510.00
                                                            Account No.: 161818
10/25/12      {12}        1st Source Bank                   Turnover of Funds re: Account No.: 1316330         1129-000              1,724.93                          6,047,510.53
10/25/12      {12}        Source Bank                       Turnover of Funds re: Account No.: 1316330         1129-000                    3.00                        6,047,513.53
10/26/12      {33}        Exhaust Productions, Inc.         Accounts Receivable - Invoice No.:                 1221-000              2,424.54                          6,049,938.07
                                                            EP-1023201201
10/30/12       {1}        Walerko Tool & Engineering Corp   Accounts Receivable - Invoice Nos.: H37568         1121-000              2,220.00                          6,052,158.07
                                                            $1,320.00 & H37569 $900.00 Invoice No.:
                                                            H37568 $1,320.00 Invoice No.: H37569
                                                            $900.00
10/30/12      {33}        Exhaust Productions, Inc.         Accounts Receivable - Invoice No.:                 1221-000              2,774.40                          6,054,932.47
                                                            EP-1025201201
10/30/12      219         Mowtown Lawn & Landscape          Clean up/Lawn Care & Sprinkler System              2690-000                                    1,120.00    6,053,812.47
                                                            Winterizations
10/30/12      220         Mikolajewski & Associates Inc.    Invoice Nos.: 28919 & 28920 Security Services 2420-000                                         4,368.00    6,049,444.47
                                                            for Period of 10/14/12 - 10/20/12 Invoice No.:
                                                            28919 $2,184.00 Invoice No.: 28920
                                                            $2,184.00
11/01/12      {32}        State of Michigan                 Fee provided re: Joseph A. Mitchell                1229-000                    6.00                        6,049,450.47
                                                            Garnishment
11/02/12      {33}        Marson International, LLC         Accounts Receivable - Invoice No.:                 1221-000                 338.80                         6,049,789.27
                                                            MI11022012-1
11/02/12      221         Michael Walker                    Services rendered for Period of October 22,        3731-000                                    3,365.00    6,046,424.27
                                                            2012 - October 26, 2012
11/02/12      222         Earl Armentrout                   Services rendered for Period of October 22,        2690-000                                       747.45   6,045,676.82
                                                            2012 - October 26, 2012 37.75 Hours @
                                                            $19.80 per Hour
11/02/12      223         Mark Wortham                      Voided - Check Not Printed                         2690-004                                       820.00   6,044,856.82
                                                            Voided on 11/02/12

                                                                                                    Subtotals :                     $9,491.67            $19,658.80
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                  Doc 687              Filed 12/04/20                  Page 61 of 114

                                                                                                                                                                                Exhibit 9


                                                                                 Form 2                                                                                         Page: 16

                                                     Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                      Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                          3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                   T-Code              $                   $       Account Balance
11/02/12      223        Mark Wortham                     Voided - Check Not Printed                           2690-004                                       -820.00   6,045,676.82
                                                          Voided: check issued on 11/02/12
11/02/12      224        Rick Paridaen                    Services rendered for Period of October 22,          2690-000                                    2,056.25     6,043,620.57
                                                          2012 - October 26, 2012 47.00 Hours @
                                                          $43.75 per Hour
11/02/12      225        Bernard T. Bush                  Services rendered for Period of October 22,          2690-000                                    1,476.45     6,042,144.12
                                                          2012 - October 26, 2012 45 Hours @ $32.81
                                                          per Hour
11/02/12      226        Mark Wortham                     Services rendered for Period of October 22,          2690-000                                       656.00    6,041,488.12
                                                          2012 - October 26, 2012 16 Hours @ $41.00
                                                          per Hour
11/02/12      227        Mikolajewski & Associates Inc.   Invoice No.: 28964 Security Services for Period 2420-000                                         2,184.00     6,039,304.12
                                                          of 10/28/12 - 11/03/12 Invoice No.: 28964
                                                          $2,184.00
11/05/12      {33}       Exhaust Productions, Inc.        Accounts Receivable - Invoice No.:                   1221-000              2,774.40                           6,042,078.52
                                                          EP-1102201201
11/06/12      228        Midwest Energy Cooperative       Electric Service for Period of September 24,         2420-000                                    7,292.41     6,034,786.11
                                                          2012 - October 23, 2012 Service for the
                                                          following accounts: Account No.: 1548001
                                                          $4,763.38 Account No.: 77406 $79.56
                                                          Account No.: 2757400 $2,449.47
11/06/12      229        Mikolajewski & Associates Inc.   Invoice No.: 28986 Security Services for Period 2420-000                                         2,197.00     6,032,589.11
                                                          of 11/04/12 - 11/10/12 Invoice No.: 28986
                                                          $2,197.00
11/06/12      230        Midwest Energy Cooperative       Electric Service for Period of July 24, 2012 -       2420-000                                   11,946.19     6,020,642.92
                                                          August 22, 2012 Service for the following
                                                          accounts: Account No.: 1548001 $6,283.27 &
                                                          $60.46 Penalty Account No.: 77406 $220.60 &
                                                          $3.32 Penalty Account No.: 2757400
                                                          $5,306.31 & $72.23 Penalty
11/06/12      231        Midwest Energy Cooperative       Penalty for Period(s) 8/22/12 - 09/24/12 &                                                          443.07    6,020,199.85
                                                          09/24/12 - 10/23/12
                                                             Penalty Account No.:                 126.04       2420-000                                                 6,020,199.85
                                                             1548001 08/22/12 -
                                                             09/24/12
                                                             Penalty Account No.:                 113.63       2420-000                                                 6,020,199.85
                                                             1548001 09/24/12 -
                                                             10/23/12
                                                             Penalty Account No.:                 106.80       2420-000                                                 6,020,199.85


                                                                                                     Subtotals :                    $2,774.40            $27,431.37
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                       Doc 687            Filed 12/04/20                 Page 62 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                        Form 2                                                                                    Page: 17

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                            Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                       Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                           3                                           4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                T-Code              $                   $       Account Balance
                                                                  77406 08/22/12 -
                                                                  09/24/12
                                                                  Penalty Account No.:                 3.18      2420-000                                                6,020,199.85
                                                                  77406 09/24/12 -
                                                                  10/23/12
                                                                  Penalty Account No.:                 4.47      2420-000                                                6,020,199.85
                                                                  2757400 08/22/12 -
                                                                  09/24/12
                                                                  Penalty Account No.:               88.95       2420-000                                                6,020,199.85
                                                                  2757400 09/24/12 -
                                                                  10/23/12
11/06/12      232         Michael Walker                       Reimbursement of Expenses for Period of           3732-000                                    2,100.69    6,018,099.16
                                                               09/06/12 - 11/02/12
11/06/12      233         Earl Armentrout                      Services rendered for Period of October 29,       2690-000                                       598.95   6,017,500.21
                                                               2012 - November 02, 2012 30.25 Hours @
                                                               $19.80 per Hour
11/06/12      234         Bernard T. Bush                      Services rendered for Period of October 29,       2690-000                                    1,394.43    6,016,105.78
                                                               2012 - November 02, 2012 42.5 Hours @
                                                               $32.81 per Hour
11/06/12      235         Michael Walker                       Services rendered for Period of October 29,       3731-000                                    3,365.00    6,012,740.78
                                                               2012 - November 02, 2012
11/08/12      {22}        Canammex Exhaust USA                 Payment on Account                                1129-000             48,000.00                          6,060,740.78
                          Corporation
11/08/12      {33}        Marson International, LLC            Accounts Receivable - Invoice MI11082012-1        1221-000              1,453.76                          6,062,194.54
11/12/12      236         AFCO                                 Account No.: 30-10-110363-7 November              2420-000                                   11,310.48    6,050,884.06
                                                               Installment
11/12/12      237         Mikolajewski & Associates Inc.       Invoice No.: 29004 Security Services for Period 2420-000                                      2,197.00    6,048,687.06
                                                               of 11/11/12 - 11/17/12
11/13/12      238         Canam PO LP                          Rent for Period of November 2012 / Escrow         2410-000                                   52,058.65    5,996,628.41
                                                               Property Tax for November 2012 Rent for
                                                               Period of November $45,992.00 Property Tax
                                                               Escrow for November 2012 $6,066.65
11/14/12       {1}        North American Stainless             Invoice No.: H37517 & H37518 Invoice No.:         1121-000             49,106.00                          6,045,734.41
                                                               H37517 $26,621.00 Invoice No.: H37518
                                                               $22,485.00
11/14/12       {1}        GKN Armstrong Wheels, Inc            Accounts Receivable - Invoice No.: H37403 &       1121-000              9,733.29                          6,055,467.70
                                                               H37539 Invoice No.: H37403 $8,277.45
                                                               Invoice No.: H37539 $1,455.84
11/14/12      {33}        Calsonic Kansei North America, Inc   Accounts Receivable - Invoice No.: 9276110        1221-000              5,000.00                          6,060,467.70

                                                                                                       Subtotals :                 $113,293.05             $73,025.20
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                   Doc 687            Filed 12/04/20                Page 63 of 114

                                                                                                                                                                            Exhibit 9


                                                                                  Form 2                                                                                    Page: 18

                                                     Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                       Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                  Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                             3                                      4                                          5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction               T-Code              $                   $       Account Balance
11/14/12      {33}       Marson International, LLC        Accounts Receivable - Invoice No.:               1221-000              2,336.29                           6,062,803.99
                                                          MI11142012-1
11/15/12      {29}       Pacific Wheel Inc.               Sale Proceeds for Development, Manufacture       1129-000          9,748,500.00                          15,811,303.99
                                                          & Assembly of Truck & Tooling [Docket No.:
                                                          203]
11/15/12      239        HILL ARCHIVE                     Invoice No.: 14428 Ship 500 Moving Boxes to      2420-000                                    1,284.00    15,810,019.99
                                                          Niles, MI
11/16/12                 Zhejiang Jingu Company LTD       Sale Proceeds for Development, Manufacture                         4,501,483.00                          20,311,502.99
                                                          & Assembly of Truck & Tooling [Docket No.:
                                                          203]
                            Bank of Communications           Bank Fee                          -17.00      2990-000                                                20,311,502.99
              {29}          Zhejiang Jingu Company LTD       Sale Proceeds for           4,501,500.00      1129-000                                                20,311,502.99
                                                             Development,
                                                             Manufacture & Assembly
                                                             of Truck & Tooling
11/16/12      240        Mark Wortham                     Services rendered for Period of November 4,      2690-000                                       820.00   20,310,682.99
                                                          2012 - November 10, 2012 20 Hours @
                                                          $41.00 per Hour
11/16/12      241        Earl Armentrout                  Services rendered for Period of November 5,      2690-000                                       722.70   20,309,960.29
                                                          2012 - November 9, 2012 36.50 Hours @
                                                          $19.80 per Hour
11/16/12      242        Michael Walker                   Services rendered for Period of November 4,      3731-000                                    3,365.00    20,306,595.29
                                                          2012 - November 10, 2012
11/16/12      243        Bernard T. Bush                  Services rendered for Period of November 5,      2690-000                                    1,476.45    20,305,118.84
                                                          2012 - November 9, 2012 45 Hours @ $32.81
                                                          per Hour
11/16/12                 Comerica Bank                    Payment on Secured Claim [Docket No.: 85]        4210-000                              14,500,000.00      5,805,118.84
11/21/12      244        BMC Group Inc.                   Fees and Reimbursement of Expenses re:                                                       1,079.26     5,804,039.58
                                                          Invoice No.: 307_121031 for Period Ending
                                                          10/31/12
                                                             Fees re: Invoice No.:             476.00      3991-000                                                 5,804,039.58
                                                             307_121031 for Period
                                                             Ending 10/31/12
                                                             Reimbursement of                  603.26      3992-000                                                 5,804,039.58
                                                             Expenses re: Invoice
                                                             No.: 307_121031 for
                                                             Period Ending 10/31/12
11/21/12      245        U.S. Bank National Association   Escrow Agreement Pursuant to Purchase            2990-000                                  500,000.00     5,304,039.58
                                                          Agreement [Docket No.: 203]

                                                                                                 Subtotals :              $14,252,319.29      $15,008,747.41
{} Asset reference(s)                                                                                                                    Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                     Doc 687           Filed 12/04/20                  Page 64 of 114

                                                                                                                                                                                Exhibit 9


                                                                                    Form 2                                                                                      Page: 19

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                          Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                     Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                           3                                            4                                          5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
11/21/12      246         FANUC Robotics America           Check Voided - Not Printed                          2990-004                                   99,353.00    5,204,686.58
                          Corporation                      Voided on 11/21/12
11/21/12      246         FANUC Robotics America           Check Voided - Not Printed                          2990-004                                  -99,353.00    5,304,039.58
                          Corporation                      Voided: check issued on 11/21/12
11/21/12      247         FANUC Robotics America           Stopped - Pursuant to Purchase Agreement            4210-005                                   99,353.66    5,204,685.92
                          Corporation                      [Docket No.: 203] (The stop date was updated
                                                           to 11/29/12 due to a conversion issue)
                                                           Stopped on 11/29/12
11/27/12      {33}        Exhaust Productions, Inc.        Accounts Receivable - Invoice No.:                  1221-000              2,699.43                          5,207,385.35
                                                           EP-1121201201
11/27/12      248         Michael Walker                   Services rendered for Period of November 19,        3731-000                                    3,365.00    5,204,020.35
                                                           2012 - November 23, 2012
11/27/12      249         Earl Armentrout                  Services rendered for Period of November 12,        2690-000                                       663.30   5,203,357.05
                                                           2012 - November 16, 2012 33.50 Hours @
                                                           $19.80 per Hour
11/27/12      250         Bernard T. Bush                  Services rendered for Period of November 19,        2690-000                                       902.28   5,202,454.77
                                                           2012 - November 23, 2012 27.5 Hours @
                                                           $32.81 per Hour
11/27/12      251         Michael Walker                   Services rendered for Period of November 19,        3731-000                                    3,365.00    5,199,089.77
                                                           2012 - November 23, 2012
11/27/12      252         Earl Armentrout                  Services rendered for Period of November 19,        2690-000                                       148.50   5,198,941.27
                                                           2012 - November 23, 2012 7.5 Hours @
                                                           $19.80 per Hour
11/27/12      253         Bernard T. Bush                  Services rendered for Period of Nov 27.5            2690-000                                       902.28   5,198,038.99
                                                           Hours @ $32.81 per Hour
11/27/12      254         Mowtown Lawn & Landscape         Lawn Maintenance provided 2nd Cut                   2690-000                                       270.00   5,197,768.99
11/27/12      255         Mowtown Lawn & Landscape         Completion of Sprinkler System Winterization        2690-000                                       185.00   5,197,583.99
11/28/12       {1}        North American Stainless         Accounts Receivable - Invoice No.: H37540           1121-000              1,054.00                          5,198,637.99
11/29/12      247         FANUC Robotics America           Stopped - Pursuant to Purchase Agreement            4210-005                                  -99,353.66    5,297,991.65
                          Corporation                      [Docket No.: 203] (The stop date was updated
                                                           to 11/29/12 due to a conversion issue)
                                                           Stopped: check issued on 11/21/12
11/29/12      256         FANUC Robotics America           Pursuant to Purchase Agreement [Docket No.:         4210-000                                   99,353.66    5,198,637.99
                          Corporation                      203] Secured Claim of Fanuc shall be paid in
                                                           full and final satisfaction
11/30/12                  Transfer to Acct # xxxxxx9513    Transfer of Funds                                   9999-000                                  450,000.00    4,748,637.99
11/30/12                  Transfer to Acct # xxxxxx9521    Transfer of Funds to Carlton/Comerica Escrow        9999-000                                  927,000.00    3,821,637.99
11/30/12      257         SEMCO Energy                     Account No.: 0161818.503 10/26/12 - 11/13/12 2990-000                                              888.49   3,820,749.50
                                                           & Account No.: 0161147.502 10/26/12 -

                                                                                                      Subtotals :                   $3,753.43        $1,487,043.51
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                     Doc 687              Filed 12/04/20                Page 65 of 114

                                                                                                                                                                                Exhibit 9


                                                                                     Form 2                                                                                     Page: 20

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                      Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                           3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
                                                            11/13/12 Account No.: 0161818.503 10/26/12
                                                            - 11/13/12 $803.71 Account No.: 0161147.502
                                                            10/26/12 - 11/13/12 $84.78
11/30/12      258        Mikolajewski & Associates Inc.     Invoice No.: 29041 Security Services for Period 2420-000                                       2,184.00    3,818,565.50
                                                            of 11/25/12 - 12/01/12 Invoice No.: 29041
                                                            $2,184.00
11/30/12      259        Canam PO LP                        Rent for Period of December 2012 / Escrow          2410-000                                   52,058.65    3,766,506.85
                                                            Property Tax for December 2012 Rent for
                                                            Period of December $45,992.00 Property Tax
                                                            Escrow for December 2012 $6,066.65
11/30/12      260        Mikolajewski & Associates Inc.     Invoice No.: 29026 Security Services for Period 2420-000                                       2,315.00    3,764,191.85
                                                            of 11/18/12 - 11/24/12 Invoice No.: 29026
                                                            $2,328.00 less $13.00 Credit
12/03/12      {33}       HLI Operating Company, Inc.        Proceeds Pursuant to Settlement Agreement [1 1221-000                  333,000.00                          4,097,191.85
                                                            of 2 Installments] [Docket No.: 224]
12/04/12      {33}       Shandong Xingmin Wheel Co., Ltd.   Accounts Receivable - Documentation                1221-000              3,000.00                          4,100,191.85
                                                            Package 11/28/12 [1 of 2 Payments]
12/04/12    261 {29}     Accuride                           Return of Good Faith Deposit Pursuant to           1129-000           -757,000.00                          3,343,191.85
                                                            Motion on Sale of Assets [Docket No.: 94]
12/04/12      262        Michael Walker                     Reimbursement of Expenses for Period of            3732-000                                    1,139.97    3,342,051.88
                                                            11/07/12 - 11/21/12
12/04/12      263        Michael Walker                     Services rendered for Period of 11/26/12 -         3731-000                                    3,365.00    3,338,686.88
                                                            11/30/12
12/04/12      264        Earl Armentrout                    Services rendered for Period of November 26,       2690-000                                       796.95   3,337,889.93
                                                            2012 - November 30, 2012 40.25 Hours @
                                                            $19.80 per Hour
12/04/12      265        Bernard T. Bush                    Services rendered for Period of November 26,       2690-000                                    1,706.12    3,336,183.81
                                                            2012 - December 1, 2012 52 Hours @ $32.81
                                                            per Hour
12/04/12      266        Mikolajewski & Associates Inc.     Invoice No.: 29074 Security Services for Period 2420-000                                       2,184.00    3,333,999.81
                                                            of 12/09/12 - 12/15/12
12/04/12      267        Days Corporation                   Invoice No.: JC7491P 11/30/12 Storage of           2420-000                                    6,750.00    3,327,249.81
                                                            Hess/Jingu China Line [August 2012 - October
                                                            2012] 12/27/12 - Check was returned due to
                                                            address. 12/28/12 - Check re-mailed to P. O.
                                                            Box 668, Elkhart, IN 46515
12/05/12      {33}       HLI Operating Company, Inc.        Proceeds Pursuant to Settlement Agreement [2 1221-000                  300,000.00                          3,627,249.81
                                                            of 2 Installments] [Docket No.: 224]
12/07/12      268        HILL ARCHIVE                       Invoice No.: 14441 Pack & Remove (746)                                                         9,475.44    3,617,774.37

                                                                                                     Subtotals :                 $-121,000.00            $81,975.13
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                        Doc 687             Filed 12/04/20                  Page 66 of 114

                                                                                                                                                                                     Exhibit 9


                                                                                         Form 2                                                                                      Page: 21

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                            Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                               Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                          Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                  Separate Bond: N/A

   1            2                            3                                            4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                  T-Code              $                   $       Account Balance
                                                                boxes from Nile, MI & Pro-Rata Storage
                                                                12/01/12 - 12/15/12
                                                                   Invoice No.: 14441                 139.69        2410-000                                                3,617,774.37
                                                                   Pro-Rata Storage for
                                                                   Period of 12/01/12 -
                                                                   12/15/12
                                                                   Invoice No.: 14441 Pack           9,335.75       2420-000                                                3,617,774.37
                                                                   & Remove (746) boxes
                                                                   from Hess Industries,
                                                                   Nile, MI and transfer to
                                                                   West Berlin, NJ
12/10/12      {33}        Kohler                                Accounts Receivable - Invoice No.:                  1221-000              4,107.00                          3,621,881.37
                                                                KP-1207201201
12/10/12      269         Mikolajewski & Associates Inc.        Invoice No.: 29058 Security Services for Period 2420-000                                        2,184.00    3,619,697.37
                                                                of 12/02/12 - 12/08/12
12/10/12      270         AFCO                                  Account No.: 30-10-110363-7 December                2420-000                                   11,310.48    3,608,386.89
                                                                Installment
12/10/12      271         Michael Walker                        Services rendered for Period of 12/03/12 -          3731-000                                    3,365.00    3,605,021.89
                                                                12/07/12
12/10/12      272         Earl Armentrout                       Services rendered for Period of December 3,         2690-000                                       767.25   3,604,254.64
                                                                2012 - December 7, 2012 38.75 Hours @
                                                                $19.80 per Hour
12/10/12      273         Bernard T. Bush                       Services rendered for Period of December 3,         2690-000                                    1,722.53    3,602,532.11
                                                                2012 - December 8, 2012 52.50 Hours @
                                                                $32.81 per Hour
12/11/12                  William Linski - Steven Linski - Je   Non-Estate Funds re: Sale of (3) Vehicles 2009                            3,500.00                          3,606,032.11
               {7}                                                 2009 Hyundai Sonata               1,000.00       1280-002                                                3,606,032.11
                                                                   Vin No.:
                                                                   5NPEU46F79H526736
               {7}                                                 2008 Ford SRW Super               1,500.00       1280-002                                                3,606,032.11
                                                                   Duty Pick-Up Vin No.:
                                                                   1FTNF20548EE59221
               {7}                                                 2009 Hyundai Sonata               1,000.00       1280-002                                                3,606,032.11
                                                                   Vin No.:
                                                                   5NPEU46F49H562318
12/11/12       {7}        Randy Bicard                          Sale of 2005 Pontiac Bonneville VIN No.:            1280-002              1,000.00                          3,607,032.11
                                                                1G2HY54K45U106749
12/11/12      {29}        Steven E Reed                         Non-Estate Funds re: Purchase of (8) Racks          1280-002                 200.00                         3,607,232.11
12/11/12      {33}        HLI Operating Company, Inc.           Accounts Receivable                                 1221-000             16,555.39                          3,623,787.50

                                                                                                           Subtotals :                  $25,362.39            $19,349.26
{} Asset reference(s)                                                                                                                             Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                      Doc 687           Filed 12/04/20                 Page 67 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                   Form 2                                                                                        Page: 22

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                           Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                      Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                              Separate Bond: N/A

   1            2                           3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                T-Code              $                   $       Account Balance
12/11/12      274         FOX ROTHSCHILD LLP                First Interim Fee Application for Professional                                                652,183.21    2,971,604.29
                                                            Services & Reimbursement of Expenses for
                                                            Period of July 12, 2012 - October 31, 2012
                                                            [Docket No.: 241]
                                                               First Interim Fee               610,707.75       3210-000                                                2,971,604.29
                                                               Application for
                                                               Professional Services for
                                                               Period of July 12, 2012 -
                                                               October 31, 2012
                                                               [Docket No.: 241]
                                                               First Interim Fee                 41,475.46      3220-000                                                2,971,604.29
                                                               Application for
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               July 12, 2012 - October
                                                               31, 2012 [Docket No.:
                                                               241]
12/12/12      275         Comerica Bank                     Payment on Secured Claim & Reimbursement                                                      700,000.00    2,271,604.29
                                                            of Loan Pursuant to Stipulation [Docket No.:
                                                            85]
                                                               Payment on Secured              655,000.00       4210-000                                                2,271,604.29
                                                               Claim
               {2}                                             Reimbursement of Loan             45,000.00      1290-000                                                2,271,604.29
                                                               Funds
12/14/12      276         Pacific Wheel                     Trillium Invoice No.: 2567212 re: Maxion            2690-000                                    1,640.10    2,269,964.19
12/14/12      277         Toyota Motor Credit Corporation   Cure for Post-Petition arrears for July, 28, 2012 2410-000                                      3,269.70    2,266,694.49
                                                            - September 28, 2012 $363.30 each for Model
                                                            No.: 8FGCU25, Serial Nos.: 36319, 36348 &
                                                            36399 [Docket No.: 168] #9747236
12/14/12      278         Toyota Motor Credit Corporation   October & November Installments re: Lease for 2410-000                                          2,179.80    2,264,514.69
                                                            Model No.: 8FGCU25, Serial Nos.: 36319,
                                                            36348 & 36399 [Docket No.: 168] October
                                                            $1,089.90 November $1,089.90 #9747236
12/17/12      {33}        Exhaust Productions, Inc.         Accounts Receivable - Invoice No.:                  1221-000              2,784.60                          2,267,299.29
                                                            EP-1214201201
12/17/12      279         Toyota Motor Credit Corporation   Property Tax Assessed for 2012 #9747236             2410-000                                       384.90   2,266,914.39
12/17/12      280         Michael Walker                    Reimbursement of Expenses for Period of             3732-000                                    1,929.55    2,264,984.84
                                                            12/05/12 - 12/14/12 Verizon Phone Bill
                                                            $1,705.80 Martin Flud Power (Accuride)
                                                            $34.30 USPS $18.95 Days (One hour rental
                                                                                                       Subtotals :                   $2,784.60        $1,361,587.26
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                    Doc 687             Filed 12/04/20                 Page 68 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                    Form 2                                                                                       Page: 23

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                           Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                      Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                              Separate Bond: N/A

   1            2                           3                                       4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From               Description of Transaction                  T-Code              $                   $       Account Balance
                                                           of fork lift) $170.50
12/19/12      {29}        Trio Management Partners, LLC    Purchase of Portable Welder                          1280-002                 300.00                         2,265,284.84
12/19/12      {29}        Trio Management Partners LLC     Purchase of (5) Folding Tables                       1280-002                  25.00                         2,265,309.84
12/19/12                  Bernard D Bush, Jr               Purchase of 2004 & 2005 Chevrolet Impala                                   1,400.00                          2,266,709.84
                                                           Vehicles
               {7}           Siemens Industry, Inc.           2005 Chevrolet Impala                700.00       1280-002                                                2,266,709.84
                                                              Vin No.:
                                                              2G1WH52K659147900
               {7}                                            2004 Chevrolet Impala                700.00       1280-002                                                2,266,709.84
                                                              Vin No.:
                                                              2G1WH55K849306409
12/19/12      281         Mikolajewski & Associates Inc.   Invoice No.: 29090 Security Services for Period 2420-000                                         2,184.00    2,264,525.84
                                                           of 12/16/12 - 12/22/12
12/19/12      282         Michael Walker                   Services rendered for Period of 12/9/12 -            3731-000                                    3,365.00    2,261,160.84
                                                           12/15/12
12/19/12      283         Earl Armentrout                  Services rendered for Period of December 10,         2690-000                                       697.95   2,260,462.89
                                                           2012 - December 14, 2012 35.25 Hours @
                                                           $19.80 per Hour
12/19/12      284         Bernard T. Bush                  Services rendered for Period of December 10,         2690-000                                    1,476.45    2,258,986.44
                                                           2012 - December 15, 2012 45 Hours @
                                                           $32.81 per Hour
12/20/12      285         Pacific Wheel                    Trillium Invoice No.: 2567805 re: Maxion &           2690-000                                    3,382.78    2,255,603.66
                                                           Accuride
12/20/12      286         HILL ARCHIVE                     Invoice No.: 015077 Storage for Period of            2410-000                                       279.38   2,255,324.28
                                                           January 2013
12/27/12      287         Midwest Energy Cooperative       Electric Service for Period of July 24, 2012 -       2420-000                                    8,292.14    2,247,032.14
                                                           August 22, 2012 Service for the following
                                                           accounts: Account No.: 1548001 10/23/12 -
                                                           11/25/12 $5,632.24 Account No.: 2757400
                                                           10/23/12 - 11/25/12 $2,526.70 Account No.:
                                                           77406      10/23/12 - 11/25/12 $133.2
12/28/12      288         Mikolajewski & Associates Inc.   Invoice No.: 29105 Security Services for Period 2420-000                                         2,328.00    2,244,704.14
                                                           of 12/23/12 - 12/29/12
12/28/12      289         Michael Walker                   Services rendered for Period of 12/17/12 -           3731-000                                    3,365.00    2,241,339.14
                                                           12/21/12
12/28/12      290         Bernard T. Bush                  Services rendered for Period of December 17,         2690-000                                    1,476.45    2,239,862.69
                                                           2012 - December 21, 2012 45 Hours @
                                                           $32.81 per Hour
12/28/12      291         Earl Armentrout                  Services rendered for Period of December 17,         2690-000                                       653.40   2,239,209.29

                                                                                                       Subtotals :                   $1,725.00            $27,500.55
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                  Doc 687             Filed 12/04/20                 Page 69 of 114

                                                                                                                                                                               Exhibit 9


                                                                                    Form 2                                                                                     Page: 24

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                     and Hess Engineering, Inc.                                                    Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                            3                                       4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From              Description of Transaction                 T-Code              $                   $       Account Balance
                                                           2012 - December 21, 2012 33 Hours @
                                                           $19.80 per Hour
01/03/13      292         Mikolajewski & Associates Inc.   Invoice No.: 29119 Security Services for Period 2420-000                                       2,328.00    2,236,881.29
                                                           of 12/30/12 - 01/05/13
01/04/13      {33}        Kohler                           Accounts Receivable - Invoice No.:                 1221-000             21,972.45                          2,258,853.74
                                                           KP-0103201301
01/04/13      293         Pacific Wheel                    Trillium Invoice No.: 2568363-A re: Accuride       2690-000                                       449.50   2,258,404.24
01/04/13      294         Pacific Wheel                    Pacific Wheel Invoice No.: 1001 re: Accuride       2690-000                                       900.00   2,257,504.24
01/07/13      {33}        Exhaust Productions, Inc.        Accounts Receivable - Invoice No.:                 1221-000              2,552.55                          2,260,056.79
                                                           EP-01041301
01/08/13      295         Pacific Wheel                    Turnover of Non-Estate Funds                                                                   6,425.00    2,253,631.79
              {29}                                            Trio Management                     25.00       1280-002                                                2,253,631.79
                                                              Partners LLC
              {29}           Pacific Wheel                    Steven E. Reed                     200.00       1280-002                                                2,253,631.79
               {7}           Pacific Wheel                    Trio Management                   3,500.00      1280-002                                                2,253,631.79
                                                              Partners LLC
               {7}           Pacific Wheel                    Bernard D. Bush, Jr.              1,400.00      1280-002                                                2,253,631.79
              {29}           Pacific Wheel                    Trio Management                    300.00       1280-002                                                2,253,631.79
                                                              Partners LLC
               {7}           Pacific Wheel                    Rand Bicard                       1,000.00      1280-002                                                2,253,631.79
01/08/13      296         Mikolajewski & Associates Inc.   Invoice No.: 29132 Security Services for Period 2420-000                                       2,184.00    2,251,447.79
                                                           of 01/06/13 - 01/12/13
01/08/13      297         AFCO                             Account No.: 30-10-110363-7 January                2420-000                                   11,310.48    2,240,137.31
                                                           Installment
01/08/13      298         Midwest Energy Cooperative       Electric Service for Period of October 23, 2012    2420-000                                    8,292.14    2,231,845.17
                                                           - November 25, 2012 Service for the following
                                                           accounts: Account No.: 1548001 $5,632.24
                                                           Account No.: 77406 $133.20 Account No.:
                                                           2757400 $2,526.70
01/08/13      299         SEMCO Energy                     Account No.: 0161818.503 11/13/12 - 12/13/12 2990-000                                          1,360.94    2,230,484.23
                                                           & Account No.: 0161147.502 11/13/12 -
                                                           12/13/12 Account No.: 0161818.503 11/13/12
                                                           - 12/13/12 $1,317.73 Account No.:
                                                           0161147.502 11/13/12 - 12/13/12 $43.21
01/10/13      {33}        554: Cummins, Inc                Accounts Receivable - Invoice No.: PL35492-2       1221-000              4,505.07                          2,234,989.30
01/10/13      300         SEMCO Energy                     Account No.: 0161149.503 10/26/12 - 11/13/12 2990-000                                          1,693.18    2,233,296.12
                                                           & 11/13/12 - 12/13/12 Account No.:
                                                           0161149.503 10/26/12 - 11/13/12 $942.20
                                                           Account No.: 0161149.503 11/13/12 - 12/13/12

                                                                                                    Subtotals :                   $29,030.07            $34,943.24
{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                     Doc 687             Filed 12/04/20                Page 70 of 114

                                                                                                                                                                               Exhibit 9


                                                                                  Form 2                                                                                       Page: 25

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                          Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                     Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                          3                                          4                                            5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction               T-Code              $                   $       Account Balance
                                                           $750.98
01/10/13      301        Mowtown Lawn & Landscape          Snow Removal Service was provided on               2690-000                                       260.00   2,233,036.12
                                                           01/02/13
01/10/13      302        D. L. Exports International LLC   First Interim Compensation and                                                                23,209.60    2,209,826.52
                                                           Reimbursement of Expenses for the Period of
                                                           September 12, 2012 - October 31, 2012
                                                           [Docket No.: 264 & 321]
                                                              First Interim                   18,870.00       3731-000                                                2,209,826.52
                                                              Compensation for the
                                                              Period of September 12,
                                                              2012 - October 31, 2012
                                                              [Docket No.: 264]
                                                              First Interim                    4,339.60       3732-000                                                2,209,826.52
                                                              Reimbursement of
                                                              Expenses for the Period
                                                              of September 12, 2012 -
                                                              October 31, 2012
                                                              [Docket No.: 264]
01/15/13      303        BMC Group Inc.                    Fees and Reimbursement of Expenses re:                                                            574.72   2,209,251.80
                                                           Invoice No.: 307_121130 for Period Ending
                                                           11/30/12
                                                              Fees re: Invoice No.:               450.50      3991-000                                                2,209,251.80
                                                              307_121130 for Period
                                                              Ending 11/30/12
                                                              Reimbursement of                    124.22      3992-000                                                2,209,251.80
                                                              Expenses re: Invoice
                                                              No.: 307_121130 for
                                                              Period Ending 11/30/12
01/16/13      304        HILL ARCHIVE                      Invoice No.: 015331 Storage for Period of          2410-000                                       279.38   2,208,972.42
                                                           February 2013
01/17/13      305        Mikolajewski & Associates Inc.    Invoice No.: 29148 Security Services for Period 2420-004                                       2,184.00    2,206,788.42
                                                           of 01/13/13 - 01/19/13 - Check Voided / Not
                                                           Printed
                                                           Voided on 01/18/13
01/18/13      305        Mikolajewski & Associates Inc.    Invoice No.: 29148 Security Services for Period 2420-004                                      -2,184.00    2,208,972.42
                                                           of 01/13/13 - 01/19/13 - Check Voided / Not
                                                           Printed
                                                           Voided: check issued on 01/17/13
01/18/13      306        Michael Walker                    Services rendered for Period of 12/22/12 -                                                    13,460.00    2,195,512.42
                                                           01/18/13
                                                                                                    Subtotals :                        $0.00            $37,783.70
{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                 Doc 687            Filed 12/04/20                  Page 71 of 114

                                                                                                                                                                             Exhibit 9


                                                                             Form 2                                                                                          Page: 26

                                                 Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                       Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                  Account:            ******9238 - Comerica Bank
Taxpayer ID #: **-***3733                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                           3                                     4                                             5                    6                   7

 Trans.     {Ref #} /                                                                                                       Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From           Description of Transaction                  T-Code              $                    $       Account Balance
                                                          Services Rendered for             3,365.00       3731-000                                                2,195,512.42
                                                          Period of 12/.22/12 -
                                                          12/28/12
                                                          Services Rendered for             3,365.00       3731-000                                                2,195,512.42
                                                          Period of 12/29/12 -
                                                          01/04/13
                                                          Services Rendered for             3,365.00       3731-000                                                2,195,512.42
                                                          Period of 01/05/13 -
                                                          01/11/13
                                                          Services Rendered for             3,365.00       3731-000                                                2,195,512.42
                                                          Period of 01/12/13 -
                                                          01/18/13
01/18/13      307        Midwest Energy Cooperative    Electric Service for Period of November 25,         2420-000                                   9,048.15     2,186,464.27
                                                       2012 - December 25, 2012 Service for the
                                                       following accounts: Account No.: 1548001
                                                       $6,417.74 $111.91 Account No.: 77406
                                                       $116.03 $2.66 Account No.: 2757400
                                                       $2,349.28 $50.53
01/18/13      308        Michael Walker                Reimbursement of Expenses for Period of             3732-000                                      668.14    2,185,796.13
                                                       12/18/12 - 01/18/13 Verizon Phone Bill
                                                       $525.63 Overnight to Maxion $22.68
                                                       Overnight to Trustee $18.95 Overnight to
                                                       Trustee $18.95 Overnight to Xingmin $81.93
01/31/13                 Capital One Bank              Transfer to Rabobank, N.A.                          9999-000                               2,185,796.13                  0.00

                                                                             ACCOUNT TOTALS                                21,049,541.90         21,049,541.90                 $0.00
                                                                                      Less: Bank Transfers                             0.00       3,714,464.56
                                                                             Subtotal                                      21,049,541.90         17,335,077.34
                                                                                      Less: Payments to Debtors                                            0.00
                                                                             NET Receipts / Disbursements                 $21,049,541.90       $17,335,077.34




{} Asset reference(s)                                                                                                                     Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                      Doc 687         Filed 12/04/20                  Page 72 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 27

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                    Account:            ******9262 - Monomoy Capital Partners
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                     4                                               5                     6                  7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                    $       Account Balance
08/08/12                 Transfer from Acct # xxxxxx9238   Transfer of Funds                                 9999-000            150,000.00                            150,000.00
01/31/13                 Capital One Bank                  Transfer to Rabobank, N.A.                        9999-000                                  150,000.00                 0.00

                                                                                ACCOUNT TOTALS                                   150,000.00            150,000.00                $0.00
                                                                                        Less: Bank Transfers                     150,000.00            150,000.00
                                                                                Subtotal                                                 0.00                0.00
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                NET Receipts / Disbursements                          $0.00                 $0.00




{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                      Doc 687         Filed 12/04/20                  Page 73 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 28

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                    Account:            ******9270 - Estate Funds
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                     4                                               5                    6                   7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                    $       Account Balance
08/08/12                 Transfer from Acct # xxxxxx9238   Transfer of Funds                                 9999-000              1,668.43                                    1,668.43
01/31/13                 Capital One Bank                  Transfer to Rabobank, N.A.                        9999-000                                  1,668.43                    0.00

                                                                                ACCOUNT TOTALS                                     1,668.43            1,668.43                  $0.00
                                                                                        Less: Bank Transfers                       1,668.43            1,668.43
                                                                                Subtotal                                                 0.00               0.00
                                                                                        Less: Payments to Debtors                                           0.00
                                                                                NET Receipts / Disbursements                          $0.00                $0.00




{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                      Doc 687         Filed 12/04/20                  Page 74 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 29

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                    Account:            ******9513 - Stegler & Morrell
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                     4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code               $                   $       Account Balance
11/30/12                 Transfer from Acct # xxxxxx9238   Transfer of Funds                                 9999-000            450,000.00                            450,000.00
01/31/13                 Capital One Bank                  Transfer to Rabobank, N.A.                        9999-000                                  450,000.00                 0.00

                                                                                ACCOUNT TOTALS                                   450,000.00            450,000.00                $0.00
                                                                                        Less: Bank Transfers                     450,000.00            450,000.00
                                                                                Subtotal                                                 0.00                0.00
                                                                                        Less: Payments to Debtors                                            0.00
                                                                                NET Receipts / Disbursements                           $0.00                $0.00




{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                   Doc 687            Filed 12/04/20                  Page 75 of 114

                                                                                                                                                                               Exhibit 9


                                                                                Form 2                                                                                         Page: 30

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Capital One Bank
                    and Hess Engineering, Inc.                                                    Account:            ******9521 - Carlton/Comerica Escrow
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                    4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                 T-Code              $                    $       Account Balance
11/30/12                 Transfer from Acct # xxxxxx9238   Transfer of Funds to Carlton/Comerica Escrow      9999-000            927,000.00                            927,000.00
01/31/13                 Capital One Bank                  Transfer to Rabobank, N.A.                        9999-000                                  927,000.00                 0.00

                                                                               ACCOUNT TOTALS                                    927,000.00            927,000.00                $0.00
                                                                                        Less: Bank Transfers                     927,000.00            927,000.00
                                                                               Subtotal                                                  0.00                0.00
                                                                                        Less: Payments to Debtors                                            0.00
                                                                               NET Receipts / Disbursements                           $0.00                 $0.00




{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                       Doc 687              Filed 12/04/20                  Page 76 of 114

                                                                                                                                                                                     Exhibit 9


                                                                                         Form 2                                                                                      Page: 31

                                                    Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                            Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                               Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                          Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                  Separate Bond: N/A

   1            2                              3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                    Description of Transaction                 T-Code              $                   $       Account Balance
01/31/13                  Rabobank, N.A.                        Transfer from Capital One Bank                      9999-000          2,185,796.13                          2,185,796.13
02/04/13     50101        Michael Walker                        Expenses for Period of November 6, 2012 -                                                          727.67   2,185,068.46
                                                                January 30, 2013 (Not Previously Paid)
                                                                   11/06/12 Kabelin                      94.50      3732-000                                                2,185,068.46
                                                                   Hardware - Propane
                                                                   12/19/12 Kabelin                      19.95      3732-000                                                2,185,068.46
                                                                   Hardware - Propane
                                                                   01/30/13 Verizon                   613.22        3732-000                                                2,185,068.46
02/04/13     50102        Mikolajewski & Associates Inc.        Invoice No.: 29148 Security Services for Period 2420-000                                        1,248.00    2,183,820.46
                                                                of 01/13/13 - 01/16/13
02/04/13     50103        Michael Walker                        Services rendered for Period of 01/19/13 -          3731-000                                    3,365.00    2,180,455.46
                                                                01/25/13
02/06/13      {29}        Machinery International Corporation   Invoice No.: 2061302 re: (Linamar) MAE              1129-000              1,800.00                          2,182,255.46
                                                                Straightener
02/07/13       {7}        Michael E Walker                      Sale of 2008 Ford Truck / Vin No.:                  1280-002              2,500.00                          2,184,755.46
                                                                1FTRF12218KE94007 [Non-Estate Funds]
02/07/13      {29}        Trio Management Partners LLC          Sale of Paper Shredder,(3) Ladders and              1280-002                  50.00                         2,184,805.46
                                                                Laminator [Non-Estate Funds]
02/07/13      {29}        Trio Management Partners LLC          Sale of Pipe Bender [Non-Estate Funds]              1280-002                 100.00                         2,184,905.46
02/07/13      {29}        Pacific Wheel, Inc                    Sale of Gauges [Non-Estate Funds]                   1280-002                 500.00                         2,185,405.46
02/07/13      {23}        Pacific Wheel, Inc                    Sale of Scrap [Non-Estate Funds]                    1280-002                 300.00                         2,185,705.46
02/07/13      {29}        Pacific Wheel Inc                     Sale of Laptop Computer [Non-Estate Funds]          1280-002                 350.00                         2,186,055.46
02/07/13      {29}        Brandon S Glassman                    Sale of Pop Machine & Aerator [Non-Estate           1280-002                 150.00                         2,186,205.46
                                                                Funds]
02/07/13     50104        Integra Certified Document            Invoice No.: 0013588734 Document                    2420-000                                       475.96   2,185,729.50
                          Destruction, LLC                      Destruction
02/08/13     50105        AFCO                                  Stopped - Account No.: 30-10-110363-7               2420-005                                   11,310.48    2,174,419.02
                                                                February 2012 Installment
                                                                Stopped on 02/14/13
02/14/13     50105        AFCO                                  Stopped - Account No.: 30-10-110363-7               2420-005                                  -11,310.48    2,185,729.50
                                                                February 2012 Installment
                                                                Stopped: check issued on 02/08/13
02/14/13     50106        AFCO                                  Account No.: 30-10-110363-7 February 2013           2420-000                                   11,310.48    2,174,419.02
                                                                Installment
02/18/13     50107        Mike Lira                             IT Services Rendered (13.5) Hours at $47.00         2420-000                                       634.50   2,173,784.52
                                                                per Hour
02/18/13     50108        HILL ARCHIVE                          Invoice No.: 015631 Storage for Period of           2410-000                                       279.38   2,173,505.14
                                                                March 2013


                                                                                                          Subtotals :               $2,191,546.13             $18,040.99
{} Asset reference(s)                                                                                                                             Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                 Doc 687             Filed 12/04/20                Page 77 of 114

                                                                                                                                                                             Exhibit 9


                                                                                Form 2                                                                                       Page: 32

                                                   Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                       Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                  Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                          Separate Bond: N/A

   1            2                           3                                      4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                  T-Code              $                   $       Account Balance
02/19/13     50109        Michael Walker                25% Incentive Payment Pursuant to Retention         3731-000                                   43,750.00     2,129,755.14
                                                        Order [Docket No.: 119]
02/19/13     50110        Michael Walker                Severance Pursuant to Retention Order               3731-004                                  131,249.97     1,998,505.17
                                                        [Docket No.: 119] - Check Not Printed
                                                        Voided on 02/20/13
02/20/13     50110        Michael Walker                Severance Pursuant to Retention Order               3731-004                               -131,249.97       2,129,755.14
                                                        [Docket No.: 119] - Check Not Printed
                                                        Voided: check issued on 02/19/13
02/20/13     50111        Michael Walker                Severance Pursuant to Retention Order               3731-000                                  131,250.00     1,998,505.14
                                                        [Docket No.: 119]
02/21/13                  Midwest Energy Cooperative    Invoice No.: 20130214151945226 Refund               2420-000                                       -361.09   1,998,866.23
                          Corporate Headquarters        Balance of Deposit
02/21/13                  Midwest Energy Cooperative    Invoice No.: 20130214151945349 Refund               2420-000                                  -15,349.16     2,014,215.39
                          Corporate Headquarters        Balance of Deposit
02/21/13                  Corporate Headquarters        Invoice No.: 20130214151945758 Refund               2420-000                                   -5,643.23     2,019,858.62
                                                        Balance of Deposit
02/21/13     50112        Pacific Wheel                 Turnover of Non-Estate Funds                                                                    3,950.00     2,015,908.62
              {29}                                         Trio Management                      100.00      1280-002                                                 2,015,908.62
                                                           Partners LLC re:
                                                           Homemade Pipe Bender
              {29}                                         Trio Management                       50.00      1280-002                                                 2,015,908.62
                                                           Partners LLC re: Paper
                                                           Shredder, Ladders,
                                                           Laminator
              {29}                                         Pacific Wheel Inc. re:               350.00      1280-002                                                 2,015,908.62
                                                           Laptop Computers
              {29}                                         Brandon S. Glassman re:              150.00      1280-002                                                 2,015,908.62
                                                           Pop Machine & Aerator
              {29}                                         Pacific Wheel re: Gages              500.00      1280-002                                                 2,015,908.62
               {7}                                         Michael Walker re: Ford         2,500.00         1280-002                                                 2,015,908.62
                                                           Truck
              {23}                                         Pacific Wheel re: Scrap              300.00      1280-002                                                 2,015,908.62
02/28/13     50113        BMC Group Inc.                Fees & Reimbursement of Expenses Invoice                                                        1,610.72     2,014,297.90
                                                        No.: 307_121231 Period Ending 12/31/12
                                                           Fees re: Invoice No.:           1,268.50         3991-000                                                 2,014,297.90
                                                           307_121231 Period
                                                           Ending 12/31/12
                                                           Reimbursement of                     342.22      3992-000                                                 2,014,297.90
                                                           Expenses re: Invoice

                                                                                                  Subtotals :                         $0.00       $159,207.24
{} Asset reference(s)                                                                                                                     Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                      Doc 687             Filed 12/04/20                    Page 78 of 114

                                                                                                                                                                                      Exhibit 9


                                                                                       Form 2                                                                                         Page: 33

                                                   Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                           Trustee:              Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                              Bank Name:            Mechanics Bank
                     and Hess Engineering, Inc.                                                         Account:              ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                               Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                 Separate Bond: N/A

   1            2                           3                                            4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                    T-Code              $                   $       Account Balance
                                                                  No.: 307_121231 Period
                                                                  Ending 12/31/12
02/28/13                  Rabobank, N.A.                       Bank and Technology Services Fee                     2600-000                                    2,589.04    2,011,708.86
03/01/13     50114        Michael Walker                       Services rendered for Period of 01/26/13 -                                                       6,730.00    2,004,978.86
                                                               02/08/13
                                                                  Services rendered for             3,365.00        3731-000                                                2,004,978.86
                                                                  Period of 01/26/13 -
                                                                  02/01/13
                                                                  Services rendered for             3,365.00        3731-000                                                2,004,978.86
                                                                  Period of 02/02/13 -
                                                                  02/08/13
03/04/13                  Pacific Wheel                        Payment re: $50,000.00 1/2 December 2012                                                        -70,000.00   2,074,978.86
                                                               Rent; $15,000.00 Mike Walker; $5,000.00
                                                               Toyota Rental
                             Canam PO LP                          Offset to Rent for              -50,000.00        2410-000                                                2,074,978.86
                                                                  December 2012
                             Toyota Motor Credit Corporation      Offset to Toyota Leases          -5,000.00        2410-000                                                2,074,978.86
               {2}                                                Offset to Michael Walker        -15,000.00        1280-002                                                2,074,978.86
                                                                  Salary re: Pacific Wheel
                                                                  Assistance
03/05/13                  To Account #******5471               Transfer funds re: Pacific Wheel Offset to           9999-000                                   15,000.00    2,059,978.86
                                                               Michael Walker Salary
03/05/13     50115        Toyota Motor Credit Corporation      December 2012, January 2013, & Partial for           2410-000                                    3,048.00    2,056,930.86
                                                               February 2013 Installments re: Lease for
                                                               Model No.: 8FGCU25, Serial Nos.: 36319,
                                                               36348 & 36399 [Docket No.: 168] (4) x
                                                               $762.00 per Month
03/05/13     50116        Michael Walker                       Services rendered for Period of 02/18/13 -           3731-000                                       807.50   2,056,123.36
                                                               02/24/13
03/05/13     50117        Michael Walker                       Services rendered for Period of 02/11/13 -                                                       2,529.00    2,053,594.36
                                                               02/15/13
                                                                  Services rendered for             2,019.00        3731-000                                                2,053,594.36
                                                                  Period of 02/11/13 -
                                                                  02/13/13 (Salary)
                                                                  Services rendered for              510.00         3731-000                                                2,053,594.36
                                                                  Period of 02/14/13 -
                                                                  02/15/13 (Hourly Rate)
03/06/13     50118        Michael Walker                       Services rendered for Period of 02/25/13 -           3731-000                                       595.00   2,052,999.36
                                                               03/03/13

                                                                                                            Subtotals :                        $0.00        $-38,701.46
{} Asset reference(s)                                                                                                                              Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                 Doc 687            Filed 12/04/20                 Page 79 of 114

                                                                                                                                                                            Exhibit 9


                                                                                Form 2                                                                                      Page: 34

                                                  Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                   Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                      Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                 Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                           3                                      4                                            5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                 T-Code              $                   $       Account Balance
03/06/13     50119        Canam PO LP                   Rent for Period of January 1, 2013 - January       2410-000                                   26,868.65    2,026,130.71
                                                        16, 2013
03/12/13     50120        Michael Walker                Services rendered for Period of 03/03/13 -         3731-000                                       510.00   2,025,620.71
                                                        03/10/13
03/25/13     50121        HILL ARCHIVE                  Invoice No.: 015914 Storage for Period of April                                                   280.78   2,025,339.93
                                                        2013 & Input of (4) Cartons
                                                           Invoice No.: 015914                  1.40       2420-000                                                2,025,339.93
                                                           Initial Input of (4) Cartons
                                                           Invoice No.: 015914                279.38       2410-000                                                2,025,339.93
                                                           Storage for Period of
                                                           April 2013
03/26/13     50122        Michael Walker                Services rendered for Period of 03/10/13 -         3731-000                                       552.50   2,024,787.43
                                                        03/17/13
03/26/13     50123        Michael Walker                Services rendered for Period of 03/18/13 -         3731-000                                       340.00   2,024,447.43
                                                        03/24/13
03/29/13                  Rabobank, N.A.                Bank and Technology Services Fee                   2600-000                                    2,780.82    2,021,666.61
04/02/13       {5}        Gibson                        Policy No.: CA00115034 08/01/12 - 12/10/12         1229-000              1,265.00                          2,022,931.61
                                                        Refund of Credit on Account
04/02/13      {33}        Tenneco                       Reversed - Accounts Receivable - Invoice No.:      1221-000             10,263.84                          2,033,195.45
                                                        2191301
04/02/13      {33}        Tenneco                       Reversed Deposit 100004 1 Accounts                 1221-000            -10,263.84                          2,022,931.61
                                                        Receivable - Invoice No.: 2191301
04/04/13      {32}        SemcoEnergy Gas Company       Refund re: Account No.: 161149503                  1229-000                 237.27                         2,023,168.88
04/04/13      {32}        SemcoEnergy Gas Company       Refund Balance re: Account No.: 161147502          1229-000                  76.52                         2,023,245.40
04/12/13     50124        Michael Walker                Services rendered for Period of 03/25/13 -         3731-000                                       834.62   2,022,410.78
                                                        03/31/13
04/16/13     50125        HILL ARCHIVE                  Invoice No.: 016184 Storage for Period of May      2410-000                                       279.38   2,022,131.40
                                                        2013
04/23/13     50126        Michael Walker                Services rendered for Period of 04/01/13 -         3731-000                                       297.50   2,021,833.90
                                                        04/07/13
04/23/13     50127        Michael Walker                Services rendered for Period of 04/08/13 -         3731-000                                        42.50   2,021,791.40
                                                        04/14/13
04/23/13     50128        Michael Walker                Services rendered for Period of 04/15/13 -         3731-000                                    1,062.50    2,020,728.90
                                                        04/21/13
04/26/13     50129        Michael Walker                Reimbursement of Expenses for 04/02/13                                                            902.96   2,019,825.94
                                                           Sam's Club 01/22/13                 64.18       3732-000                                                2,019,825.94
                                                           Sam's Club 01/22/13                 64.18       3732-000                                                2,019,825.94
                                                           Verizon Bill for Period            754.65       3732-000                                                2,019,825.94


                                                                                                 Subtotals :                    $1,578.79            $34,752.21
{} Asset reference(s)                                                                                                                    Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                     Doc 687             Filed 12/04/20                 Page 80 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                  Form 2                                                                                         Page: 35

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                            Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                       Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                              Separate Bond: N/A

   1            2                             3                                     4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                   T-Code              $                   $       Account Balance
                                                              February 10, 2013 -
                                                              March 9, 2013
                                                              Granger Post Office                  19.95        3732-000                                               2,019,825.94
                                                              03/29/13
04/30/13                 Rabobank, N.A.                    Bank and Technology Services Fee                     2600-000                                  3,068.49     2,016,757.45
05/02/13     50130       Michael Walker                    Services rendered for Period of 04/22/13 -           3731-000                                      168.43   2,016,589.02
                                                           04/28/13
05/17/13                 Pacific Wheel Inc.                Return of Escrow Account Pursuant to                 2990-000                               -498,083.14     2,514,672.16
                                                           Purchase Agreement [Docket No.: 203]
05/20/13     50131       HILL ARCHIVE                      Invoice No.: 016436 Storage for Period of June 2410-000                                            279.38   2,514,392.78
                                                           2013
05/28/13     50132       Toyota Motor Credit Corporation   Balance of February, March, April & May 2013         2410-000                                  3,491.40     2,510,901.38
                                                           Installments re: Lease for Model No.:
                                                           8FGCU25, Serial Nos.: 36319, 36348 & 36399
                                                           [Docket No.: 168]
05/29/13     50133       Integra Certified Document        Invoice No.: 0013948253 Document                     2420-000                                  1,157.93     2,509,743.45
                         Destruction, LLC                  Destruction
05/31/13                 Rabobank, N.A.                    Bank and Technology Services Fee                     2600-000                                  2,972.60     2,506,770.85
06/04/13                 Pacific Wheel                     Return of Escrow Account Pursuant to                 2990-000                                       -8.73   2,506,779.58
                                                           Purchase Agreement [Docket No.: 203]
06/12/13     50134       Michael Walker                    Services rendered for Period of 05/20/13 -           3731-000                                      170.00   2,506,609.58
                                                           05/26/13
06/12/13     50135       Michael Walker                    Services rendered for Period of 05/27/13 -           3731-000                                      170.00   2,506,439.58
                                                           06/02/13 (No Hours in June)
06/12/13     50136       Michael Walker                    Services rendered for Period of 06/03/13 -           3731-000                                      212.50   2,506,227.08
                                                           06/09/13
06/13/13      {21}       Faurecia Exhaust Systems, Inc.    Pursuant to Receivable Settlement Agreement          1121-000             50,000.00                         2,556,227.08
                                                           [Docket No.: 351]
06/19/13     50137       HILL ARCHIVE                      Invoice No.: 016699 Storage for Period of July       2410-000                                      279.38   2,555,947.70
                                                           2013
06/21/13      {33}       Tenneco                           Invoice No.: 2191301                                 1221-000             10,263.84                         2,566,211.54
06/28/13                 Rabobank, N.A.                    Bank and Technology Services Fee                     2600-000                                  2,684.93     2,563,526.61
07/02/13     50138       D. L. Exports International LLC   Second Interim Compensation for the Period of 3731-000                                         4,255.00     2,559,271.61
                                                           November 1, 2013 - April 10, 2013 [Docket
                                                           No.: 367]
07/08/13     50139       Toyota Motor Credit Corporation   June 2013 Installment re: Lease for Model No.:       2410-000                                  1,089.90     2,558,181.71
                                                           8FGCU25, Serial Nos.: 36319, 36348 & 36399
                                                           [Docket No.: 168]
07/09/13      {16}       Bhupinder S. Vilkhu               Proceeds re: Sale of Assets Pursuant to              1129-000                   1.00                        2,558,182.71
                                                                                                     Subtotals :                    $60,264.84        $-478,091.93
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                         Doc 687          Filed 12/04/20                    Page 81 of 114

                                                                                                                                                                                    Exhibit 9


                                                                                    Form 2                                                                                          Page: 36

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:              Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:            Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:              ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                          3                                          4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                   T-Code              $                   $       Account Balance
                                                              Agreement [Docket No.: 380]
07/17/13     50140       HILL ARCHIVE                         Invoice No.: 016975 Storage for Period of           2410-000                                        279.38   2,557,903.33
                                                              August 2013
07/19/13     50141       Michael Walker                       Reimbursement for United Airline Ticket to          3732-000                                     6,318.60    2,551,584.73
                                                              China
07/19/13     50142       Michael Walker                       Reimbursement re: Meetings with Fox                 3732-000                                         67.93   2,551,516.80
                                                              Rothschild
07/22/13     50143       FOX ROTHSCHILD LLP                   Second Interim Compensation &                                                                  594,890.54    1,956,626.26
                                                              Reimbursement of Expenses for Period of
                                                              November 1, 2012 - May 31, 2013 [Docket No.:
                                                              370]
                                                                 [Partial] Compensation        561,464.81         3210-000                                                 1,956,626.26
                                                                 for Professional Services
                                                                 for Period of November
                                                                 1, 2012 - May 31, 2013
                                                                 Reimbursement of                33,425.73        3220-000                                                 1,956,626.26
                                                                 Expenses for Period of
                                                                 November 1, 2012 - May
                                                                 31, 2013
07/26/13     50144       Toyota Motor Credit Corporation      July 2013 Installment re: Lease for Model No.:      2410-000                                     1,089.90    1,955,536.36
                                                              8FGCU25, Serial Nos.: 36319, 36348 & 36399
                                                              [Docket No.: 168]
07/31/13     50145       Hess Enterprises India Private Ltd   Packing Charges for Shipping of Horizontal          2990-000                                     4,500.00    1,951,036.36
                                                              Spinner & Server
07/31/13                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     3,164.38    1,947,871.98
08/14/13     50146       International Sureties LTD.          Bond No.: 016052119 for Period 09/06/13 -           2300-004                                    14,000.00    1,933,871.98
                                                              09/06/14
                                                              Voided on 10/07/13
08/15/13     50147       Michael Walker                       Balance Due Pursuant to Order Amending              3731-000                                        246.87   1,933,625.11
                                                              Terms of Employment as Consultant [Docket
                                                              No.: 369] Services rendered for Period of
                                                              02/14/13 - 06/09/13
08/15/13     50148       Toyota Motor Credit Corporation      August 2013 Installment re: Lease for Model         2410-000                                     1,089.90    1,932,535.21
                                                              No.: 8FGCU25, Serial Nos.: 36319, 36348 &
                                                              36399 [Docket No.: 168]
08/20/13     50149       HILL ARCHIVE                         Invoice No.: 017220 Storage for Period of           2410-000                                        279.38   1,932,255.83
                                                              September 2013
08/30/13                 Rabobank, N.A.                       Bank and Technology Services Fee                    2600-000                                     2,876.71    1,929,379.12
09/03/13     50150       Toyota Motor Credit Corporation      September 2013 Installment re: Lease for            2410-000                                     1,089.90    1,928,289.22

                                                                                                          Subtotals :                        $0.00       $629,893.49
{} Asset reference(s)                                                                                                                            Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                     Doc 687          Filed 12/04/20                   Page 82 of 114

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 37

                                                      Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                          Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                     Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                             3                                     4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From              Description of Transaction                  T-Code              $                   $       Account Balance
                                                           Model No.: 8FGCU25, Serial Nos.: 36319,
                                                           36348 & 36399 [Docket No.: 168]
09/04/13     50151        HILL ARCHIVE                     Invoice No.: 0016184 Realization Services           2420-000                                       903.06   1,927,386.16
                                                           Document Review & Scan Images to DVD
09/16/13     50152        HILL ARCHIVE                     Invoice No.: 017464 Storage for Period of           2410-000                                       279.38   1,927,106.78
                                                           October 2013
09/30/13                  Rabobank, N.A.                   Bank and Technology Services Fee                    2600-000                                    2,780.82    1,924,325.96
10/07/13       {1}        Dana Driveshaft Mfg., LLC        Accounts Receivable Pursuant to Letter of           1121-000            163,188.96                          2,087,514.92
                                                           Understanding and Related Agreement
                                                           [Docket No.: 263]
10/07/13     50146        International Sureties LTD.      Bond No.: 016052119 for Period 09/06/13 -           2300-004                                  -14,000.00    2,101,514.92
                                                           09/06/14
                                                           Voided: check issued on 08/14/13
10/07/13     50153        Michael Walker                   Reimbursment re: UPS Store 08/01/13 for hard 3732-000                                               38.39   2,101,476.53
                                                           drives to Fox
10/07/13     50154        Michael Walker                   Reimbursement of Expenses for August 2013                                                          604.37   2,100,872.16
                                                              Reimbursement for                   64.00        3732-000                                                2,100,872.16
                                                              parking at O'Hare
                                                              08/15/13
                                                              Reimbursement re:                     6.27       3732-000                                                2,100,872.16
                                                              Sbarro (Toll Road)
                                                              08/15/13
                                                              Reimbursement re:                     7.02       3732-000                                                2,100,872.16
                                                              Burger King (China)
                                                              08/15/13
                                                              Reimbursement re:                 506.65         3732-000                                                2,100,872.16
                                                              Peninsula Shanghai
                                                              (Car) 08/15/13
                                                              Reimbursement re:                   20.43        3732-000                                                2,100,872.16
                                                              Foreign Transaction
                                                              Fees 08/21/13
10/07/13     50155        BDP International                Invoice No.: XX-XXXXXXX Ocean freight,              2420-000                                    8,647.78    2,092,224.38
                                                           customs and duty charges re: India shipment
10/16/13     50156        HILL ARCHIVE                     Invoice No.: 017744 Storage for Period of           2410-000                                       279.38   2,091,945.00
                                                           November 2013
10/22/13     50157        TransPerfect Document            First Interim Compensaion for Professional                                                     41,752.97    2,050,192.03
                          Management, Inc.                 Fees and Reimbursement of Expenses for
                                                           Period of 07/08/13 - 08/23/13 [Docket No.: 406]
                                                              First Interim                   31,010.00        3991-000                                                2,050,192.03

                                                                                                    Subtotals :                  $163,188.96             $41,286.15
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                          Case 12-12036-CSS                     Doc 687          Filed 12/04/20                    Page 83 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                  Form 2                                                                                          Page: 38

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                            3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                   T-Code              $                   $       Account Balance
                                                               Compensaion for
                                                               Professional Fees for
                                                               Period of 07/08/13 -
                                                               08/23/13
                                                               First Interim                  10,742.97          3992-000                                                2,050,192.03
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               07/08/13 - 08/23/13
10/28/13     50158       Gibson Insurance Group             Workers' Compensation Insurance Policy No.:          2420-000                                       457.00   2,049,735.03
                                                            WC0003345 Period of 8/01/13 - 8/01/14
10/31/13                 Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                    3,164.38    2,046,570.65
11/04/13     50159       BDP International                  Invoice No.: XX-XXXXXXX-01 Inland freight,           2420-000                                       934.77   2,045,635.88
                                                            customs, storage & vacis exam re: India
                                                            shipment
11/05/13      {16}       Maumee Assembly & Stamping,        Proceeds re: Sale of (1) Two-Axis Horizontal         1129-000            100,000.00                          2,145,635.88
                         LLC                                Spinner [Asset Notice - Docket No.: 409]
11/06/13      {23}       Louis Padnos Iron & Metal Company Invoice No.: 7374664 Sale of Misc Unprepared          1129-000              1,854.43                          2,147,490.31
                                                            Steel 7 #1 Heavy Copper Solids
11/06/13     50160       Toyota Motor Credit Corporation    October 2013 Installment re: Lease for Model         2410-000                                    1,089.90    2,146,400.41
                                                            No.: 8FGCU25, Serial Nos.: 36319, 36348 &
                                                            36399 [Docket No.: 168]
11/18/13     50161       HILL ARCHIVE                       Invoice No.: 017999 Storage for Period of            2410-000                                       279.38   2,146,121.03
                                                            December 2013
11/29/13                 Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                    2,684.93    2,143,436.10
12/09/13     50162       Integra Certified Document         Invoice No.: 0014551743 Document                     2420-000                                       808.80   2,142,627.30
                         Destruction, LLC                   Destruction
12/17/13     50163       HILL ARCHIVE                       Invoice No.: 018254 Storage for Period of            2410-000                                       279.38   2,142,347.92
                                                            January 2014
12/31/13                 Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                    3,164.38    2,139,183.54
01/07/14      {35}       Gibson                             Settlement of Preference [Demand Letter]             1241-000              8,000.00                          2,147,183.54
                                                            [Docket No.: 447]
01/15/14      {35}       American Express Travel Related    Settlement of Preference [Demand Letter]             1241-000             12,300.00                          2,159,483.54
                         Services, Inc.                     [Docket No.: 447]
01/15/14     50164       Blank Rome LLP                     Compensation for Professional Fees and                                                          17,847.45    2,141,636.09
                                                            Reimbursement of Expenses for Period of
                                                            August 6, 2013 - November 30, 2013 [Docket
                                                            No.: 425]
                                                               Compensation for               17,827.50          3210-000                                                2,141,636.09
                                                               Professional Fees for

                                                                                                       Subtotals :                 $122,154.43             $30,710.37
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                  Doc 687               Filed 12/04/20                Page 84 of 114

                                                                                                                                                                              Exhibit 9


                                                                                Form 2                                                                                        Page: 39

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                    Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                      4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                T-Code              $                   $       Account Balance
                                                            Period of August 6, 2013
                                                            - November 30, 2013
                                                            Reimbursement of                      19.95      3220-000                                                2,141,636.09
                                                            Expenses for Period of
                                                            August 6, 2013 -
                                                            November 30, 2013
01/17/14     50165       International Sureties LTD.     Bond Premium on Ledger Balance as of                2300-000                                    3,127.55    2,138,508.54
                                                         01/01/2014 Bond No.: 016026389 Period
                                                         01/01/14 - 01/01/15
01/17/14     50166       HILL ARCHIVE                    Invoice No.: 018522 Storage for Period of           2410-000                                       279.38   2,138,229.16
                                                         February 2014
01/31/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,972.60    2,135,256.56
02/18/14      {35}       Eagle Automation Services LLC   Settlement of Preference (d/b/a Elite               1241-000              1,500.00                          2,136,756.56
                                                         Automation Group, Inc.) [Demand] [Docket
                                                         No.: 475]
02/18/14     50167       Integra Certified Document      Hard Drive/Document Destruction                                                                    856.80   2,135,899.76
                         Destruction, LLC
                                                            Invoice No.: 0014666010              136.80      2420-000                                                2,135,899.76
                                                            Document Destruction
                                                            Invoice No.: 0014911045              720.00      2420-000                                                2,135,899.76
                                                            Hard Drive Disposal
02/20/14     50168       TransPerfect Document           Second Interim Compensation for Professional                                                    6,580.55    2,129,319.21
                         Management, Inc.                Fees and Reimbursement of Expenses for
                                                         Period of 09/01/13 - 12/31/13 [Docket No.: 440]
                                                            Second Interim                   3,835.00        3991-000                                                2,129,319.21
                                                            Compensation for
                                                            Professional Fees for
                                                            Period of 09/01/13 -
                                                            12/31/13 [Docket No.:
                                                            440]
                                                            Second Interim                   2,745.55        3992-000                                                2,129,319.21
                                                            Reimbursement of
                                                            Expenses for Period of
                                                            09/01/13 - 12/31/13
                                                            [Docket No.: 440]
02/28/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,684.93    2,126,634.28
03/04/14     50169       HILL ARCHIVE                    Invoice No.: 018780 Storage for Period of           2410-000                                       279.38   2,126,354.90
                                                         March 2014
03/05/14                 From Account #******5471        Transfer Funds to Account Ending 5466 that          9999-000             29,740.03                          2,156,094.93

                                                                                                   Subtotals :                   $31,240.03            $16,781.19
{} Asset reference(s)                                                                                                                      Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                     Doc 687             Filed 12/04/20                   Page 85 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                  Form 2                                                                                          Page: 40

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                          3                                        4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                   T-Code              $                   $       Account Balance
                                                            were Deposited into Account Ending 5471 in
                                                            Error [Global Surety, LLC $1,232.00, USPS
                                                            $8.03, Midwest Energy Cooperative
                                                            $23,500.00 & Delta Dental of Michigan, Inc.
                                                            $5,000.00]
03/10/14      {33}       American Axle & Manufacturing      Accounts Receivable - Moving/Transititional          1221-000              2,100.00                          2,158,194.93
                                                            Payment
03/18/14     50170       HILL ARCHIVE                       Invoice No.: 019040 Storage for Period of April      2410-000                                       279.38   2,157,915.55
                                                            2014
03/19/14     50171       Stegner Controls, LLC              [Funded by Transfer from Account Ending              4210-000                                   75,000.00    2,082,915.55
                                                            5469 on 01/13/15] Pursuant to Settlement
                                                            Agreement [Adversary No.: 13-51196] between
                                                            Stegner Controls, LLC, Morrell Inc. and
                                                            Comerica Bank [Docket No.: 37 Adversary
                                                            Case]
03/21/14     50172       Giuliano, Miller & Co., LLC        1st Fee Application for Compensation of                                                        134,860.99    1,948,054.56
                                                            Professional Fees and Reimbursement of
                                                            Expenses for Period of July 12, 2012 - October
                                                            31, 2012 [Docket No.: 237]
                                                               1st Fee Application for       130,471.00          3310-000                                                1,948,054.56
                                                               Compensation of
                                                               Professional Fees for
                                                               Period of July 12, 2012 -
                                                               October 31, 2012
                                                               1st Fee Application for          4,389.99         3320-000                                                1,948,054.56
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               July 12, 2012 - October
                                                               31, 2012
03/31/14                 Rabobank, N.A.                     Bank and Technology Services Fee                     2600-000                                    2,780.82    1,945,273.74
04/11/14     50173       Michael Walker                     Services for Period of June 10, 2013 -               3731-000                                    7,803.00    1,937,470.74
                                                            December 30, 2013
04/11/14     50174       Kevin Gearhart                     Services for Period of June 13, 2013 -               2690-000                                       800.00   1,936,670.74
                                                            November 26, 2013
04/11/14     50175       Michael Lira                       Services for Period of September 4, 2013 -           2420-000                                       693.25   1,935,977.49
                                                            November 18, 2013
04/14/14     50176       Michael Walker                     Services for Period of June 10, 2013 -               3731-004                                    6,545.00    1,929,432.49
                                                            December 30, 2013 (BAO Steel/IOFAJ)
                                                            Voided on 04/14/14


                                                                                                      Subtotals :                     $2,100.00        $228,762.44
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                      Doc 687            Filed 12/04/20                  Page 86 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                     Form 2                                                                                       Page: 41

                                                    Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                         Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                            Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                       Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                            3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From                Description of Transaction                  T-Code              $                   $       Account Balance
04/14/14     50176        Michael Walker                     Services for Period of June 10, 2013 -              3731-004                                   -6,545.00    1,935,977.49
                                                             December 30, 2013 (BAO Steel/IOFAJ)
                                                             Voided: check issued on 04/14/14
04/28/14      {35}        Cellco partnership d/b/a Verizon   Settlement of Preference [Docket No.: 480]          1241-000              5,000.00                          1,940,977.49
                          Wireless
04/28/14     50177        HILL ARCHIVE                       Invoice No.: 019297 Storage for Period of May       2410-000                                       279.38   1,940,698.11
                                                             2014
04/30/14                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                    3,068.49    1,937,629.62
05/01/14      {35}        Siemens Industry, Inc.             Settlement of Preference (Demand) [Docket           1241-000              1,000.00                          1,938,629.62
                                                             No.: 475]
05/06/14     50178        Faurecia Emissions Control         Pursuant to Docket No.: 99 re: Completion                                                      84,495.16    1,854,134.46
                          Technologies, USA, LLC             Damages for Refurbished Machine
              {11}                                              Reimburse MTI for               39,641.50        1129-000                                                1,854,134.46
                                                                Refurbishment (#1)
              {11}                                              Reimburse MTI for               31,077.50        1129-000                                                1,854,134.46
                                                                Refurbishment (#2)
              {11}                                              Reimburse                        5,756.16        1129-000                                                1,854,134.46
                                                                Freight/Shipping
                                                                Charges to Deliver
                                                                Machine to Queretaro,
                                                                Mexico
              {11}                                              Reimburse for                    8,020.00        1129-000                                                1,854,134.46
                                                                Installation, Start-Up and
                                                                Support
               {1}                                              Faurecia Exhaust                -15,504.84       1121-000                                                1,854,134.46
                                                                Systems A/R balance
                                                                after all Damages
              {11}                                              Transfer Balance of             15,504.84        1129-000                                                1,854,134.46
                                                                Escrow to A/R
05/20/14     50179        HILL ARCHIVE                       Invoice No.: 019559 Storage for Period of June 2410-000                                            279.38   1,853,855.08
                                                             2014
05/30/14                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                    2,876.71    1,850,978.37
06/19/14     50180        HILL ARCHIVE                       Invoice No.: 019835 Storage for Period of July      2410-000                                       279.38   1,850,698.99
                                                             2014
06/30/14     50181        TransPerfect Document              Third Interim Compensaion for Professional          3991-000                                    2,225.00    1,848,473.99
                          Management, Inc.                   Fees for Period of 01/01/14 - 05/31/14 [Docket
                                                             No.: 474]
06/30/14                  Rabobank, N.A.                     Bank and Technology Services Fee                    2600-000                                    2,780.82    1,845,693.17
07/16/14     50182        HILL ARCHIVE                       Invoice No.: 020110 Storage for Period of           2410-000                                       279.38   1,845,413.79

                                                                                                      Subtotals :                     $6,000.00            $90,018.70
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                   Doc 687              Filed 12/04/20                Page 87 of 114

                                                                                                                                                                              Exhibit 9


                                                                                Form 2                                                                                        Page: 42

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                      Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                         Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                    Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                         Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                           Separate Bond: N/A

   1            2                           3                                     4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction               T-Code              $                   $       Account Balance
                                                         August 2014
07/31/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    3,164.38     1,842,249.41
08/19/14     50183       HILL ARCHIVE                    Invoice No.: 030393 Storage for Period of           2410-000                                       279.38    1,841,970.03
                                                         September 2014
08/29/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,780.82     1,839,189.21
09/17/14     50184       HILL ARCHIVE                    Invoice No.: 020677 Storage for Period of           2410-000                                       279.38    1,838,909.83
                                                         October 2014
09/30/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    3,068.49     1,835,841.34
10/20/14     50185       HILL ARCHIVE                    Invoice No.: 0209257 Storage for Period of          2410-000                                       279.38    1,835,561.96
                                                         November 2014
10/31/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,972.60     1,832,589.36
11/17/14     50186       HILL ARCHIVE                    Invoice No.: 021233 Storage for Period of           2410-000                                       279.38    1,832,309.98
                                                         December 2014
11/28/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,589.04     1,829,720.94
12/15/14     50187       HILL ARCHIVE                    Invoice No.: 21513 Storage for Period of            2410-000                                       279.38    1,829,441.56
                                                         January 2015
12/31/14                 Comerica Bank                   Payment on Secured Claim [Docket No.: 85]           4210-000                                  660,951.00     1,168,490.56
12/31/14                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    3,260.27     1,165,230.29
01/06/15                 From Account #******5470        Transfer Funds to Account No.: 5005215466           9999-000            660,951.00                           1,826,181.29
                                                         re: Outgoing Wire to Comerica for (77.5% of
                                                         $852,840.00) Payment on Secured Claim
                                                         [Docket No.: 85]
01/13/15                 From Account #******5469        Transfer Funds to Replenish Account Ending          9999-000             75,000.00                           1,901,181.29
                                                         5466 re: Check No.: 50171 03/19/14
01/16/15     50188       HILL ARCHIVE                    Invoice No.: 021795 Storage for Period of           2410-000                                       279.38    1,900,901.91
                                                         February 2015
01/26/15     50189       International Sureties LTD.     Chapter 7 Blanket Bond No.: 016026389 for           2300-000                                    2,616.31     1,898,285.60
                                                         Period of 01/01/15 - 01/01/16
01/27/15     50190       The Gardner Firm                Settlement and Release Agreement between            5300-000                                  375,000.00     1,523,285.60
                                                         Steve Schroeder, on behalf of himself and as
                                                         Class representative on behalf of the other
                                                         class members and Hess Industries [Docket
                                                         No.: 54]
01/30/15                 Rabobank, N.A.                  Bank and Technology Services Fee                    2600-000                                    2,876.71     1,520,408.89
02/16/15     50191       HILL ARCHIVE                    Invoice No.: 022079 Storage for Period of           2410-000                                       287.25    1,520,121.64
                                                         March 2015
02/18/15                 Gibson Insurance Group          Refund Workers' Compensation Insurance              2420-000                                       -469.00   1,520,590.64
                                                         Policy No.: WC0003345 Period of 8/01/13 -


                                                                                                    Subtotals :                $735,951.00         $1,060,774.15
{} Asset reference(s)                                                                                                                      Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                    Doc 687            Filed 12/04/20                  Page 88 of 114

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                        Page: 43

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                       Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                          Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                     Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                           3                                       4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                 T-Code              $                   $       Account Balance
                                                         8/01/14
02/27/15                 Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    2,684.93    1,517,905.71
03/02/15     50192       TransPerfect Document           Fourth Fee Application for Compensation of           3991-000                                    5,600.00    1,512,305.71
                         Management, Inc.                Professional Services for Period of June 1,
                                                         2014 - December 31, 2014 [Docket No.: 518]
03/17/15                 International Sureties LTD.     Refund re: Premium Adjustment                        2300-000                                   -1,071.87    1,513,377.58
03/20/15     50193       HILL ARCHIVE                    Invoice No.: 022360 Storage for Period of April      2410-000                                       281.25   1,513,096.33
                                                         2015
03/20/15     50194       Carlton Creek Finco LLC         Pursuant to Joint Stipulation re: Carlton Creek      4210-000                                  191,889.00    1,321,207.33
                                                         Finco, LLC [Docket No.: 86] & Adversary
                                                         14-50073 (22.5%) [Docket No.: 1]
03/31/15                 Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    3,068.49    1,318,138.84
04/07/15                 From Account #******5471        Transfer Funds to Account Ending 5466 that           9999-000              2,596.00                          1,320,734.84
                                                         were Deposited into Account Ending 5471 in
                                                         Error [Mettler-Toledo, LLC Deposit No.:
                                                         100009-1]
04/20/15     50195       HILL ARCHIVE                    Invoice No.: 022643 Storage for Period of May                                                       293.62   1,320,441.22
                                                         2015 & Initial Container Input of (7) Containers
                                                            Invoice No.: 022643                    8.40       2420-000                                                1,320,441.22
                                                            Initial Container Input of
                                                            (7) Containers
                                                            Invoice No.: 022643                 285.22        2410-000                                                1,320,441.22
                                                            Storage for Period of
                                                            May 2015
04/30/15                 Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    2,876.71    1,317,564.51
05/20/15     50196       HILL ARCHIVE                    Invoice No.: 022932 Storage for Period of June                                                      296.47   1,317,268.04
                                                         2015 & Initial Container Input of (8) Containers
                                                            Invoice No.: 022932                    9.60       2420-000                                                1,317,268.04
                                                            Initial Container Input of
                                                            (8) Containers
                                                            Invoice No.: 022932                 286.87        2410-000                                                1,317,268.04
                                                            Storage for Period of
                                                            June 2015
05/29/15                 Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    2,780.82    1,314,487.22
06/22/15     50197       HILL ARCHIVE                    Invoice No.: 023217 Storage for Period of July       2410-000                                       286.87   1,314,200.35
                                                         2015
06/30/15                 Rabobank, N.A.                  Bank and Technology Services Fee                     2600-000                                    3,068.49    1,311,131.86
07/15/15     50198       HILL ARCHIVE                    Invoice No.: 0235626 Storage for Period of           2410-000                                       286.87   1,310,844.99
                                                         August 2015

                                                                                                   Subtotals :                     $2,596.00        $212,341.65
{} Asset reference(s)                                                                                                                       Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                   Doc 687             Filed 12/04/20                    Page 89 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                Form 2                                                                                           Page: 44

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                       Trustee:              Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                          Bank Name:            Mechanics Bank
                    and Hess Engineering, Inc.                                                     Account:              ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                          Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                           3                                     4                                                  5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From            Description of Transaction                      T-Code              $                   $       Account Balance
07/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     2,972.60    1,307,872.39
08/20/15     50199       TransPerfect Document          Fifth Fee Application for Compensation for             3991-000                                    12,303.36    1,295,569.03
                         Management, Inc.               Period of January 1, 2015 - June 30, 2015
                                                        [Docket No.: 534]
08/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     2,780.82    1,292,788.21
09/03/15     50200       HILL ARCHIVE                   Invoice No.: 023825 Storage for Period of              2410-000                                        286.87   1,292,501.34
                                                        September 2015
09/16/15     50201       HILL ARCHIVE                   Invoice No.: 024117 Storage for Period of              2410-000                                        286.87   1,292,214.47
                                                        October 2015
09/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     3,068.49    1,289,145.98
10/19/15     50202       HILL ARCHIVE                   Invoice No.: 024408 Storage for Period of              2410-000                                        286.87   1,288,859.11
                                                        November 2015
10/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     2,876.71    1,285,982.40
11/23/15     50203       HILL ARCHIVE                   Invoice No.: 024710 Storage for Period of              2410-000                                        286.87   1,285,695.53
                                                        December 2015
11/24/15     50204       Cozen O'Connor                 File No.: 363171.000 (1/2) Hess Industries v.                                                       6,090.25    1,279,605.28
                                                        Justin Hillenbrand, et al. Mediation Fees &
                                                        Reimbursement of Expenses
                                                           File No.: 363171.000                6,076.25        3721-000                                                 1,279,605.28
                                                           (1/2) Hess Industries v.
                                                           Justin Hillenbrand, et al.
                                                           Mediation Fees
                                                           File No.: 363171.000                   14.00        3722-000                                                 1,279,605.28
                                                           (1/2) Hess Industries v.
                                                           Justin Hillenbrand, et al.
                                                           Reimbursement of
                                                           Expenses
11/30/15                 TransPerfect Document          Reimbursement for Invoice No.: 078269                  3991-000                                    -2,268.00    1,281,873.28
                         Management, Inc.               [Incorrectly billed in the 5th Interim Order
                                                        Docket No.: 534 Check No.: 50199]
11/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     2,780.82    1,279,092.46
12/16/15     50205       HILL ARCHIVE                   Invoice No.: 025021 Storage for Period of              2410-000                                        286.87   1,278,805.59
                                                        January 2016
12/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                       2600-000                                     3,164.38    1,275,641.21
01/05/16     50206       International Sureties LTD.    BOND PREMIUM PAYMENT ON LEDGER                         2300-000                                        897.19   1,274,744.02
                                                        BALANCE AS OF 11/30/2015 FOR CASE
                                                        #12-12036, Bond No.: 016026389 for Period of
                                                        01/01/16 - 01/01/17
01/19/16     50207       HILL ARCHIVE                   Invoice No.: 025331 Storage for Period of              2410-000                                        288.74   1,274,455.28

                                                                                                       Subtotals :                        $0.00           $36,389.71
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                       Doc 687            Filed 12/04/20                Page 90 of 114

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 45

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                           3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
                                                            February 2016
01/29/16                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                    2,773.48    1,271,681.80
02/17/16     50208       HILL ARCHIVE                       Invoice No.: 025638 Storage for Period of          2410-000                                       288.74   1,271,393.06
                                                            March 2016
02/26/16     50209       Giuliano, Miller & Co., LLC        Second Fee Application for Compensation of                                                   287,180.91     984,212.15
                                                            Professional Fees and Reimbursement of
                                                            Expenses for Period of November 1, 2012 -
                                                            December 31, 2015 [Docket No.: 542]
                                                               Second Fee Application        275,444.00        3310-000                                                 984,212.15
                                                               for Compensation of
                                                               Professional Fees for
                                                               Period of November 1,
                                                               2012 - December 31,
                                                               2015
                                                               Second Fee Application         11,736.91        3320-000                                                 984,212.15
                                                               for Reimbursement of
                                                               Expenses for Period of
                                                               November 1, 2012 -
                                                               December 31, 2015
02/26/16     50210       TransPerfect Document              Sixth Fee Application for Compensation for         3991-000                                    4,900.00     979,312.15
                         Management, Inc.                   Period of July 1, 2015 - October 31, 2015
                                                            [Docket No.: 540]
02/26/16     50211       Stout Risius Ross, Inc.            First Fee Application for Compensation of                                                     71,078.76     908,233.39
                                                            Professional Fees & Reimbursement of
                                                            Expenses for Period of February 25, 2015 -
                                                            September 24, 2015 [Docket No.: 539]
                                                               First Fee Application for      68,918.00        3410-000                                                 908,233.39
                                                               Compensation of
                                                               Professional Fees for
                                                               Period of February 25,
                                                               2015 - September 24,
                                                               2015
                                                               First Fee Application for        2,160.76       3420-000                                                 908,233.39
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               February 25, 2015 -
                                                               September 24, 2015
03/01/16                 Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                    2,773.22     905,460.17
03/02/16      {39}       Sub-Zero Group, Inc.               Settlement of Adversary No.: 15-51345              1249-000             78,000.00                           983,460.17
                                                            [Adversary Docket No.: 14]
                                                                                                    Subtotals :                    $78,000.00        $368,995.11
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                    Doc 687           Filed 12/04/20                    Page 91 of 114

                                                                                                                                                                                 Exhibit 9


                                                                                  Form 2                                                                                         Page: 46

                                                     Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                              Separate Bond: N/A

   1            2                           3                                      4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From             Description of Transaction                    T-Code              $                   $       Account Balance
03/03/16     50212        FOX ROTHSCHILD LLP              Balance of Second Interim Compensation for            3210-000                                  271,561.94     711,898.23
                                                          Period of November 1, 2012 - May 31, 2013
                                                          [Docket No.: 370]
03/15/16                  From Account #******5470        Transfer Funds to Reimburse Account Ending            9999-000            191,889.00                           903,787.23
                                                          5466 re: Escrow Payment to Carlton Creek
                                                          Pursuant to Docket No.: 86 [Check No.: 50194
                                                          03/20/15]
03/18/16     50213        HILL ARCHIVE                    Invoice No.: 025955 Storage for Period of April       2410-000                                       288.74    903,498.49
                                                          2016
03/25/16                  Monomoy Capital, MCP Fund,      Proceeds (Partial) from Global Settlement                               2,025,000.00                          2,928,498.49
                          Hillenbrand & O'Sullivan        Agreement [Docket No.: 555]
              {36}                                           Proceeds/Transfer            2,175,000.00          1241-000                                                2,928,498.49
                                                             Pursuant to Global
                                                             Settlement Agreement
               {2}                                           Transfer Funds from           -150,000.00          1290-000                                                2,928,498.49
                                                             Monomoy Capital
                                                             Pursuant to Global
                                                             Settlement Agreement
03/25/16      {36}        Monomoy Capital, MCP Fund,      Deposit re: Global Settlement Agreement               1241-000            300,000.00                          3,228,498.49
                          Hillenbrand & O'Sullivan        [Docket No.: 555]
03/25/16      {36}        Monomoy Capital, MCP Fund,      Proceeds (Partial) re: Global Settlement              1241-000             25,000.00                          3,253,498.49
                          Hillenbrand & O'Sullivan        Agreement [Docket No.: 555]
03/30/16      {40}        CanAmMex Exhaust USA            Settlement of Adversary No.: 15-51344 [Docket 1249-000                     20,000.00                          3,273,498.49
                                                          No.: 568]
03/31/16                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                    2,789.09    3,270,709.40
04/15/16     50214        HILL ARCHIVE                    Invoice No.: 026274 Storage for Period of May         2410-000                                       288.74   3,270,420.66
                                                          2016
04/29/16                  Rabobank, N.A.                  Bank and Technology Services Fee                      2600-000                                    2,773.22    3,267,647.44
05/18/16     50215        HILL ARCHIVE                    Invoice No.: 026595 Storage for Period of June 2410-000                                              288.74   3,267,358.70
                                                          2016
05/20/16     50216        FOX ROTHSCHILD LLP              Third Fee Application for Compensation and                                                   1,083,193.53     2,184,165.17
                                                          Reimbursement of Expenses for Period of
                                                          June 1, 2013 - November 30, 2015 [Docket
                                                          No.: 575]
                                                             Third Fee Application for    1,065,018.00          3210-000                                                2,184,165.17
                                                             Compensation for Period
                                                             of June 1, 2013 -
                                                             November 30, 2015
                                                             Third Fee Application for       18,175.53          3220-000                                                2,184,165.17

                                                                                                     Subtotals :                $2,561,889.00         $1,361,184.00
{} Asset reference(s)                                                                                                                         Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                   Doc 687           Filed 12/04/20                 Page 92 of 114

                                                                                                                                                                            Exhibit 9


                                                                              Form 2                                                                                        Page: 47

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                       Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                  Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                          3                                    4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From            Description of Transaction                 T-Code              $                   $       Account Balance
                                                           Reimbursement of
                                                           Expenses for Period of
                                                           June 1, 2013 -
                                                           November 30, 2015
05/23/16      {34}       RG Steel Disbursements         RG Steel Distribution, Case No.: 12-11661          1229-000                   0.84                         2,184,166.01
                                                        Pursuant to the Global Settlement Agreement
                                                        (Docket No.: 4464)
05/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,773.22    2,181,392.79
06/16/16     50217       HILL ARCHIVE                   Invoice No.: 026923 Storage for Period of July     2410-000                                       288.74   2,181,104.05
                                                        2016
06/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    3,155.73    2,177,948.32
07/18/16     50218       HILL ARCHIVE                   Invoice No.: 027239 Storage for Period of          2410-000                                       288.74   2,177,659.58
                                                        August 2016 & Initial Container Input (19)
                                                        Containers
07/29/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,773.22    2,174,886.36
08/16/16     50219       HILL ARCHIVE                   Invoice No.: 027567 Storage for Period of          2410-000                                       288.74   2,174,597.62
                                                        September 2016
08/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    3,155.73    2,171,441.89
09/15/16     50220       HILL ARCHIVE                   Invoice No.: 027890 Storage for Period of          2410-000                                       288.74   2,171,153.15
                                                        October 2016
09/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,868.85    2,168,284.30
10/18/16     50221       HILL ARCHIVE                   Invoice No.: 028230 Storage for Period of          2410-000                                       288.74   2,167,995.56
                                                        November 2016
10/31/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,773.22    2,165,222.34
11/16/16     50222       HILL ARCHIVE                   Invoice No.: 028570 Storage for Period of          2410-000                                       288.74   2,164,933.60
                                                        December 2016
11/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    3,060.10    2,161,873.50
12/19/16     50223       HILL ARCHIVE                   Invoice No.: 028912 Storage for Period of          2410-000                                       288.74   2,161,584.76
                                                        January 2017
12/30/16                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,868.85    2,158,715.91
01/16/17     50224       HILL ARCHIVE                   Invoice No.: 029259 Storage for Period of          2410-000                                       288.40   2,158,427.51
                                                        February 2017
01/16/17     50225       International Sureties LTD.    Blanket Bond Premium for Bond No.:                 2300-000                                    1,371.06    2,157,056.45
                                                        016026389 for Period of 01/01/17 - 01/01/18
01/31/17                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    3,067.96    2,153,988.49
02/17/17     50226       HILL ARCHIVE                   Invoice No.: 029614 Storage for Period of          2410-000                                       288.40   2,153,700.09
                                                        March 2017
02/28/17                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                    2,684.93    2,151,015.16


                                                                                                 Subtotals :                         $0.84           $33,150.85
{} Asset reference(s)                                                                                                                    Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                Doc 687              Filed 12/04/20                 Page 93 of 114

                                                                                                                                                                             Exhibit 9


                                                                               Form 2                                                                                        Page: 48

                                                  Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                       Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                  Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                        Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                          Separate Bond: N/A

   1            2                             3                                 4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                        Receipts         Disbursements    Checking
  Date      Check #           Paid To / Received From           Description of Transaction                  T-Code              $                   $       Account Balance
03/16/17     50227        HILL ARCHIVE                  Invoice No.: 029952 Storage for Period of April     2410-000                                       288.40   2,150,726.76
                                                        2017
03/17/17       {4}        State of Michigan             Turnover of Unclaimed Property                      1229-000              4,119.64                          2,154,846.40
03/31/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,972.60    2,151,873.80
04/20/17     50228        HILL ARCHIVE                  Invoice No.: 030309 Storage for Period of May       2410-000                                       288.40   2,151,585.40
                                                        2017
04/28/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,684.93    2,148,900.47
05/16/17     50229        HILL ARCHIVE                  Invoice No.: 030671 Storage for Period of June 2410-000                                            288.40   2,148,612.07
                                                        2017
05/31/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    3,164.38    2,145,447.69
06/16/17     50230        HILL ARCHIVE                  Invoice No.: 031045 Storage for Period of July      2410-000                                       288.40   2,145,159.29
                                                        2017
06/30/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,876.71    2,142,282.58
07/17/17     50231        HILL ARCHIVE                  Invoice No.: 031409 Storage for Period of           2410-000                                       288.40   2,141,994.18
                                                        August 2017
07/31/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,780.82    2,139,213.36
08/16/17     50232        HILL ARCHIVE                  Invoice No.: 031801 Storage for Period of           2410-000                                       288.40   2,138,924.96
                                                        September 2017
08/31/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    3,164.38    2,135,760.58
09/18/17     50233        HILL ARCHIVE                  Invoice No.: 228558-825 Shred 771 Boxes and 2420-000                                            4,944.04    2,130,816.54
                                                        Provide Certificate of Destruction
09/29/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,780.82    2,128,035.72
10/31/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    3,068.49    2,124,967.23
11/30/17                  Rabobank, N.A.                Bank and Technology Services Fee                    2600-000                                    2,876.71    2,122,090.52
12/19/17     50234        Fox Rothschild LLP            Fourth Fee Application for Compensation and                                                    96,046.99    2,026,043.53
                                                        Reimbursement of Expenses for Period of
                                                        December 1, 2015 - August 31, 2017 [Docket
                                                        No.: 596]
                                                           Fourth Fee Application            87,657.00      3210-000                                                2,026,043.53
                                                           for Compensation for
                                                           Period of December 1,
                                                           2015 - August 31, 2017
                                                           Fourth Fee Application             8,389.99      3220-000                                                2,026,043.53
                                                           for Reimbursement of
                                                           Expenses for Period of
                                                           December 1, 2015 -
                                                           August 31, 2017
12/19/17     50235        Comerica Bank                 Voided - Payment on Secured Claim [Docket           4210-004                                  588,240.98    1,437,802.55


                                                                                                  Subtotals :                    $4,119.64        $717,332.25
{} Asset reference(s)                                                                                                                     Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                 Doc 687             Filed 12/04/20                   Page 94 of 114

                                                                                                                                                                              Exhibit 9


                                                                               Form 2                                                                                         Page: 49

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                    Trustee:              Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                       Bank Name:            Mechanics Bank
                    and Hess Engineering, Inc.                                                  Account:              ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                       Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                           3                                   4                                                 5                     6                 7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From             Description of Transaction                  T-Code              $                   $       Account Balance
                                                         No.: 585]
                                                         Voided on 12/20/17
12/20/17     50235       Comerica Bank                   Voided - Payment on Secured Claim [Docket          4210-004                                -588,240.98      2,026,043.53
                                                         No.: 585]
                                                         Voided: check issued on 12/19/17
12/21/17                 Comerica Bank                   Payment on Secured Claim [Docket No.: 585]         4210-000                                   588,240.98    1,437,802.55
12/29/17                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,780.82    1,435,021.73
01/24/18     50236       International Sureties LTD.     Blanket Bond Premium for Bond No.:                 2300-000                                        803.64   1,434,218.09
                                                         016026389 for Period of 01/01/18 - 01/01/19
01/31/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     3,164.38    1,431,053.71
02/28/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,684.93    1,428,368.78
03/30/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,876.71    1,425,492.07
04/30/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,780.82    1,422,711.25
05/31/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     3,164.38    1,419,546.87
06/29/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,780.82    1,416,766.05
07/31/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     3,068.49    1,413,697.56
08/31/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     2,972.60    1,410,724.96
09/28/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     1,534.24    1,409,190.72
10/31/18                 Rabobank, N.A.                  Bank and Technology Services Fee                   2600-000                                     1,808.21    1,407,382.51
02/04/19                 From Account #******5470        Transfer to Main Account                           9999-000              74,160.00                          1,481,542.51
02/04/19                 From Account #******5469        Transfer to Main Account                           9999-000             375,000.00                          1,856,542.51
02/04/19                 From Account #******5468        Transfer to Main Account                           9999-000               1,668.43                          1,858,210.94
02/04/19                 From Account #******5467        Transfer to Main Account                           9999-000             143,455.00                          2,001,665.94
02/04/19                 Deposit Reversal                Transfer number 7 failed due to software           9999-000             -74,160.00                          1,927,505.94
                                                         communication error
02/04/19                 Deposit Reversal                Transfer number 8 failed due to software           9999-000            -375,000.00                          1,552,505.94
                                                         communication error
02/04/19                 Deposit Reversal                Transfer number 9 failed due to software           9999-000              -1,668.43                          1,550,837.51
                                                         communication error
02/04/19                 Deposit Reversal                Transfer number 10 failed due to software          9999-000            -143,455.00                          1,407,382.51
                                                         communication error
03/06/19                 TRANSFER FROM DEPOSIT           TRANSFER FROM DEPOSIT SYSTEM                       9999-000              74,160.00                          1,481,542.51
                         SYSTEM ACCOUNT ******5470       ACCOUNT ******5470
03/06/19     50237       International Sureties LTD.     Blanket Bond Premium for Bond No.:                 2300-000                                     1,467.87    1,480,074.64
                                                         016026389 for Period of 01/01/19 - 01/01/20
03/07/19                 From Account #******5468        TRANSFER TO DEPOSIT SYSTEM                         9999-000               1,668.43                          1,481,743.07
                                                         ACCOUNT ******5466
03/07/19                 From Account #******5469        TRANSFER TO DEPOSIT SYSTEM                         9999-000             375,000.00                          1,856,743.07

                                                                                                    Subtotals :                $450,828.43             $31,887.91
{} Asset reference(s)                                                                                                                      Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                     Doc 687              Filed 12/04/20                Page 95 of 114

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 50

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                          3                                         4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction               T-Code              $                   $       Account Balance
                                                            ACCOUNT ******5466
03/07/19                 From Account #******5467           TRANSFER TO DEPOSIT SYSTEM                         9999-000            143,455.00                         2,000,198.07
                                                            ACCOUNT ******5466
05/13/19     50238       Giuliano, Miller & Co., LLC        Third Fee Application for Professional Fees &                                                126,778.86   1,873,419.21
                                                            Reimbursement of Expenses for Period
                                                            January 1, 2016 - February 28, 2019 [Docket
                                                            No.: 625]
                                                               Third Fee Application for      125,147.50       3310-000                                               1,873,419.21
                                                               Professional Fees for
                                                               Period January 1, 2016 -
                                                               February 28, 2019
                                                               Third Fee Application for        1,631.36       3320-000                                               1,873,419.21
                                                               Reimbursement of
                                                               Expenses for Period
                                                               January 1, 2016 -
                                                               February 28, 2019
05/13/19     50239       Fox Rothschild LLP                 Fifth Fee Application for Professional Fees &                                                109,514.88   1,763,904.33
                                                            Reimbursement of Expenses for Period of
                                                            September 1, 2017 - March 31, 2019
                                                               Fifth Fee Application for       92,032.50       3210-000                                               1,763,904.33
                                                               Professional Fees for
                                                               Period of September 1,
                                                               2017 - March 31, 2019
                                                               Fifth Fee Application for       17,482.38       3220-000                                               1,763,904.33
                                                               Reimbursement of
                                                               Expenses for Period of
                                                               September 1, 2017 -
                                                               March 31, 2019
12/18/19     50240       Fox Rothschild LLP                 Final Compensation and Reimbursement of                                                       20,697.22   1,743,207.11
                                                            Expenses for Period of April 1, 2019 - May 20,
                                                            2019 [Docket No.: 658]
                                                               Final Compensation for          17,769.50       3210-000                                               1,743,207.11
                                                               Period of April 1, 2019 -
                                                               May 20, 2019
                                                               Final Reimbursement of           2,927.72       3220-000                                               1,743,207.11
                                                               Expenses for Period of
                                                               April 1, 2019 - May 20,
                                                               2019
02/04/20     50274       EFTPS                              Voided - Federal Income Tax                        5300-004                                   17,092.86   1,726,114.25
                                                            Voided on 02/04/20
                                                                                                     Subtotals :                 $143,455.00         $274,083.82
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS              Doc 687             Filed 12/04/20                Page 96 of 114

                                                                                                                                                                        Exhibit 9


                                                                            Form 2                                                                                      Page: 51

                                                 Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                   Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                              Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                   Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                     Separate Bond: N/A

   1            2                          3                                 4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                                   Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From          Description of Transaction               T-Code              $                   $       Account Balance
02/04/20     50274       EFTPS                         Voided - Federal Income Tax                     5300-004                                  -17,092.86    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50275       EFTPS                         Voided - Medicare                               5300-004                                   1,239.24     1,741,967.87
                                                       Voided on 02/04/20
02/04/20     50275       EFTPS                         Voided - Medicare                               5300-004                                   -1,239.24    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50276       EFTPS                         Voided - FICA                                   5300-004                                   5,298.77     1,737,908.34
                                                       Voided on 02/04/20
02/04/20     50276       EFTPS                         Voided - FICA                                   5300-004                                   -5,298.77    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50281       EFTPS                         Voided - FUTA                                   5800-004                                   4,739.38     1,738,467.73
                                                       Voided on 02/04/20
02/04/20     50281       EFTPS                         Voided - FUTA                                   5800-004                                   -4,739.38    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50282       EFTPS                         Voided - FICA                                   5800-004                                   5,298.77     1,737,908.34
                                                       Voided on 02/04/20
02/04/20     50282       EFTPS                         Voided - FICA                                   5800-004                                   -5,298.77    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50283       EFTPS                         Voided - Medicare                               5800-004                                   1,239.24     1,741,967.87
                                                       Voided on 02/04/20
02/04/20     50283       EFTPS                         Voided - Medicare                               5800-004                                   -1,239.24    1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50443       EFTPS                         Voided - Federal Income Tax                     7100-004                                      422.22    1,742,784.89
                                                       Voided on 02/04/20
02/04/20     50443       EFTPS                         Voided - Federal Income Tax                     7100-004                                      -422.22   1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50444       EFTPS                         Voided - FUTA                                   7100-004                                        9.43    1,743,197.68
                                                       Voided on 02/04/20
02/04/20     50444       EFTPS                         Voided - FUTA                                   7100-004                                        -9.43   1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50445       EFTPS                         Voided - FICA                                   7100-004                                      130.89    1,743,076.22
                                                       Voided on 02/04/20
02/04/20     50445       EFTPS                         Voided - FICA                                   7100-004                                      -130.89   1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50446       EFTPS                         Voided - FICA                                   7100-004                                      130.89    1,743,076.22
                                                       Voided on 02/04/20
02/04/20     50446       EFTPS                         Voided - FICA                                   7100-004                                      -130.89   1,743,207.11
                                                       Voided: check issued on 02/04/20
02/04/20     50447       EFTPS                         Voided - Medicare                               7100-004                                       30.61    1,743,176.50
                                                                                            Subtotals :                          $0.00        $-17,062.25
{} Asset reference(s)                                                                                                                Printed: 11/13/2020 09:50 AM        V.20.24
                                           Case 12-12036-CSS                    Doc 687            Filed 12/04/20                Page 97 of 114

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 52

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                           3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                 T-Code              $                   $       Account Balance
                                                            Voided on 02/04/20
02/04/20     50447       EFTPS                              Voided - Medicare                                  7100-004                                       -30.61   1,743,207.11
                                                            Voided: check issued on 02/04/20
02/04/20     50448       EFTPS                              Voided - Medicare                                  7100-004                                        30.61   1,743,176.50
                                                            Voided on 02/04/20
02/04/20     50448       EFTPS                              Voided - Medicare                                  7100-004                                       -30.61   1,743,207.11
                                                            Voided: check issued on 02/04/20
02/06/20     50241       A. T. Giuliano, P.C.               Trustee Compensation [Docket No.: 664]             2100-000                                  735,950.92    1,007,256.19
02/06/20     50242       A. T. Giuliano, P.C.               Trustee Expenses [Docket No.: 664]                 2200-000                                    2,320.52    1,004,935.67
02/06/20     50243       BMC Group Inc.                     Other Professional Fees [Docket No.: 660]          3991-000                                    4,282.77    1,000,652.90
02/06/20     50244       BMC Group Inc.                     Other Professional Expenses [Docket No.: 660] 3992-000                                             57.06   1,000,595.84
02/06/20     50245       Stout Risius Ross, Inc.            Accountant for Trustee Fees [Docket No.: 656]      3410-000                                    8,892.00     991,703.84
02/06/20     50246       Stout Risius Ross, Inc.            Accountant for Trustee Expenses (Other Firm)       3420-000                                       511.59    991,192.25
                                                            [Docket No.: 656]
02/06/20     50247       Giuliano, Miller & Co., LLC        Accountant for Trustee Fees (Trustee Fees)         3310-000                                    2,185.00     989,007.25
                                                            [Docket No.: 657]
02/06/20     50248       Giuliano, Miller & Co., LLC        Accountant for Trustee Expenses (Trustee           3320-000                                        87.95    988,919.30
                                                            Firm) [Docket No.: 657]
02/06/20     50249       United States Bankruptcy Court     Dividend paid 100.00% on $1,465.00, Clerk of       2700-000                                    1,465.00     987,454.30
                                                            the Court Costs (includes adversary and other
                                                            filing fees) [Docket No.: 660]
02/06/20     50250       Joseph Allen Briggs                Final Distribution [Docket No.: 660]               5300-000                                    2,483.54     984,970.76
02/06/20     50251       Michael J. Lira                    Final Distribution [Docket No.: 660]               5300-000                                       833.11    984,137.65
02/06/20     50252       Richard A. Solloway                Final Distribution [Docket No.: 660]               5300-000                                    3,172.55     980,965.10
02/06/20     50253       Melissa J. Horvath                 Final Distribution [Docket No.: 660]               5300-000                                       856.39    980,108.71
02/06/20     50254       Thomas Grayam                      Final Distribution [Docket No.: 660]               5300-000                                       697.77    979,410.94
02/06/20     50255       Nancy Dal Polo                     Final Distribution [Docket No.: 660]               5300-000                                       759.67    978,651.27
02/06/20     50256       David A. Brodzinski                Final Distribution [Docket No.: 660]               5300-000                                    1,401.85     977,249.42
02/06/20     50257       David A. Brodzinski                Final Distribution [Docket No.: 660]               5300-000                                    2,134.03     975,115.39
02/06/20     50258       Ray Baer                           Final Distribution [Docket No.: 660]               5300-000                                       800.59    974,314.80
02/06/20     50259       Ray Baer                           Final Distribution [Docket No.: 660]               5300-000                                    1,432.69     972,882.11
02/06/20     50260       Alan G. Weade                      Final Distribution [Docket No.: 660]               5300-000                                    2,379.21     970,502.90
02/06/20     50261       Cecil K. Eastman                   Stopped - Final Distribution [Docket No.: 660]     5300-005                                    3,074.87     967,428.03
                                                            Stopped on 05/28/20
02/06/20     50262       Dennis M. Whitaker                 Final Distribution [Docket No.: 660]               5300-000                                    5,551.39     961,876.64
02/06/20     50263       Jerilyn Spahn                      Final Distribution [Docket No.: 660]               5300-000                                    1,967.05     959,909.59
02/06/20     50264       John W. Clements, III              Final Distribution [Docket No.: 660]               5300-000                                    5,843.66     954,065.93


                                                                                                     Subtotals :                         $0.00       $789,110.57
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                           Case 12-12036-CSS                     Doc 687              Filed 12/04/20                Page 98 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                      Form 2                                                                                       Page: 53

                                                    Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                              Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                         Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                             3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                   $       Account Balance
02/06/20     50265       Rickey C. Paridaen                    Final Distribution [Docket No.: 660]               5300-000                                    4,304.82     949,761.11
02/06/20     50266       Michael Lee Weaver                    Final Distribution [Docket No.: 660]               5300-000                                    2,292.00     947,469.11
02/06/20     50267       James J. Zielinski                    Final Distribution [Docket No.: 660]               5300-000                                    2,921.83     944,547.28
02/06/20     50268       Michael Walker                        Final Distribution [Docket No.: 660]               5300-000                                    8,483.04     936,064.24
02/06/20     50269       Michael T. Johnson                    Final Distribution [Docket No.: 660]               5300-000                                    3,060.92     933,003.32
02/06/20     50270       Patricia L. Guy                       Final Distribution [Docket No.: 660]               5300-000                                    1,924.57     931,078.75
02/06/20     50271       Richard Campbell                      Final Distribution [Docket No.: 660]               5300-000                                    1,243.57     929,835.18
02/06/20     50272       Robert F. Roche                       Final Distribution [Docket No.: 660]               5300-000                                    3,664.50     926,170.68
02/06/20     50273       Patrick J. Brodzinski                 Final Distribution [Docket No.: 660]               5300-000                                       549.86    925,620.82
02/06/20     50277       Milton Township                       Final Distribution [Docket No.: 660]               5800-000                                   20,044.85     905,575.97
02/06/20     50278       Milton Township                       Final Distribution [Docket No.: 660]               5800-000                                    4,005.90     901,570.07
02/06/20     50279       Milton Township                       Final Distribution [Docket No.: 660]               5800-000                                       228.62    901,341.45
02/06/20     50280       Illinois Department of Revenue        Final Distribution [Docket No.: 660]               5800-000                                       376.48    900,964.97
02/06/20     50284       CDW                                   Final Distribution [Docket No.: 660]               7100-000                                        47.54    900,917.43
02/06/20     50285       Siemens Industry, Inc.                Final Distribution [Docket No.: 660]               7100-000                                    4,728.85     896,188.58
02/06/20     50286       Latitude Automation (Chongqung)       Stopped - Final Distribution [Docket No.: 660]     7100-005                                    2,402.23     893,786.35
                         Ltd.                                  Stopped on 05/28/20
02/06/20     50287       Comerica Bank                         Final Distribution [Docket No.: 660]               7100-000                                  139,780.72     754,005.63
02/06/20     50288       Dieter Zimmermann                     Final Distribution [Docket No.: 660]               7100-000                                       556.56    753,449.07
02/06/20     50289       Shanghai Megahoo International        Stopped - Final Distribution [Docket No.: 660]     7100-005                                        54.33    753,394.74
                         Trade Co., Ltd.                       Stopped on 05/28/20
02/06/20     50290       Ionix Oy                              Stopped - Final Distribution [Docket No.: 660]     7100-005                                       867.46    752,527.28
                                                               Stopped on 05/28/20
02/06/20     50291       United Parcel Service                 Final Distribution [Docket No.: 660]               7100-000                                        50.03    752,477.25
02/06/20     50292       Vaughn Clean-Rite, Inc.               Final Distribution [Docket No.: 660]               7100-000                                       127.66    752,349.59
02/06/20     50293       MSC Industrial Supply                 Final Distribution [Docket No.: 660]               7100-000                                    4,435.60     747,913.99
02/06/20     50294       DSV Air & Sea, Inc.                   Final Distribution [Docket No.: 660]               7100-000                                       342.51    747,571.48
02/06/20     50295       Lachmann & Rink GmbH                  Final Distribution [Docket No.: 660]               7100-000                                        63.40    747,508.08
02/06/20     50296       USM de Mexico S DE RL DK CV           Stopped - Final Distribution [Docket No.: 660]     7100-005                                    3,605.14     743,902.94
                                                               Stopped on 05/28/20
02/06/20     50297       United Parcel Service (Freight)       Final Distribution [Docket No.: 660]               7100-000                                        49.08    743,853.86
02/06/20     50298       Wuxi Weifu Lida Catalytic Converter   Final Distribution [Docket No.: 660]               7100-000                                    9,843.39     734,010.47
                         Co., Ltd.
02/06/20     50299       Frost Brown Todd, LLC                 Final Distribution [Docket No.: 660]               7100-000                                        38.20    733,972.27
02/06/20     50300       Kelm Acubar Company                   Final Distribution [Docket No.: 660]               7100-000                                       615.21    733,357.06
02/06/20     50301       Great Lakes Pump                      Final Distribution [Docket No.: 660]               7100-000                                       239.86    733,117.20
02/06/20     50302       Pitney Bowes Global Financial         Final Distribution [Docket No.: 660]               7100-000                                       128.62    732,988.58

                                                                                                        Subtotals :                         $0.00       $221,077.35
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                           Case 12-12036-CSS                       Doc 687              Filed 12/04/20                 Page 99 of 114

                                                                                                                                                                                      Exhibit 9


                                                                                        Form 2                                                                                        Page: 54

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                              Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                                 Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                            Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                                 Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                   Separate Bond: N/A

   1            2                           3                                            4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                                 Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                  T-Code              $                   $       Account Balance
                         Services
02/06/20     50303       Bearing Headquarters Company            Final Distribution [Docket No.: 660]                7100-000                                   13,894.57     719,094.01
02/06/20     50304       St. Louis Precision Casting             Final Distribution [Docket No.: 660]                7100-000                                       144.41    718,949.60
                         Company
02/06/20     50305       Orttech, Inc.                           Final Distribution [Docket No.: 660]                7100-000                                       241.09    718,708.51
02/06/20     50306       Ajacs Die Sales                         Final Distribution [Docket No.: 660]                7100-000                                        67.97    718,640.54
02/06/20     50307       Edwards Industrial Sales, Inc.          Final Distribution [Docket No.: 660]                7100-000                                    1,787.24     716,853.30
02/06/20     50308       Melissa J. Horvath                      Final Distribution [Docket No.: 660]                7100-000                                       176.20    716,677.10
02/06/20     50309       Gary Zhang                              Final Distribution [Docket No.: 660]                7100-000                                       237.93    716,439.17
02/06/20     50310       Ameropean Corporation                   Final Distribution [Docket No.: 660]                7100-000                                         5.25    716,433.92
02/06/20     50311       Dearborn Crane & Engineering            Final Distribution [Docket No.: 660]                7100-000                                       137.05    716,296.87
02/06/20     50312       DeVitt Machinery Company                Final Distribution [Docket No.: 660]                7100-000                                       734.69    715,562.18
02/06/20     50313       Fluidpower Assembly Corporation         Final Distribution [Docket No.: 660]                7100-000                                        48.04    715,514.14
02/06/20     50314       Carlson Tool & Manfacturing Corp.       Final Distribution [Docket No.: 660]                7100-000                                        60.17    715,453.97
02/06/20     50315       Poch Staffing d/b/a Trillium Staffing   Final Distribution [Docket No.: 660]                7100-000                                       927.94    714,526.03
                         Incorporated
02/06/20     50316       B-D Industries Incorporated             Stopped - Final Distribution [Docket No.: 660]      7100-005                                        53.32    714,472.71
                                                                 Stopped on 05/28/20
02/06/20     50317       Midwest Energy Cooperative              Final Distribution [Docket No.: 660]                7100-000                                    1,120.27     713,352.44
02/06/20     50318       Ferguson Enterprises                    Final Distribution [Docket No.: 660]                7100-000                                        75.72    713,276.72
02/06/20     50319       VMC Technologies, Inc.                  Final Distribution [Docket No.: 660]                7100-000                                        35.28    713,241.44
02/06/20     50320       U. S. Machine Co., Inc.                 Final Distribution [Docket No.: 660]                7100-000                                        27.21    713,214.23
02/06/20     50321       Weldall Manufacturing, Inc.             Final Distribution [Docket No.: 660]                7100-000                                       757.70    712,456.53
02/06/20     50322       Custom Honing, Inc.                     Final Distribution [Docket No.: 660]                7100-000                                        34.86    712,421.67
02/06/20     50323       McJunkin Red Man Corporation            Voided - Final Distribution [Docket No.: 660]       7100-004                                        97.95    712,323.72
                                                                 Voided on 05/28/20
02/06/20     50324       Liberty Steel Fabricating, Inc.         Final Distribution [Docket No.: 660]                7100-000                                       419.08    711,904.64
02/06/20     50325       Oak Steel Supply, Inc.                  Stopped - Final Distribution [Docket No.: 660]      7100-005                                        20.51    711,884.13
                                                                 Stopped on 05/28/20
02/06/20     50326       Igus Bearings, Inc.                     Final Distribution [Docket No.: 660]                7100-000                                        51.36    711,832.77
02/06/20     50327       Elizabeth Hohauser                      Final Distribution [Docket No.: 660]                7100-000                                    4,894.12     706,938.65
02/06/20     50328       Tectivity, Inc.                         Final Distribution [Docket No.: 660]                7100-000                                       100.62    706,838.03
02/06/20     50329       Michigan Fluid Power                    Stopped - Final Distribution [Docket No.: 660]      7100-005                                        95.29    706,742.74
                                                                 Stopped on 05/28/20
02/06/20     50330       SB Specialty metals, LLC                Final Distribution [Docket No.: 660]                7100-000                                       879.39    705,863.35
02/06/20     50331       H. H. Barnum Company                    Final Distribution [Docket No.: 660]                7100-000                                    1,614.75     704,248.60
02/06/20     50332       Comerica Bank                           Final Distribution [Docket No.: 660]                7100-000                                   43,452.29     660,796.31

                                                                                                           Subtotals :                         $0.00           $72,192.27
{} Asset reference(s)                                                                                                                              Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                       Doc 687               Filed 12/04/20                Page 100 of 114

                                                                                                                                                                                    Exhibit 9


                                                                                      Form 2                                                                                        Page: 55

                                                      Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                            Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                               Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                          Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                               Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                 Separate Bond: N/A

   1            2                            3                                         4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                               Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                  T-Code              $                   $       Account Balance
02/06/20     50333       Kopplin Controls, Inc.                Final Distribution [Docket No.: 660]                7100-000                                        49.29    660,747.02
02/06/20     50334       Wendt, LLP                            Final Distribution [Docket No.: 660]                7100-000                                       135.31    660,611.71
02/06/20     50335       Schrader Steel Fabricating Services   Final Distribution [Docket No.: 660]                7100-000                                    1,738.59     658,873.12
02/06/20     50336       Priority Delivery Services            Voided - Final Distribution [Docket No.: 660]       7100-004                                       623.67    658,249.45
                                                               Voided on 05/28/20
02/06/20     50337       Key Equipment Finance, Inc.           Final Distribution [Docket No.: 660]                7100-000                                       393.40    657,856.05
02/06/20     50338       Schupan Aluminum & Plastic Sales      Final Distribution [Docket No.: 660]                7100-000                                       169.87    657,686.18
02/06/20     50339       Norman L. Bleier                      Final Distribution [Docket No.: 660]                7100-000                                    1,020.76     656,665.42
02/06/20     50340       Motion Industries                     Final Distribution [Docket No.: 660]                7100-000                                       490.16    656,175.26
02/06/20     50341       Snowbusters, LLC                      Final Distribution [Docket No.: 660]                7100-000                                        99.66    656,075.60
02/06/20     50342       Ace Manufacturing, Inc.               Final Distribution [Docket No.: 660]                7100-000                                       401.57    655,674.03
02/06/20     50343       Performance Industries, Inc.          Final Distribution [Docket No.: 660]                7100-000                                       397.59    655,276.44
02/06/20     50344       Harbor Blaxk Oxide, Inc.              Final Distribution [Docket No.: 660]                7100-000                                        23.22    655,253.22
02/06/20     50345       Candy Manufacturing Co., Inc.         Final Distribution [Docket No.: 660]                7100-000                                        51.68    655,201.54
02/06/20     50346       Yaskawa America, Inc./Motoman         Final Distribution [Docket No.: 660]                7100-000                                       413.16    654,788.38
                         Robotics Division
02/06/20     50347       Reid Supply Company                   Voided - Final Distribution [Docket No.: 660]       7100-004                                       108.34    654,680.04
                                                               Voided on 05/28/20
02/06/20     50348       DeWald Fluid Power Company, Inc.      Final Distribution [Docket No.: 660]                7100-000                                       262.39    654,417.65
02/06/20     50349       BFI Betriebstechnik GmbH              Stopped - Final Distribution [Docket No.: 660]      7100-005                                       587.82    653,829.83
                                                               Stopped on 05/28/20
02/06/20     50350       Skill-Craft Co., Inc.                 Stopped - Final Distribution [Docket No.: 660]      7100-005                                       394.94    653,434.89
                                                               Stopped on 05/28/20
02/06/20     50351       Williams Lumber & Hardware            Voided - Final Distribution [Docket No.: 660]       7100-004                                       196.03    653,238.86
                                                               Voided on 05/28/20
02/06/20     50352       MG Metrology Services, Inc.           Final Distribution [Docket No.: 660]                7100-000                                       123.04    653,115.82
02/06/20     50353       Semco Energy                          Final Distribution [Docket No.: 660]                7100-000                                        16.88    653,098.94
02/06/20     50354       Melrose Mold and Machining            Final Distribution [Docket No.: 660]                7100-000                                       164.06    652,934.88
                         Company
02/06/20     50355       Michigan Mold, Inc.                   Final Distribution [Docket No.: 660]                7100-000                                       735.30    652,199.58
02/06/20     50356       Exair Corporation                     Final Distribution [Docket No.: 660]                7100-000                                        34.90    652,164.68
02/06/20     50357       Troyke Manufacturing Company          Final Distribution [Docket No.: 660]                7100-000                                    1,748.35     650,416.33
02/06/20     50358       Sterling Engineering, Inc.            Final Distribution [Docket No.: 660]                7100-000                                    9,403.33     641,013.00
02/06/20     50359       Siko Products, Inc.                   Final Distribution [Docket No.: 660]                7100-000                                        93.57    640,919.43
02/06/20     50360       DeWald Fluid Power Company, Inc.      Final Distribution [Docket No.: 660]                7100-000                                    2,670.00     638,249.43
02/06/20     50361       Minland Machine, Inc.                 Final Distribution [Docket No.: 660]                7100-000                                       209.58    638,039.85
02/06/20     50362       WMH Fluidpower, inc.                  Final Distribution [Docket No.: 660]                7100-000                                    1,998.84     636,041.01


                                                                                                         Subtotals :                         $0.00           $24,755.30
{} Asset reference(s)                                                                                                                            Printed: 11/13/2020 09:50 AM        V.20.24
                                         Case 12-12036-CSS                     Doc 687               Filed 12/04/20                Page 101 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                        Page: 56

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                              Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                         Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                            3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                  Description of Transaction                  T-Code              $                   $       Account Balance
02/06/20     50363       DADCO, Inc.                          Final Distribution [Docket No.: 660]                7100-000                                        21.57    636,019.44
02/06/20     50364       Hanson Mold                          Final Distribution [Docket No.: 660]                7100-000                                       315.81    635,703.63
02/06/20     50365       Ringfeder Power Transmission USA     Final Distribution [Docket No.: 660]                7100-000                                         6.46    635,697.17
                         Corporation
02/06/20     50366       MarkLines Co., Ltd.                  Final Distribution [Docket No.: 660]                7100-000                                        31.99    635,665.18
02/06/20     50367       Tech Nickel, Inc.                    Final Distribution [Docket No.: 660]                7100-000                                       287.92    635,377.26
02/06/20     50368       RHM Fluid Power, Inc.                Final Distribution [Docket No.: 660]                7100-000                                       977.20    634,400.06
02/06/20     50369       Monroe PMP                           Final Distribution [Docket No.: 660]                7100-000                                        13.94    634,386.12
02/06/20     50370       Bastian Solutions, LLC               Voided - Final Distribution [Docket No.: 660]       7100-004                                       686.33    633,699.79
                                                              Voided on 05/28/20
02/06/20     50371       Unifrax 1, LLC                       Voided - Final Distribution [Docket No.: 660]       7100-004                                        56.85    633,642.94
                                                              Voided on 05/28/20
02/06/20     50372       Elan Financial Services              Final Distribution [Docket No.: 660]                7100-000                                       847.93    632,795.01
02/06/20     50373       I.T. Equpment, Inc.                  Final Distribution [Docket No.: 660]                7100-000                                       120.25    632,674.76
02/06/20     50374       TNCI                                 Stopped - Final Distribution [Docket No.: 660]      7100-005                                        34.79    632,639.97
                                                              Stopped on 05/28/20
02/06/20     50375       Peerless Steel Company               Final Distribution [Docket No.: 660]                7100-000                                    9,501.44     623,138.53
02/06/20     50376       Exlar Corporation                    Final Distribution [Docket No.: 660]                7100-000                                    1,743.10     621,395.43
02/06/20     50377       Clarion Safety Systems               Final Distribution [Docket No.: 660]                7100-000                                        27.61    621,367.82
02/06/20     50378       Rotation Dynamics Corporation        Final Distribution [Docket No.: 660]                7100-000                                    4,059.37     617,308.45
02/06/20     50379       Leech Tishman Fuscaldo & Lampl,      Final Distribution [Docket No.: 660]                7100-000                                       123.04    617,185.41
                         LLC
02/06/20     50380       Troax, Inc.                          Final Distribution [Docket No.: 660]                7100-000                                    1,033.86     616,151.55
02/06/20     50381       Liberty Cast Products, Inc.          Stopped - Final Distribution [Docket No.: 660]      7100-005                                       245.47    615,906.08
                                                              Stopped on 05/28/20
02/06/20     50382       The General Manager                  Stopped - Final Distribution [Docket No.: 660]      7100-005                                  154,908.38     460,997.70
                                                              Stopped on 05/28/20
02/06/20     50383       Srobo, LLC                           Stopped - Final Distribution [Docket No.: 660]      7100-005                                        97.41    460,900.29
                                                              Stopped on 05/28/20
02/06/20     50384       Engineering Technology Associates, Final Distribution [Docket No.: 660]                  7100-000                                       127.14    460,773.15
                         inc.
02/06/20     50385       Columbiana Foundry Company           Final Distribution [Docket No.: 660]                7100-000                                        93.76    460,679.39
02/06/20     50386       RLJ Lodging II Reit Sub              Stopped - Final Distribution [Docket No.: 660]      7100-005                                       431.78    460,247.61
                                                              Stopped on 05/28/20
02/06/20     50387       American Power Connection            Final Distribution [Docket No.: 660]                7100-000                                       322.82    459,924.79
                         Systems, Inc.
02/06/20     50388       Cone Drive Operations, Inc.          Voided - Final Distribution [Docket No.: 660]       7100-004                                       710.71    459,214.08
                                                              Voided on 05/28/20

                                                                                                        Subtotals :                         $0.00       $176,826.93
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS                      Doc 687               Filed 12/04/20                Page 102 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                    Form 2                                                                                        Page: 57

                                                      Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                           3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
02/06/20     50389       Shaum Electric Co., Inc.            Stopped - Final Distribution [Docket No.: 660]      7100-005                                        83.57    459,130.51
                                                             Stopped on 05/28/20
02/06/20     50390       Stratosphere Quality, LLC           Final Distribution [Docket No.: 660]                7100-000                                    1,115.18     458,015.33
02/06/20     50391       Depatie Fluid Power                 Final Distribution [Docket No.: 660]                7100-000                                       117.63    457,897.70
02/06/20     50392       Aramark Uniform & Career Apparel,   Stopped - Final Distribution [Docket No.: 660]      7100-005                                       692.69    457,205.01
                         LLC                                 Stopped on 05/28/20
02/06/20     50393       Praxair Distribution, Inc.          Voided - Final Distribution [Docket No.: 660]       7100-004                                    1,019.35     456,185.66
                                                             Voided on 05/28/20
02/06/20     50394       Uline Shipping Supplies             Final Distribution [Docket No.: 660]                7100-000                                         9.34    456,176.32
02/06/20     50395       C. H. Robinson Worldwide, Inc.      Final Distribution [Docket No.: 660]                7100-000                                       138.42    456,037.90
02/06/20     50396       Global EDM Supplies, Inc.           Voided - Final Distribution [Docket No.: 660]       7100-004                                       367.63    455,670.27
                                                             Voided on 05/28/20
02/06/20     50397       National Instruments Corporation    Final Distribution [Docket No.: 660]                7100-000                                       180.74    455,489.53
02/06/20     50398       Novotechnik U.S., Inc.              Stopped - Final Distribution [Docket No.: 660]      7100-005                                        51.64    455,437.89
                                                             Stopped on 05/28/20
02/06/20     50399       W. W. Grainger, Inc.                Final Distribution [Docket No.: 660]                7100-000                                        74.76    455,363.13
                         (MES17810528406)
02/06/20     50400       Joyce Dayton Corporation            Final Distribution [Docket No.: 660]                7100-000                                       233.90    455,129.23
02/06/20     50401       Cad Cam Services, Inc.              Final Distribution [Docket No.: 660]                7100-000                                       573.58    454,555.65
02/06/20     50402       Lincoln Electric Company            Final Distribution [Docket No.: 660]                7100-000                                       201.72    454,353.93
02/06/20     50403       American Warehouse Systems, LLC     Final Distribution [Docket No.: 660]                7100-000                                       287.10    454,066.83
02/06/20     50404       McInnes Rolled Rings                Final Distribution [Docket No.: 660]                7100-000                                        20.96    454,045.87
02/06/20     50405       LKF Marketing, Inc.                 Final Distribution [Docket No.: 660]                7100-000                                       363.35    453,682.52
02/06/20     50406       Scibetta Distributors               Final Distribution [Docket No.: 660]                7100-000                                        23.15    453,659.37
02/06/20     50407       Gudel, Inc.                         Final Distribution [Docket No.: 660]                7100-000                                       668.37    452,991.00
02/06/20     50408       IBC Coating Technologies, Inc.      Stopped - Final Distribution [Docket No.: 660]      7100-005                                        84.99    452,906.01
                                                             Stopped on 05/28/20
02/06/20     50409       West River Machine                  Final Distribution [Docket No.: 660]                7100-000                                       292.92    452,613.09
02/06/20     50410       Bay Cast, Inc.                      Final Distribution [Docket No.: 660]                7100-000                                       750.23    451,862.86
02/06/20     50411       Crowe Horwath, LLP                  Final Distribution [Docket No.: 660]                7100-000                                    3,701.24     448,161.62
02/06/20     50412       Bunting Magnetics Company           Final Distribution [Docket No.: 660]                7100-000                                        42.94    448,118.68
02/06/20     50413       F & F Grinding Services             Final Distribution [Docket No.: 660]                7100-000                                       133.92    447,984.76
02/06/20     50414       John W. Clements, III               Final Distribution [Docket No.: 660]                7100-000                                       989.12    446,995.64
02/06/20     50415       Mah Machine Co., Inc.               Final Distribution [Docket No.: 660]                7100-000                                       205.07    446,790.57
02/06/20     50416       H & H Machine Service               Final Distribution [Docket No.: 660]                7100-000                                       107.15    446,683.42
02/06/20     50417       Michael Lee Weaver                  Final Distribution [Docket No.: 660]                7100-000                                       446.80    446,236.62
02/06/20     50418       Parker-Hannifin Corp. - Cylinder    Final Distribution [Docket No.: 660]                7100-000                                    2,137.54     444,099.08


                                                                                                       Subtotals :                         $0.00           $15,115.00
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                         Doc 687               Filed 12/04/20               Page 103 of 114

                                                                                                                                                                                     Exhibit 9


                                                                                        Form 2                                                                                       Page: 58

                                                      Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                             Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                                Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                           Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                                Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                  Separate Bond: N/A

   1            2                             3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                                Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                     Description of Transaction                 T-Code              $                   $       Account Balance
                         Division
02/06/20     50419       Electric Equipment Company              Final Distribution [Docket No.: 660]               7100-000                                       865.09    443,233.99
02/06/20     50420       Central States Fabricating              Final Distribution [Docket No.: 660]               7100-000                                   15,643.95     427,590.04
                         Corporation
02/06/20     50421       CM Grinding, Inc.                       Final Distribution [Docket No.: 660]               7100-000                                       488.17    427,101.87
02/06/20     50422       Heraeus Precious Metals GmbH &          Final Distribution [Docket No.: 660]               7100-000                                    1,356.78     425,745.09
                         Co KG
02/06/20     50423       Jorgensen Conveyors, Inc.               Final Distribution [Docket No.: 660]               7100-000                                        74.32    425,670.77
02/06/20     50424       Steel Strips Wheels Limited             Stopped - Final Distribution [Docket No.: 660]     7100-005                                  153,659.96     272,010.81
                                                                 Stopped on 05/28/20
02/06/20     50425       MAE Maschinen-und Apparatebau           Stopped - Final Distribution [Docket No.: 660]     7100-005                                    4,287.78     267,723.03
                         Gotzen GmbH                             Stopped on 05/28/20
02/06/20     50426       Precise Craft Sourcing, Inc.            Final Distribution [Docket No.: 660]               7100-000                                       688.09    267,034.94
02/06/20     50427       American Express Travel Related         Final Distribution [Docket No.: 660]               7100-000                                    2,307.37     264,727.57
                         Services Co., Inc.
02/06/20     50428       A & A Manufacturing Co., Inc.           Final Distribution [Docket No.: 660]               7100-000                                        71.26    264,656.31
02/06/20     50429       Stegner Controls, LLC                   Final Distribution [Docket No.: 660]               7100-000                                   15,250.25     249,406.06
02/06/20     50430       Morrell, Incorporated                   Final Distribution [Docket No.: 660]               7100-000                                       953.14    248,452.92
02/06/20     50431       Michael Walker                          Final Distribution [Docket No.: 660]               7100-000                                        91.45    248,361.47
02/06/20     50432       Rackham Service Corporation             Final Distribution [Docket No.: 660]               7100-000                                       653.43    247,708.04
02/06/20     50433       Trend Machinery, Inc.                   Final Distribution [Docket No.: 660]               7100-000                                    1,770.11     245,937.93
02/06/20     50434       Bluewater Thermal Solutions             Final Distribution [Docket No.: 660]               7100-000                                       661.45    245,276.48
02/06/20     50435       Applied Industrial Technologies, Inc.   Final Distribution [Docket No.: 660]               7100-000                                    1,236.57     244,039.91
02/06/20     50436       Phoenix International Freight           Final Distribution [Docket No.: 660]               7100-000                                       818.35    243,221.56
                         Services
02/06/20     50437       Barnes Industries, Inc.                 Final Distribution [Docket No.: 660]               7100-000                                    1,409.57     241,811.99
02/06/20     50438       Tigmaster Company                       Final Distribution [Docket No.: 660]               7100-000                                    2,122.34     239,689.65
02/06/20     50439       Canam PO, LP                            Final Distribution [Docket No.: 660]               7100-000                                   90,174.14     149,515.51
02/06/20     50440       Mingliang Li                            Final Distribution [Docket No.: 660]               7100-000                                        18.28    149,497.23
02/06/20     50441       Toyota Motor Credit Corporation         Final Distribution [Docket No.: 660]               7100-000                                    1,370.48     148,126.75
02/06/20     50442       State of Michigan-CD                    Final Distribution [Docket No.: 660]               7100-000                                    1,404.62     146,722.13
02/06/20     50449       Comerica Bank                           Final Distribution [Docket No.: 660]               7100-000                                  111,047.44         35,674.69
02/06/20     50450       U.S. Bankruptcy Court                   COMBINED SMALL CHECK                                                                               11.78        35,662.91
                                                                    Dividend paid 4.10% on                4.95      7100-001                                                     35,662.91
                                                                    $120.76; Claim# 116;
                                                                    Filed: $120.76
                                                                    Dividend paid 4.10% on                1.85      7100-001                                                     35,662.91


                                                                                                          Subtotals :                         $0.00       $408,436.17
{} Asset reference(s)                                                                                                                             Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS                      Doc 687           Filed 12/04/20                  Page 104 of 114

                                                                                                                                                                                Exhibit 9


                                                                                  Form 2                                                                                        Page: 59

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                           3                                        4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From               Description of Transaction                  T-Code              $                   $       Account Balance
                                                              $45.00; Claim# 50;
                                                              Filed: $45.00
                                                              Dividend paid 4.10% on                2.18       7100-001                                                     35,662.91
                                                              $53.07; Claim# 157;
                                                              Filed: $53.07
                                                              Dividend paid 4.10% on                2.80       7100-001                                                     35,662.91
                                                              $68.33; Claim# 59;
                                                              Filed: $68.33
02/06/20                 EFTPS - Electronic Payment        2020 Form No.: 940 re: Federal Withholding,                                                    30,914.10             4,748.81
                                                           Medicare & Social Security Taxes
                                                              Federal Withholding             17,092.86        5300-000                                                         4,748.81
                                                              Taxes
                                                              Federal Withholding                 422.22       7100-000                                                         4,748.81
                                                              Taxes
                                                              Medicare (EE)                     1,239.24       5300-000                                                         4,748.81
                                                              Medicare (ER)                     1,239.24       5800-000                                                         4,748.81
                                                              Medicare (EE)                        30.61       7100-000                                                         4,748.81
                                                              Medicare (ER)                        30.61       7100-000                                                         4,748.81
                                                              Social Security (EE)              5,298.77       5300-000                                                         4,748.81
                                                              Social Security (ER)              5,298.77       5800-000                                                         4,748.81
                                                              Social Security (EE)                130.89       7100-000                                                         4,748.81
                                                              Social Security (ER)                130.89       7100-000                                                         4,748.81
02/06/20                 EFTPS - Electronic Payment        2020 Form No.: 940 re: FUTA                                                                     4,748.81                 0.00
                                                              FUTA                              4,739.38       5800-000                                                             0.00
                                                              FUTA                                  9.43       7100-000                                                             0.00
05/28/20     50261       Cecil K. Eastman                  Stopped - Final Distribution [Docket No.: 660]      5300-005                                   -3,074.87             3,074.87
                                                           Stopped: check issued on 02/06/20
05/28/20     50286       Latitude Automation (Chongqung)   Stopped - Final Distribution [Docket No.: 660]      7100-005                                   -2,402.23             5,477.10
                         Ltd.                              Stopped: check issued on 02/06/20
05/28/20     50289       Shanghai Megahoo International    Stopped - Final Distribution [Docket No.: 660]      7100-005                                        -54.33           5,531.43
                         Trade Co., Ltd.                   Stopped: check issued on 02/06/20
05/28/20     50290       Ionix Oy                          Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -867.46           6,398.89
                                                           Stopped: check issued on 02/06/20
05/28/20     50296       USM de Mexico S DE RL DK CV       Stopped - Final Distribution [Docket No.: 660]      7100-005                                   -3,605.14         10,004.03
                                                           Stopped: check issued on 02/06/20
05/28/20     50316       B-D Industries Incorporated       Stopped - Final Distribution [Docket No.: 660]      7100-005                                        -53.32       10,057.35
                                                           Stopped: check issued on 02/06/20
05/28/20     50323       McJunkin Red Man Corporation      Voided - Final Distribution [Docket No.: 660]       7100-004                                        -97.95       10,155.30

                                                                                                     Subtotals :                         $0.00           $25,507.61
{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                     Doc 687             Filed 12/04/20                  Page 105 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                    Form 2                                                                                        Page: 60

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                            3                                       4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                  T-Code              $                   $       Account Balance
                                                             Voided: check issued on 02/06/20
05/28/20     50325       Oak Steel Supply, Inc.              Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -20.51        10,175.81
                                                             Stopped: check issued on 02/06/20
05/28/20     50329       Michigan Fluid Power                Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -95.29        10,271.10
                                                             Stopped: check issued on 02/06/20
05/28/20     50336       Priority Delivery Services          Voided - Final Distribution [Docket No.: 660]       7100-004                                      -623.67        10,894.77
                                                             Voided: check issued on 02/06/20
05/28/20     50347       Reid Supply Company                 Voided - Final Distribution [Docket No.: 660]       7100-004                                      -108.34        11,003.11
                                                             Voided: check issued on 02/06/20
05/28/20     50349       BFI Betriebstechnik GmbH            Stopped - Final Distribution [Docket No.: 660]      7100-005                                      -587.82        11,590.93
                                                             Stopped: check issued on 02/06/20
05/28/20     50350       Skill-Craft Co., Inc.               Stopped - Final Distribution [Docket No.: 660]      7100-005                                      -394.94        11,985.87
                                                             Stopped: check issued on 02/06/20
05/28/20     50351       Williams Lumber & Hardware          Voided - Final Distribution [Docket No.: 660]       7100-004                                      -196.03        12,181.90
                                                             Voided: check issued on 02/06/20
05/28/20     50370       Bastian Solutions, LLC              Voided - Final Distribution [Docket No.: 660]       7100-004                                      -686.33        12,868.23
                                                             Voided: check issued on 02/06/20
05/28/20     50371       Unifrax 1, LLC                      Voided - Final Distribution [Docket No.: 660]       7100-004                                       -56.85        12,925.08
                                                             Voided: check issued on 02/06/20
05/28/20     50374       TNCI                                Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -34.79        12,959.87
                                                             Stopped: check issued on 02/06/20
05/28/20     50381       Liberty Cast Products, Inc.         Stopped - Final Distribution [Docket No.: 660]      7100-005                                      -245.47        13,205.34
                                                             Stopped: check issued on 02/06/20
05/28/20     50382       The General Manager                 Stopped - Final Distribution [Docket No.: 660]      7100-005                               -154,908.38       168,113.72
                                                             Stopped: check issued on 02/06/20
05/28/20     50383       Srobo, LLC                          Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -97.41    168,211.13
                                                             Stopped: check issued on 02/06/20
05/28/20     50386       RLJ Lodging II Reit Sub             Stopped - Final Distribution [Docket No.: 660]      7100-005                                      -431.78    168,642.91
                                                             Stopped: check issued on 02/06/20
05/28/20     50388       Cone Drive Operations, Inc.         Voided - Final Distribution [Docket No.: 660]       7100-004                                      -710.71    169,353.62
                                                             Voided: check issued on 02/06/20
05/28/20     50389       Shaum Electric Co., Inc.            Stopped - Final Distribution [Docket No.: 660]      7100-005                                       -83.57    169,437.19
                                                             Stopped: check issued on 02/06/20
05/28/20     50392       Aramark Uniform & Career Apparel,   Stopped - Final Distribution [Docket No.: 660]      7100-005                                      -692.69    170,129.88
                         LLC                                 Stopped: check issued on 02/06/20
05/28/20     50393       Praxair Distribution, Inc.          Voided - Final Distribution [Docket No.: 660]       7100-004                                  -1,019.35      171,149.23
                                                             Voided: check issued on 02/06/20
05/28/20     50396       Global EDM Supplies, Inc.           Voided - Final Distribution [Docket No.: 660]       7100-004                                      -367.63    171,516.86
                                                             Voided: check issued on 02/06/20
                                                                                                       Subtotals :                         $0.00       $-161,361.56
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                      Doc 687              Filed 12/04/20                 Page 106 of 114

                                                                                                                                                                                   Exhibit 9


                                                                                     Form 2                                                                                        Page: 61

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                           Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                              Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                         Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                              Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                                Separate Bond: N/A

   1            2                            3                                         4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                   Description of Transaction                 T-Code              $                   $       Account Balance
05/28/20     50398       Novotechnik U.S., Inc.              Stopped - Final Distribution [Docket No.: 660]       7100-005                                       -51.64    171,568.50
                                                             Stopped: check issued on 02/06/20
05/28/20     50408       IBC Coating Technologies, Inc.      Stopped - Final Distribution [Docket No.: 660]       7100-005                                       -84.99    171,653.49
                                                             Stopped: check issued on 02/06/20
05/28/20     50424       Steel Strips Wheels Limited         Stopped - Final Distribution [Docket No.: 660]       7100-005                               -153,659.96       325,313.45
                                                             Stopped: check issued on 02/06/20
05/28/20     50425       MAE Maschinen-und Apparatebau       Stopped - Final Distribution [Docket No.: 660]       7100-005                                   -4,287.78     329,601.23
                         Gotzen GmbH                         Stopped: check issued on 02/06/20
05/28/20     50451       Skill-Craft Co., Inc.               Final Distribution [Docket No.: 660]                 7100-000                                       394.94    329,206.29
05/29/20     50452       Steel Strips Wheels Limited         Stopped Payment - Final Distribution [Docket         7100-005                                  153,659.96     175,546.33
                                                             No.: 660]
                                                             Stopped on 09/09/20
06/10/20     50453       Cecil K. Eastman                    Final Distribution [Docket No.: 660]                 5300-000                                    3,074.87     172,471.46
06/10/20     50454       Aramark Uniform & Career Apparel,   Final Distribution [Docket No.: 660]                 7100-000                                       692.69    171,778.77
                         LLC
07/13/20     50455       United States Bankruptcy Court      Turnover of Funds to Treasury Pursuant to                                                      171,778.77                0.00
                                                             Order [Docket No.: 678]
                                                                Bastian Solutions, LLC               686.33       7100-001                                                            0.00
                                                                B-D Industries                        53.32       7100-001                                                            0.00
                                                                Incorporated
                                                                BFI Betriebstechnik                  587.82       7100-001                                                            0.00
                                                                GmbH
                                                                Cone Drive Operations,               710.71       7100-001                                                            0.00
                                                                Inc.
                                                                Global EDM Supplies,                 367.63       7100-001                                                            0.00
                                                                Inc.
                                                                IBC Coating                           84.99       7100-001                                                            0.00
                                                                Technologies, Inc.
                                                                Ionix Oy                             867.46       7100-001                                                            0.00
                                                                Latitude Automation                 2,402.23      7100-001                                                            0.00
                                                                (Chongqung)
                                                                Liberty Cast Products,               245.47       7100-001                                                            0.00
                                                                Inc.
                                                                MAE Maschinen-und                   4,287.78      7100-001                                                            0.00
                                                                Apparatebau
                                                                McJunkin Red Man                      97.95       7100-001                                                            0.00
                                                                Corporation
                                                                Michigan Fluid Power                  95.29       7100-001                                                            0.00


                                                                                                        Subtotals :                         $0.00       $171,516.86
{} Asset reference(s)                                                                                                                           Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS                     Doc 687            Filed 12/04/20                  Page 107 of 114

                                                                                                                                                                                Exhibit 9


                                                                                  Form 2                                                                                        Page: 62

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5466 - Comerica Bank
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                          3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From              Description of Transaction                   T-Code              $                   $       Account Balance
                                                             Novotechnik U. S., Inc.               51.64       7100-001                                                            0.00
                                                             Oak Steel Supply, Inc.                20.51       7100-001                                                            0.00
                                                             Praxair Distribution, Inc.         1,019.35       7100-001                                                            0.00
                                                             Priority Delivery Services           623.67       7100-001                                                            0.00
                                                             Reid Supply Company                  108.34       7100-001                                                            0.00
                                                             RLJ Lodging II Reit Sub              431.78       7100-001                                                            0.00
                                                             Shanghai Megahoo                      54.33       7100-001                                                            0.00
                                                             International
                                                             Shaum Electric Co., Inc.              83.57       7100-001                                                            0.00
                                                             Srobo, LLC                            97.41       7100-001                                                            0.00
                                                             The General Manager              154,908.38       7100-001                                                            0.00
                                                             TNCI                                  34.79       7100-001                                                            0.00
                                                             Unifrax 1, LLC                        56.85       7100-001                                                            0.00
                                                             USM de Mexico S DE RL              3,605.14       7100-001                                                            0.00
                                                             DK CV
                                                             Williams Lumber &                    196.03       7100-001                                                            0.00
                                                             Hardward
09/09/20     50452       Steel Strips Wheels Limited      Stopped Payment - Final Distribution [Docket         7100-005                                -153,659.96      153,659.96
                                                          No.: 660]
                                                          Stopped: check issued on 05/29/20
10/08/20     50456       United States Bankruptcy Court   Turnover of Unclaimed Funds Pursuant to              7100-001                                  153,659.96                0.00
                                                          Order [Docket No.: 685]

                                                                                 ACCOUNT TOTALS                                  6,554,913.09         6,554,913.09                $0.00
                                                                                          Less: Bank Transfers                   3,740,255.59             15,000.00
                                                                                 Subtotal                                        2,814,657.50         6,539,913.09
                                                                                          Less: Payments to Debtors                                            0.00
                                                                                 NET Receipts / Disbursements                  $2,814,657.50         $6,539,913.09




{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS               Doc 687             Filed 12/04/20                   Page 108 of 114

                                                                                                                                                                            Exhibit 9


                                                                             Form 2                                                                                         Page: 63

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                    Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                       Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                  Account:            ******5467 - Monomoy Capital Partners
Taxpayer ID #: **-***3733                                                                       Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                         Separate Bond: N/A

   1            2                          3                                   4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From           Description of Transaction                  T-Code              $                   $       Account Balance
01/31/13                 Rabobank, N.A.                Transfer from Capital One Bank                      9999-000            150,000.00                           150,000.00
04/11/14     60101       Michael Walker                Services for Period of June 10, 2013 -              3731-004                                    6,545.00     143,455.00
                                                       December 30, 2013 (BAO Steel/OFAJ)
                                                       Voided on 04/14/14
04/14/14     60101       Michael Walker                Services for Period of June 10, 2013 -              3731-004                                   -6,545.00     150,000.00
                                                       December 30, 2013 (BAO Steel/OFAJ)
                                                       Voided: check issued on 04/11/14
04/14/14     60102       Michael Walker                Services for Period of June 10, 2013 -              3731-000                                    6,545.00     143,455.00
                                                       December 30, 2013 (BAO Steel/OFAJ)
02/04/19                 Transfer Adjustment           Transfer Adjustment to correct transfer #10         9999-000                               -143,455.00       286,910.00
02/04/19                 To Account #******5466        Transfer to Main Account                            9999-000                                  143,455.00     143,455.00
03/07/19                 To Account #******5466        TRANSFER TO DEPOSIT SYSTEM                          9999-000                                  143,455.00                0.00
                                                       ACCOUNT ******5466

                                                                            ACCOUNT TOTALS                                     150,000.00            150,000.00               $0.00
                                                                                    Less: Bank Transfers                       150,000.00            143,455.00
                                                                            Subtotal                                                  0.00             6,545.00
                                                                                    Less: Payments to Debtors                                              0.00
                                                                            NET Receipts / Disbursements                             $0.00            $6,545.00




{} Asset reference(s)                                                                                                                    Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS                    Doc 687               Filed 12/04/20                  Page 109 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                  Form 2                                                                                          Page: 64

                                                       Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                        Account:            ******5468 - Estate Funds
Taxpayer ID #: **-***3733                                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                               Separate Bond: N/A

   1            2                           3                                       4                                                 5                    6                  7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                   T-Code              $                   $       Account Balance
01/31/13                 Rabobank, N.A.                     Transfer from Capital One Bank                       9999-000              1,668.43                                   1,668.43
01/05/16     70101       Hilco Real Estate, LLC             BOND PREMIUM PAYMENT ON LEDGER                       2300-004                                      897.19              771.24
                                                            BALANCE AS OF 11/30/2015 FOR CASE
                                                            #12-12036, Bond No.: 016026389 for Period of
                                                            01/01/16 - 01/01/17
                                                            Voided on 01/05/16
01/05/16     70101       Hilco Real Estate, LLC             BOND PREMIUM PAYMENT ON LEDGER                       2300-004                                      -897.19            1,668.43
                                                            BALANCE AS OF 11/30/2015 FOR CASE
                                                            #12-12036, Bond No.: 016026389 for Period of
                                                            01/01/16 - 01/01/17
                                                            Voided: check issued on 01/05/16
01/05/16     70102       International Sureties, Ltd        Voided - BOND PREMIUM PAYMENT ON                     2300-004                                      897.19              771.24
                                                            LEDGER BALANCE AS OF 11/30/2015 FOR
                                                            CASE #12-12036, Bond No.: 016026389 for
                                                            Period of 01/01/16 - 01/01/17
                                                            Voided on 01/05/16
01/05/16     70102       International Sureties, Ltd        Voided - BOND PREMIUM PAYMENT ON                     2300-004                                      -897.19            1,668.43
                                                            LEDGER BALANCE AS OF 11/30/2015 FOR
                                                            CASE #12-12036, Bond No.: 016026389 for
                                                            Period of 01/01/16 - 01/01/17
                                                            Voided: check issued on 01/05/16
02/04/19                 Transfer Adjustment                Transfer adjustment for Transfer #9                  9999-000                                  -1,668.43              3,336.86
02/04/19                 To Account #******5466             Transfer to Main Account                             9999-000                                  1,668.43               1,668.43
03/07/19                 To Account #******5466             TRANSFER TO DEPOSIT SYSTEM                           9999-000                                  1,668.43                   0.00
                                                            ACCOUNT ******5466

                                                                                  ACCOUNT TOTALS                                       1,668.43            1,668.43                 $0.00
                                                                                            Less: Bank Transfers                       1,668.43            1,668.43
                                                                                  Subtotal                                                  0.00                 0.00
                                                                                            Less: Payments to Debtors                                            0.00
                                                                                  NET Receipts / Disbursements                             $0.00                $0.00




{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS               Doc 687               Filed 12/04/20               Page 110 of 114

                                                                                                                                                                           Exhibit 9


                                                                             Form 2                                                                                        Page: 65

                                                  Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                  Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                     Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                Account:            ******5469 - Stegler & Morrell
Taxpayer ID #: **-***3733                                                                     Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                       Separate Bond: N/A

   1            2                          3                                  4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From           Description of Transaction                T-Code               $                   $       Account Balance
01/31/13                 Rabobank, N.A.                Transfer from Capital One Bank                    9999-000            450,000.00                            450,000.00
01/13/15                 To Account #******5466        Transfer Funds to Replenish Account Ending        9999-000                                   75,000.00      375,000.00
                                                       5466 re: Check No.: 50171 03/19/14
02/04/19                 Transfer Adjustment           Transfer Adjustment for Transfer #8               9999-000                                  -375,000.00     750,000.00
02/04/19                 To Account #******5466        Transfer to Main Account                          9999-000                                  375,000.00      375,000.00
03/07/19                 To Account #******5466        TRANSFER TO DEPOSIT SYSTEM                        9999-000                                  375,000.00                 0.00
                                                       ACCOUNT ******5466

                                                                            ACCOUNT TOTALS                                   450,000.00            450,000.00                $0.00
                                                                                   Less: Bank Transfers                      450,000.00            450,000.00
                                                                            Subtotal                                                0.00                  0.00
                                                                                   Less: Payments to Debtors                                              0.00
                                                                            NET Receipts / Disbursements                           $0.00                $0.00




{} Asset reference(s)                                                                                                                   Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                  Doc 687             Filed 12/04/20                    Page 111 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                  Form 2                                                                                          Page: 66

                                                     Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                      Trustee:              Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                         Bank Name:            Mechanics Bank
                     and Hess Engineering, Inc.                                                    Account:              ******5471 - Checking Account /Walker
Taxpayer ID #: **-***3733                                                                          Blanket Bond:         $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                            Separate Bond: N/A

   1            2                           3                                     4                                                  5                    6                   7

 Trans.     {Ref #} /                                                                                                            Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From             Description of Transaction                    T-Code              $                    $       Account Balance
03/05/13                  From Account #******5466        Transfer funds re: Pacific Wheel Offset to           9999-000              15,000.00                                15,000.00
                                                          Michael Walker Salary
03/05/13 100101 {2} Michael Walker                        Services rendered for Period of 02/18/13 -           1280-002              -3,187.50                                11,812.50
                                                          02/24/13
03/05/13 100102 {2} Michael Walker                        Services rendered for Period of 02/14/13 -           1280-002                  -637.50                              11,175.00
                                                          02/15/13
03/06/13 100103 {2} Michael Walker                        Services rendered for Period of 02/25/13 -           1280-002              -3,315.00                                    7,860.00
                                                          02/28/13 ($1,912.50) - 03/01/13 - 03/03/13
                                                          ($1,402.50)
03/12/13 100104 {2} Michael Walker                        Services rendered for Period of 03/03/13 -           1280-002              -3,272.50                                    4,587.50
                                                          03/10/13
03/26/13 100105 {2} Michael Walker                        Services rendered for Period of 03/10/13 -           1280-002              -2,507.50                                    2,080.00
                                                          03/17/13
04/02/13      {33}        Tenneco                         Invoice No.: 2191301                                 1221-000              10,263.84                                12,343.84
04/02/13      {33}        Tenneco                         Reversed Deposit 100001 1 Invoice No.:               1221-000             -10,263.84                                    2,080.00
                                                          2191301
04/22/13       {2}        Pacific Wheel, Inc.             Replenish funds re: Pacific Wheel Offset to          1280-002              15,000.00                                17,080.00
                                                          Michael Walker Salary
04/23/13 100106 {2} Michael Walker                        Services rendered for Period of 03/18/13 -           1280-002              -2,337.50                                14,742.50
                                                          03/24/13
04/23/13 100107 {2} Michael Walker                        Services rendered for Period of 03/25/13 -           1280-002              -1,702.88                                13,039.62
                                                          03/31/13
04/23/13 100108 {2} Michael Walker                        Services rendered for Period of 04/01/13 -           1280-002              -4,760.00                                    8,279.62
                                                          04/07/13
04/23/13 100109 {2} Michael Walker                        Services rendered for Period of 04/08/13 -           1280-002              -4,122.50                                    4,157.12
                                                          04/14/13
04/23/13 100110 {2} Michael Walker                        Services rendered for Period of 04/15/13 -           1280-002              -1,657.50                                    2,499.62
                                                          04/21/13
05/02/13 100111 {2} Michael Walker                        Services rendered for Period of 04/22/13 -           1280-002              -1,349.07                                    1,150.55
                                                          04/28/13
05/29/13       {2}        Pacific Wheel, Inc.             Replenish funds re: Pacific Wheel Offset to          1280-002              15,000.00                                16,150.55
                                                          Michael Walker Salary
05/29/13 100112 {2} Michael Walker                        Services rendered for Period of 05/01/13 -           1280-002              -2,932.50                                13,218.05
                                                          05/05/13
05/29/13 100113 {2} Michael Walker                        Services rendered for Period of 05/06/13 -           1280-002              -5,525.00                                    7,693.05
                                                          05/12/13
05/29/13 100114 {2} Michael Walker                        Services rendered for Period of 05/13/13 -           1280-002              -2,805.00                                    4,888.05
                                                          05/19/13
06/12/13 100115 {2} Michael Walker                        Services rendered for Period of 05/20/13 -           1280-002              -1,105.00                                    3,783.05
                                                                                                       Subtotals :                   $3,783.05                $0.00
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                        Case 12-12036-CSS                  Doc 687             Filed 12/04/20                    Page 112 of 114

                                                                                                                                                                                  Exhibit 9


                                                                                   Form 2                                                                                         Page: 67

                                                     Cash Receipts And Disbursements Record
Case Number:         12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:           HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                     and Hess Engineering, Inc.                                                      Account:            ******5471 - Checking Account /Walker
Taxpayer ID #: **-***3733                                                                            Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                              Separate Bond: N/A

   1            2                              3                                   4                                                 5                     6                  7

 Trans.     {Ref #} /                                                                                                            Receipts          Disbursements    Checking
  Date      Check #           Paid To / Received From               Description of Transaction                  T-Code              $                    $       Account Balance
                                                           05/26/13
06/12/13 100116 {2} Michael Walker                         Services rendered for Period of 05/27/13 -           1280-002                 -510.00                                  3,273.05
                                                           06/02/13 (No Hours for June)
06/12/13 100117 {2} Michael Walker                         Services rendered for Period of 06/03/13 -           1280-002                 -850.00                                  2,423.05
                                                           06/09/13
06/21/13      {33}        Tenneco                          Invoice No.: 2191301                                 1221-000             10,263.84                                12,686.89
06/21/13      {33}        Tenneco                          Reversed Deposit 100004 1 Invoice No.:               1221-000            -10,263.84                                    2,423.05
                                                           2191301
08/15/13 100118 {2} Michael Walker                         Balance Due Pursuant to Order Amending               1280-002             -2,084.13                                     338.92
                                                           Terms of Employment as Consultant [Docket
                                                           No.: 369] Services rendered for Period of
                                                           02/14/13 - 06/09/13
11/21/13      {32}        Global Surety, LLC - Operating   Refund re: Chapter 11 Bond No.: 016052119            1229-000              1,232.00                                    1,570.92
                          Account
12/17/13      {32}        United States Postal Service     Refund Unused Postage re: Account No.:               1229-000                   8.03                                   1,578.95
                                                           490063
02/10/14      {35}        Midwest Energy Cooperative       Settlement of Preference [Demand] [Docket            1241-000             23,500.00                                25,078.95
                                                           No.: 475]
02/10/14      {35}        Delta Dental of Michigan, Inc.   Settlement of Preference [Demand Letter]             1241-000              5,000.00                                30,078.95
                                                           [Docket No.: 475]
03/05/14                  To Account #******5466           Transfer Funds to Account Ending 5466 that           9999-000                                   29,740.03               338.92
                                                           were Deposited into Account Ending 5471 in
                                                           Error [Global Surety, LLC $1,232.00, USPS
                                                           $8.03, Midwest Energy Cooperative
                                                           $23,500.00 & Delta Dental of Michigan, Inc.
                                                           $5,000.00]
01/23/15      {32}        Mettler-Toledo, LLC              Unclaimed DE VDA Reference No.:                      1229-000              2,596.00                                    2,934.92
                                                           20000529435 (Hess Ind a/k/a Fontijne Formitt)
04/07/15       {2}        Pacific Wheel Inc.               Replenish funds re: Pacific Wheel Offset to          1280-002             18,063.58                                20,998.50
                                                           Michael Walker Salary
04/07/15                  To Account #******5466           Transfer Funds to Account Ending 5466 that           9999-000                                    2,596.00          18,402.50
                                                           were Deposited into Account Ending 5471 in
                                                           Error [Mettler-Toledo, LLC Deposit No.:
                                                           100009-1]
04/16/15 100119 {2} Michael Walker                         Services rendered for Period of 06/10/13 -           1280-002            -18,402.50                                        0.00
                                                           12/30/13




                                                                                                       Subtotals :                  $28,552.98            $32,336.03
{} Asset reference(s)                                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS        Doc 687           Filed 12/04/20                  Page 113 of 114

                                                                                                                                                                  Exhibit 9


                                                                     Form 2                                                                                       Page: 68

                                                 Cash Receipts And Disbursements Record
Case Number:        12-12036                                                          Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                             Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                        Account:            ******5471 - Checking Account /Walker
Taxpayer ID #: **-***3733                                                             Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                               Separate Bond: N/A

   1            2                          3                           4                                              5                    6                  7

 Trans.     {Ref #} /                                                                                             Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From     Description of Transaction              T-Code              $                   $       Account Balance

                                                                     ACCOUNT TOTALS                                   32,336.03            32,336.03                $0.00
                                                                            Less: Bank Transfers                      15,000.00            32,336.03
                                                                     Subtotal                                         17,336.03                 0.00
                                                                            Less: Payments to Debtors                                           0.00
                                                                     NET Receipts / Disbursements                    $17,336.03                $0.00




{} Asset reference(s)                                                                                                          Printed: 11/13/2020 09:50 AM        V.20.24
                                       Case 12-12036-CSS                        Doc 687            Filed 12/04/20               Page 114 of 114

                                                                                                                                                                                Exhibit 9


                                                                                   Form 2                                                                                       Page: 69

                                                   Cash Receipts And Disbursements Record
Case Number:        12-12036                                                                        Trustee:            Alfred T. Giuliano, Trustee (DE) (500670)
Case Name:          HESS INDUSTRIES, INC.                                                           Bank Name:          Mechanics Bank
                    and Hess Engineering, Inc.                                                      Account:            ******5470 - Carlton/Comerica TTE Comm
Taxpayer ID #: **-***3733                                                                           Blanket Bond:       $5,000,000.00 (per case limit)
Period Ending: 11/13/20                                                                             Separate Bond: N/A

   1            2                          3                                        4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements    Checking
  Date      Check #          Paid To / Received From                 Description of Transaction                T-Code              $                   $       Account Balance
01/31/13                 Rabobank, N.A.                      Transfer from Capital One Bank                    9999-000            927,000.00                           927,000.00
01/06/15                 To Account #******5466              Transfer Funds to Account No.: 5005215466         9999-000                                  660,951.00     266,049.00
                                                             re: Outgoing Wire to Comerica for (77.5% of
                                                             $852,840.00) Payment on Secured Claim
                                                             [Docket No.: 85]
03/15/16                 To Account #******5466              Transfer Funds to Reimburse Account Ending        9999-000                                  191,889.00         74,160.00
                                                             5466 re: Escrow Payment to Carlton Creek
                                                             Pursuant to Docket No.: 86 [Check No.: 50194
                                                             03/20/15]
02/04/19                 Transfer Adjustment                 Transfer Adjustment for Transfer #9               9999-000                                  -74,160.00     148,320.00
02/04/19                 To Account #******5466              Transfer to Main Account                          9999-000                                   74,160.00         74,160.00
03/06/19                 To Account #******5466              TRANSFER TO DEPOSIT SYSTEM                        9999-000                                   74,160.00                0.00
                                                             ACCOUNT ******5466

                                                                                  ACCOUNT TOTALS                                   927,000.00            927,000.00               $0.00
                                                                                         Less: Bank Transfers                      927,000.00            927,000.00
                                                                                  Subtotal                                                0.00                 0.00
                                                                                         Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                           $0.00                $0.00

                               Net Receipts :       23,881,535.43
                     Plus Gross Adjustments :         -124,838.16                                                                      Net             Net                  Account
                                                  ————————                        TOTAL - ALL ACCOUNTS                               Receipts     Disbursements             Balances
                                  Net Estate :     $23,756,697.27
                                                                                  Checking # ******9238                        21,049,541.90       17,335,077.34                   0.00
                                                                                  Checking # ******9262                                   0.00                 0.00                0.00
                                                                                  Checking # ******9270                                   0.00                 0.00                0.00
                                                                                  Checking # ******9513                                   0.00                 0.00                0.00
                                                                                  Checking # ******9521                                   0.00                 0.00                0.00
                                                                                  Checking # ******5466                          2,814,657.50        6,539,913.09                  0.00
                                                                                  Checking # ******5467                                   0.00             6,545.00                0.00
                                                                                  Checking # ******5468                                   0.00                 0.00                0.00
                                                                                  Checking # ******5469                                   0.00                 0.00                0.00
                                                                                  Checking # ******5471                             17,336.03                  0.00                0.00
                                                                                  Checking # ******5470                                   0.00                 0.00                0.00

                                                                                                                              $23,881,535.43      $23,881,535.43                  $0.00




{} Asset reference(s)                                                                                                                        Printed: 11/13/2020 09:50 AM        V.20.24
